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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

AMERICA’S HEALTH & RESOURCE                      )
CENTER, LTD., an Illinois corporation,           )
and AFFILIATED HEALTH GROUP,                     )
LTD., an Illinois corporation, individually      )
and as the representatives of a class of         )
similarly-situated persons,                      )
                                                 )
                                                   Case No. 16-cv-4539
                           Plaintiffs,           )
                                                 )
                                                   Judge Thomas M. Durkin
             v.                                  )
                                                 )
ALCON LABORATORIES, INC.,                        )
NOVARTIS PHARMACEUTICALS                         )
CORPORATION, and JOHN DOES 1-12                  )
                                                 )
                           Defendants.           )

                  SECOND AMENDED CLASS ACTION COMPLAINT

      Plaintiffs America’s Health & Resource Center, Ltd. (“America’s Health”) and

Affiliated Health Group, Ltd. (“Affiliated”) (together, “Plaintiffs”), bring this action

on behalf of themselves and all other persons similarly situated and, except for

those allegations pertaining to Plaintiffs or their attorneys, which are based upon

personal knowledge, allege the following upon information and belief against

defendants    Alcon   Laboratories,      Inc.   (“Alcon”),   Novartis   Pharmaceuticals

Corporation (“Novartis”), and John Does 1-12 (collectively “Defendants”):

                           PRELIMINARY STATEMENT

      1.     Defendants have sent advertisements by facsimile in violation of the

Telephone Consumer Protection Act, 47 U.S.C. § 227, and the regulations the

Federal Communications Commission (“FCC”) has prescribed thereunder, 47 C.F.R.
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§ 64.1200 (collectively, the “TCPA”).

      2.     Defendants sent Plaintiffs at least 5 advertisements by facsimile and

in violation of the TCPA. Exhibits A-E.

      3.     Plaintiffs bring this action on behalf of themselves and a class of all

similarly-situated persons, and against Defendants, seeking statutory damages for

each violation of the TCPA, trebling of the statutory damages, injunctive relief,

compensation and attorney fees (under the conversion count), and all other relief

the Court deems appropriate under the circumstances.

      4.     Unsolicited faxes cause damage to their recipients. A junk fax recipient

loses the use of its fax machine, paper, and ink toner. Unsolicited faxes tie up the

telephone lines, prevent fax machines from receiving authorized faxes, prevent their

use for authorized outgoing faxes, cause undue wear and tear on the recipients’ fax

machines, and require additional labor to attempt to discern the source and purpose

of the unsolicited message. Moreover, a junk fax interrupts the recipient’s privacy.

An unsolicited fax wastes the recipient’s valuable time that would have been spent

on something else.

                     PARTIES, JURISDICTION, AND VENUE

      5.     Plaintiff America’s Health is an Illinois corporation with its principal

place of business in Cook County, Illinois.

      6.     Plaintiff Affiliated is an Illinois corporation with its principal place of

business in Cook County, Illinois.

      7.     On information and belief, Alcon is a Delaware corporation with its




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principal place of business in Fort Worth, Texas.

      8.     On information and belief, Novartis is a Delaware corporation with its

principal place of business in Hanover, New Jersey.

      9.     The John Doe Defendants 1-12 are persons yet unknown to Plaintiffs

that actively participated in the transmission of fax advertisements to the class, or

benefitted from those transmissions.

      10.    The Court has subject matter jurisdiction under 28 U.S.C. § 1331 and

47 U.S.C. § 227.

      11.    Personal jurisdiction exists over Defendants in Illinois because they

have transacted business and committed tortious acts within the State.

      12.    Venue is proper in the Northern District of Illinois because Defendants

committed statutory torts within this District and a significant portion of the events

took place here.

                                        FACTS

      13.    Defendants sent advertisements by facsimile to Plaintiffs and a class of

similarly-situated persons. Whether Defendants did so directly or with the

assistance of a third party, Defendants are directly liable for violating the TCPA.

      14.    Plaintiffs received at least 5 of Defendants’ advertisements by

facsimile. Plaintiffs intend to discover the number of other Defendants’

advertisements sent to Plaintiffs by fax during this litigation.

      15.    True and correct copies of the faxes Plaintiffs received are attached as

exhibits: Exhibit A (dated 1/14/2016); Exhibit B (dated 1/26/2015 but received




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1/26/2016); Exhibit C (dated 11/20/2015); Exhibit D (dated 11/19/2015); and Exhibit

E (dated 1/28/2016).

      16.   Exhibit A is a four-page document advertising “Ilevro” eye drops from

“Alcon” “a Novartis company.”

      17.   Exhibits B, C, and D are each four-page documents advertising

“Ciprodex” eye drops from “Alcon” “a Novartis company.”

      18.   Exhibit E is a four-page document advertising “Pazeo” eye drops from

“Alcon” “a Novartis company.”.

      19.   Each of the faxes attached as Exhibits A, B, C, D and E promotes the

commercial availability or quality of Defendants’ property, goods, or services. Each

provides information about the benefits of these medications, instructions for using

them, and methods for contacting Defendants to receive discounts and samples.

      20.   Exhibits A, B, C, D, and E each state, “From: Alcon.”

      21.   Exhibits A, B, C, D, and E each contain language claiming Novartis’s

copyright in the advertisement form. Exhibit A states in fine print at the bottom of

the first page, “© 2016 Novartis 10/15 US-ILV-15-B-0363a.” Exhibits B, C and D

each state in fine print at the bottom of the first page, “© 2015 Novartis 07/15

CDX15027FX-C.” Exhibit D states in fine print at the bottom of the first page, “©

2015 Novartis 08/15 PAZ15082FAX.”

      22.   Plaintiff America’s Health did not expressly invite or give permission

to anyone to send Exhibits A, B, C, D, or E. These 5 faxes were printed using

America’s Health’s paper and toner and wasted the time of its employees.




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      23.    Plaintiff Affiliate did not expressly invite or give permission to anyone

to send Exhibits A, B, C, D, or E. These 5 faxes were received on Affiliated’s fax

machine, at Affiliated’s fax number and telephone line.

      24.    On information and belief, Defendants sent advertisements by

facsimile to Plaintiffs and more than 39 other persons in violation of the TCPA.

      25.    Plaintiffs and the other class members owe no obligation to protect

their fax machines from Defendants or to avoid their receipt of unsolicited

advertisements. Their fax machines are ready to send and receive their urgent

communications, or private communications about patients’ medical needs, not to

receive Defendants’ unlawful advertisements.

                          CLASS ACTION ALLEGATIONS

      26.    Plaintiffs bring this action as a class action on behalf of themselves

and all others similarly situated as members of a class, initially defined as follows:

      Each person that was sent one or more telephone facsimile messages
      promoting the commercial availability or quality of property, goods, or
      services offered by “Alcon” or “Novartis,” but not stating on the first
      page that the fax recipient may make a request to the sender not to
      send any future ads and that failure to comply, within 30 days, with
      such a request is unlawful.

Plaintiffs expressly reserve the right to modify the proposed class definition or

propose subclasses.

      27.    Excluded from the class are Defendants, any entity in which

Defendants have a controlling interest, each of Defendants’ officers, directors, legal

representatives, heirs, successors, and assigns, and any Judge assigned to this

action, including his or her immediate family.



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      28.    On information and belief, Defendants’ fax advertising campaigns

involved other, substantially-similar advertisements also sent without the opt-out

notice required by the TCPA. Plaintiffs intend to locate those advertisements in

discovery.

      29.    This action is brought and may properly be maintained as a class

action pursuant to Fed. R. Civ. P. 23. This action satisfies Rule 23 (a)’s numerosity,

commonality, typicality, adequacy requirements. Additionally, prosecution of

Plaintiffs’ claims separately from the putative class’s claims would create a risk of

inconsistent or varying adjudications under Rule 23 (b) (1) (A). Furthermore, the

questions of law or fact that are common in this action predominate over any

individual questions of law or fact making class representation the superior method

to adjudicate this controversy under Rule 23 (b) (3).

      30.    Numerosity/impracticality of joinder. On information and belief, the

class consists of more than 39 persons and, thus, is so numerous that individual

joinder of each member is impracticable. The precise number of class members and

their identities are unknown to Plaintiffs, but will be obtained from Defendants’

records or the records of third parties.

      31.    Commonality and predominance. There is a well-defined community of

interest and common questions of law and fact that predominate over any questions

affecting only individual members of the class. These common legal and factual

questions, which do not vary from one class member to another, and which may be

determined without reference to the individual circumstances of any class member,




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include, but are not limited to the following:

             a.     Whether     Defendants       sent   advertisements      by     facsimile

      promoting the commercial availability or quality of property, goods, or

      services;

             b.     Whether Exhibit A, Exhibit B, Exhibit C, Exhibit D, Exhibit E

      or   other   yet-to-be-discovered    facsimiles    advertised   the        commercial

      availability or quality of either Defendant’s property, goods or services;

             c.     The manner and method Defendants used to compile or obtain

      the lists of fax numbers to which they sent the faxes contained in Exhibits A,

      B, C, D, E and other fax advertisements;

             d.     Whether the first page of Defendants’ fax advertisements

      displayed an opt-out notice as required by the TCPA;

             e.     Whether each Defendant is primarily liable for violating the

      TCPA;

             f.     Whether Plaintiffs and the other class members are entitled to

      statutory damages;

             g.     If the Court finds that Defendant(s) willfully or knowingly

      violated the TCPA, whether the Court should exercise its discretion to

      increase the amount of the statutory damages award to an amount equal to

      not more than 3 times the amount;

             h.     Whether the Court should enjoin Defendants from faxing

      advertisements in the future; and




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             i.     Whether Defendants’ conduct as alleged herein constituted

      conversion.

      32.    Typicality of claims. Plaintiffs’ claims are typical of the claims of the

other class members, because Plaintiffs and all class members were injured by the

same wrongful practices. Plaintiffs and the members of the class received

Defendants’ advertisements by facsimile and those advertisements did not contain

an opt-out notice as required by the TCPA. Under the facts of this case, because the

focus is upon Defendants’ conduct, if either or both of Plaintiffs prevails on its or

their claims, then the putative class members will prevail as well.

      33.    Adequacy of representation. Plaintiffs are adequate representatives of

the class because their interests do not conflict with the interests of the class it

seeks to represent. Plaintiffs have retained counsel competent and experienced in

complex class action litigation, and TCPA litigation in particular, and Plaintiffs

intend to vigorously prosecute this action. Plaintiffs and their counsel will fairly and

adequately protect the interest of members of the class.

      34.    Prosecution of separate claims would yield inconsistent results. Even

though the questions of fact and law in this action are predominantly common to

Plaintiffs and the putative class members, separate adjudication of each class

member’s claims would yield inconsistent and varying adjudications. Such

inconsistent rulings would create incompatible standards for Defendants to operate

under if or when class members bring additional lawsuits concerning the same

unsolicited fax advertisements of if Defendants choose to advertise by fax again in




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the future.

      35.       A class action is the superior method of adjudicating the common

questions of law or fact that predominate over individual questions. A class action is

superior to other available methods for the fair and efficient adjudication of this

lawsuit, because individual litigation of the claims of all class members is

economically unfeasible and procedurally impracticable. The likelihood of individual

class members prosecuting separate claims is remote, and even if every class

member could afford individual litigation, the court system would be unduly

burdened by individual litigation of such cases. Plaintiffs know of no difficulty to be

encountered in the management of this action that would preclude its maintenance

as a class action. Relief concerning Plaintiffs’ rights under the laws herein alleged

and with respect to the class would be proper. Plaintiffs envision no difficulty in the

management of this action as a class action.

                           COUNT I
         TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C. § 227

      36.       Plaintiffs incorporate the preceding paragraphs as though fully set

forth herein.

      37.       Plaintiffs bring Count I on behalf of themselves and a class of similarly

situated persons against Defendants.

      38.       The TCPA prohibits the “use of any telephone facsimile machine,

computer or other device to send an unsolicited advertisement to a telephone

facsimile machine….” 47 U.S.C. § 227 (b) (1).

      39.       The TCPA defines “unsolicited advertisement,” as “any material



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advertising the commercial availability or quality of any property, goods, or services

which is transmitted to any person without that person’s express invitation or

permission.” 47 U.S.C. § 227 (a) (4).

      40.     The TCPA provides a private right of action as follows:

                     3.     Private right of action. A person may, if
              otherwise permitted by the laws or rules of court of a
              state, bring in an appropriate court of that state:

                          (A)    An action based on a violation of this
                    subsection or the regulations prescribed under this
                    subsection to enjoin such violation,

                           (B)     An action to recover for actual
                    monetary loss from such a violation, or to receive
                    $500 in damages for each such violation, whichever
                    is greater, or

                           (C)    Both such actions.

47 U.S.C. § 227 (b) (3).

      41.     The Court, in its discretion, may treble the statutory damages if a

violation was knowing or willful. 47 U.S.C. § 227 (b) (3).

      42.     Here, Defendants violated 47 U.S.C. § 227 (b) (1) (C) by sending

advertisements by facsimile (such as Exhibits A, B, C, D and E) to Plaintiffs and the

other class members without first obtaining their prior express invitation or

permission.

      43.     The TCPA requires that every advertisement sent by facsimile must

include an opt-out notice clearly and conspicuously displayed on the bottom of its

first page. 47 C.F.R. § 64.1200 (a) (4).

      44.     None of Exhibits A, B, C, D or E contains the clear and conspicuous



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opt-out notice required by the TCPA. Each states in tiny print, “To have your fax

number removed from our database, call this toll-free number 1-888-681-5252, enter

document number 700271 and follow the prompts, or fax 1-888-248-5116.”

      45.    Defendants failed to include a clear and conspicuous opt-out notice on

each of their fax advertisements. Instead, Defendants’ notices are in tiny print,

hidden in or beneath other text. E.g., Exhibit A; Exhibit B.

      46.    None of Exhibits A, B, C, D or E provides all of the information the

TCPA requires for a compliant opt-out notice. Each fails to state on the

advertisement’s first page that the recipient may make a request to the sender not

to send any future advertisement by facsimile and that the sender’s failure to

comply within 30 days is unlawful.

      47.    Defendants violated the TCPA by failing to state on the first page of

each fax advertisement that their failure to comply with an opt-out request within

30 days would be unlawful. E.g., Exhibit A; Exhibit B.

      48.    None of Defendants’ faxes identifies the requirements for an opt-out

request.

      49.    Facsimile advertising imposes burdens on recipients that are distinct

from the burdens imposed by other types of advertising. The required opt-out notice

provides recipients the necessary information to opt-out of future fax transmissions,

including a notice that the sender’s failure to comply with the opt-out request will

be unlawful. 47 C.F.R. § 64.1200 (a) (4).

      50.    Defendants’ failure to include a compliant opt-out notice on their fax




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advertisements makes irrelevant any express consent or established business

relationship (“EBR”) that otherwise might have justified Defendants’ fax

advertising campaign(s). 47 C.F.R. § 64.1200 (a) (4).

       51.      The TCPA is a strict liability statute and Defendants are liable to

Plaintiffs and the other class members even if their actions were negligent. 47

U.S.C. § 227 (b) (3).

       52.      Even if Defendants did not intend to injure Plaintiffs and the other

class members, did not intend to violate their privacy, and did not intend to waste

their valuable materials or time, those facts are irrelevant because the TCPA is a

strict liability statute.

       53.      If Defendants’ actions were knowing or willful, then the Court has the

discretion to increase the statutory damages up to 3 times the amount. 47 U.S.C. §

227 (b) (3).

       54.      Each Defendant is liable for the fax advertisements at issue because it

sent the faxes, caused the faxes to be sent, participated in the activity giving rise to

or constituting the violation, the faxes were sent on its behalf, or under general

principles of vicarious liability, including actual authority, apparent authority and

ratification.

       55.      Defendants knew or should have known that Plaintiffs and the other

class members had not given express invitation or permission for Defendants or

anybody else to fax advertisements about Defendants’ property, goods, or services,

that Plaintiffs and the other class members did not have an established business




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relationship with Defendants, that Exhibits A, B, C, D and E are advertisements,

and that they did not display the opt-out notices required by the TCPA.

      56.    Defendants’ actions damaged Plaintiffs and the other class members.

Receiving Defendants’ junk faxes caused recipients like America’s Health to lose

paper and toner consumed in the printing of Defendants’ faxes. The subject faxes

used Plaintiffs’ and the class’s fax machines and occupied Affiliated’s fax line. The

subject faxes cost Plaintiffs time, as America’s Health and its employees wasted

their time receiving, reviewing and routing Defendants’ illegal faxes. That time

otherwise would have been spent on Plaintiffs’ business activities. Defendants’ faxes

unlawfully interrupted Plaintiffs’ and the other class members’ privacy interests in

being left alone. Finally, the injury and property damage sustained by Plaintiffs and

the other class members from the sending of unlawful fax advertisements occurred

outside Defendants’ premises.

      WHEREFORE, Plaintiffs, individually and on behalf of all others similarly

situated, demand judgment in their favor and against Defendants, jointly and

severally as follows:

      A.     That the Court adjudge and decree that the present case may be

properly maintained as a class action, appoint Plaintiffs as the representatives of

the class, and appoint Plaintiffs’ counsel as counsel for the class;

      B.     That the Court award $500.00 in statutory damages for each violation

of the TCPA or the FCC’s regulations;

      C.     That, if it finds Defendant(s) willfully or knowingly violated the




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TCPA’s faxing prohibitions or the FCC’s regulations prescribed thereunder, the

Court exercise its discretion to increase the amount of the statutory damages award

to an amount equal to not more than 3 times the amount.

       D.     That the Court enter an injunction prohibiting Defendants from

engaging in the statutory violations at issue in this action; and

       E.     That the Court award costs and such further relief as the Court may

deem just and proper.

                                     COUNT II
                                    CONVERSION

       57.    Plaintiffs incorporate by reference all preceding paragraphs as though

fully set forth herein.

       58.    Plaintiffs bring Count II on behalf of itself and a class of similarly

situated persons and against Defendants.

       59.    By sending advertisements to their fax machines, Defendants

improperly and unlawfully converted the class’s fax machines to Defendants’ own

use. Where printed (as in Plaintiffs’ case), Defendants also improperly and

unlawfully converted the class members’ paper and toner to Defendants’ own use.

Defendants also converted Plaintiffs’ time to Defendants’ own use, as they did with

the valuable time of the other class members.

       60.    Immediately prior to the sending of the unsolicited faxes, Plaintiffs

and the other class members each owned an unqualified and immediate right to

possession of their fax machines, paper, toner, and employee time.

       61.    By   sending   them    unsolicited   faxes,   Defendants   permanently



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misappropriated the class members’ fax machines, toner, paper, and employee time

to their own use. Such misappropriation was wrongful and without authorization.

       62.    Defendants knew or should have known that their misappropriation of

paper, toner, and employee time was wrongful and without authorization.

       63.    Plaintiffs and the other class members were deprived of the use of the

fax machines, fax lines, paper, toner, and employee time, which could no longer be

used for any other purpose. Plaintiffs and each class member thereby suffered

damages as a result of their receipt of unsolicited fax advertisements from

Defendants.

       64.    Each of Defendants’ unsolicited faxes effectively stole America’s

Health’s time as its employees received, reviewed, and routed Defendants’ unlawful

faxes. Defendants knew or should have known that time is valuable, particularly at

medical facilities.

       WHEREFORE, Plaintiffs, individually and on behalf of all others similarly

situated, demand judgment in their favor and against Defendants, jointly and

severally as follows:

       A.     That the Court adjudge and decree that the present case may be

properly maintained as a class action, appoint Plaintiffs as the representatives of

the class, and appoint Plaintiffs’ counsel as counsel for the class;

       B.     That the Court award appropriate damages;

       C.     That the Court award punitive damages;

       D.     That the Court award attorney’s fees;




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      E.    That the Court award costs of suit; and

      F.    That the Court award such further relief as it may deem just and

proper under the circumstances.

                                       Respectfully submitted,

                                       AMERICA’S HEALTH & RESOURCE
                                       CENTER, LTD., an Illinois corporation, and
                                       AFFILIATED HEALTH GROUP, LTD., an
                                       Illinois corporation, individually and as the
                                       representatives of a class of similarly-
                                       situated persons

                                  By: /s/ Phillip A. Bock

                                       Phillip A. Bock
                                       Tod A. Lewis
                                       David M. Oppenheim
                                       James M. Smith
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                                       Chicago, IL 60602
                                       Telephone: 312-658-5500
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                  EXHIBIT A
01-14-2016Case:
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                                  888-681-5252

  To: DouglasKaplan

  Fax#: (847) 390-0001                                             From: Alcon
  Date: January14, 2016                                            Pages:4




       Dear Dr. Kaplan


  ILEVRO® Suspension:
  The only prodrug NSAID formulated for once-daily post-op use
                                                                                                                               Av11i111bl11in
        • ILEVRO~
                Su5pem,ionrequire5two-third5fewer po5tropd:J5e5comparedto                                                     3 mL fill i;i,;e
          NEVANAC®(nepafenacophthalmic5U5pension)  0.1%1 •                                                                                             (

        • Onedrop ofILEVRO®   Suspensionshouldbe appliedto the affectedeyeone-time-daily    beginning
          1 dayprior to cataract surgery,continuedon the dayof surgery and through the first 2 weeksof the
           posroperative period. An additional drop should be administered 301D 120 minutes prior t.o surgery 1

        • Cmaxand AUCin aqueou5humor approximately2-foldhigherthan NEVANAC®
                                                                         Suspen5ionafter a singlecbse3


   POTENCY PRECISELY WHERE YOU NEED IT
  INCICATICNS    ANOUSAGE                                                 in epithelialbreakdown,corneal thinning,corneal erm:1ion
                                                                                                                                 1

  ILEVR01 Suspensbn    is a nonsteroidal,
                                       anti-inflammatory
                                                      prodrug             cornealulcerationor cornealperforation.Theseeventsmaybes~ht
  indicatedfor the treatmentof painand inflammationa55ociatec
                                                            vvth          threatening.Patientswithevidenceof cornealepithelialbreal<Liown
  cataractsurgery.                                                        shouldimmediate~  discontinueuseof ILEVRoc Suspension.
  Cosage and Administration                                               Patientswith complicatedocular surgeries,corneaI denervation,
  Onedropof ILEVR~Su5pension    shouldbeappliedto the affectedeye         cornealepithelialdefects,diabetesmellitus,ocularsurfacediseases
  one-time-dai~beginning1 daypriorto cataractsurgery,continuedon          [e.g.,dryeyesyndrome], rheumatoidarthritis,or repeatocular
  the dayof surgeryandthroughthefirst 2 weeksof the postoperative         surgerieswithina shortperiodof time maybeat increasedriskfor
  period.Anadditionaldropshouldbeadministered30 co120 minutes             cornealadverseeventswhichmaybecomesightthreatening,       Topical
  priorto surgery.                                                        NSAIDsshouldbeusedwith cautioninthesepatients.
                                                                          Use more then 1 dayprior to surgery or use beyond14 days
   IMPORTANT
           SAFETY
                INFORMATION                                               post-surgerymayincreasepatientriskandseverityof corneal
   Contraindicationa                                                      adverseevents.
   ILEVRO' Suspensonis contraindicated
                                     in patientswithpreviously          • ContactLensWear - ILEVRIYSuspension      shouldnot be
   demonstratedhypersenstiv'ity
                             to anyof the ingredientsin the formula        adminis;eredwhile using contact lenses.
   orto otherNSAIDs.
                                                                        AdverseReactions
   WarningsandPrecautions                                               Themostfrequentlvreportedocularadversereactionsfollowing
   • IncreasedBleedingTime - With some nonsteroidelenti-inflemmetory                                          5 to 10%of patients
                                                                        cataractsurgeryoccurringin approximately
    drugsincluding        Suspension
                   ILEVRD"'         there existsthe potential            were capsular opacity,decreased visualacuity,foreign bodysensation,
    for increasedbleeding
                        time.Ocularty
                                    appliednonsteroidal ant~             increesed intraocularpressure,andstickysensetion.
    inflammatorydrugsmaycauseincreasedbleedingof oculartissues
    (includinghyphema]in conjunctionwith ocular surgery.                 Foradcitional information  aboutILEVFICJ!'        pleaserefer
                                                                                                                 Suspension,
                                                                         to the accompanying  full Prescribing
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   • Delayed
           Healing- Topicalnonsteroidal
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     ConcomitantuseoftopicalNSAIDsandtopicalsteroidsmayincrease            heslthcare program withe pharmacy benefit. 9ee savingscards for complete:arms
    the potzrntialfor healingproblems.                                     and condit,ons,
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                                                                                     1. ILEVRO"Suspensionpreacrib,cg 1nformat1on2. NEVAI\AC•Suapane1on
   • CornealEffects- Useoftopcal NSAIDsmayresut in keratitis.            prascrib,n~ nformat,on, S. Oats m file,
     Insomepatients,continueduseof topicalNSAIDsmayresult


           Simply fill out and fax back the completed request form accompanying
                   this letter for an opportunity to request savings cards.*
                                                                         Teihaveyour fa)(numbtrremoved
                                                                                                     fromour database,
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                                                               ILEyRO.
                                                       (nepafena.c.
                                                               ophthalmic
                                                         suspe• . 0.3%1




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   Alcan
   a NovartlHOM~aMy   C 2015 Novartis   1Dl15 US-ILV-15-E-036311
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                                                                                                                                   5,1 lncreuedBleedin11
                                                                                                                                                      Time
                                                   ll_Ejy,RO.                                                                        Withsome
                                                                                                                                     llEVRO"
                                                                                                                                                 nonsteroldal
                                                                                                                                             (nepafenac
                                                                                                                                                              antl~nflammatory
                                                                                                                                                          ophthalmic   suspension),
                                                                                                                                                                                   drugs Including
                                                                                                                                                                                     0.3%,thereexists
                                                                                                                                     thepotentlal  forIncreased  bleeding  timeduetoInterference
                                            (nepafenac
                                                    ophthalmf
                                                           c                                                                         withthrombocyte    aggregation.  Therehavebeenreports     that
                                              suspension)              0.3%                                                          ocularlyapplied   nonsteroldal anti-Inflammatory   drugs may
                                                           \~;,;,J/                                                                  causeIncreased   bleeding  ofocular tissues{Including  hyphema)
 HIGH  LIGHTS   OFPRESCRIBING    INFORMATION                    ........... DOSAGE       FORMS  ANDSTRENGTHS      ............. .. Inconjunction     withocularsurgery  .
                                                                                                                                     11isrecommended     thatILEV RO*  (nepafenac   ophthalmic
 ThHe hlghllght,     don01lnclud111II  theInformation           Sterile ophthalmic     suspension0.3%:1.7ml Ina 4 ml bottle
 n11eded   to u,elLEVRO•   (nepafenat  ophthalmic               and3 mlina4 ml bottle.(3)                                            suspension).  0.3% be  used with caution   inpatientrnith known
 suspension),    0.1%safely  andllffectlwly. Seefull            -.. -..... _.. _,._.,CONTRAINDICATIONS     ........  --·-.. --·····  bleeding tendencies  or who  are receiving  other medications
 prescribing   information  forILEVRO   (nepafenac              Hypersensitivity    to anyoftheingredients intheformula      orto which    mayprolong     bleeding time.
                                                                                                                                     S-2D!!lay!!d   H!!allng
 ophthalmic    iUipeniion),  D.3%.                              otherNSAIDS.{4)
                                                                ------·-----WARNINGS         ANDPRECAUTIONS----------------
                                                                                                                                     Topicalnonsteroldal  anti-Inflammatory     drugs(NSAIDs)
 ILEVRO"    {nepafenat  ophthalmic   ,u,pen,ion),
 0,3%,topicalophthalmic                                         lncrea,ed   bleeding   timeduetointerference  withthrombocyte        Including I LEVRO" (nepafenac   ophthalmic   suspension). 0.3%,
 lnltlalU.S.Approval:    200,                                   aggregation    {5.1)                                                 may  slow  or delayhealln g.Topical corticosteroids are also
 ---------------INDICATIONS    ANDUSAGE-----------------·- Delayed
                                                                                                                                     known  to ~owordelayhealing.     Concomitant    useoftopical
                                                                           healing   (5.2)
 llEVRo•   (nepafenac ophthalmic suspension),0.3%Isa            Corneal   effectsIndudingkeratltls  (5.3)
                                                                                                                                      N5A1Ds and  topicalsteroids may  Increase  the potentialfor
 nonsteroldal,  anti-Inflammatory prodrugIndicated for          ,._ .........  _.. ,.,ADVERSE  REACTIONS   ....................    . healing problems.
                                                                                                                                     5,3Corneal     Effects
 thetreatment    ofpainandInflammation   associatedwith         Mostcommon        adverse  reactions
                                                                                                   (5to 10%)arecapsular
                                                                                                                                     UseoftopicalNSAI    Osmayresultinkeratitis.    Insome
 cataract  surgery(1).                                          opacity,   decreased   visualacuity,
                                                                                                   foreignbodysensation,
 ··-········· DOSAGE   ANDADMINISTRATION      .... _,._,._,.__, lnma1ed     lntraocular  pressure,andstickysensation.   (6.1)        susceptible  patients,continued  use of  topicalNSAIDs  mayresult
                                                                                                                                     Inepithelial  breakdown,  comealthinning,    corneal erosion,
 OnedropofllEVRO*     (nepafenac  ophthalmicsuspension), ToreportSUSPECTED                  ADVERSE  REACTIONS,    contact
 OJ%should     beapplied totheaffected eyeone-time-dally AltonLaboratorlu,                                                           corneal ulceration orcorneal  perforation.  These eventsmaybe
                                                                                          Int.at 1-800-757-9195     orFDAat          sightthreatening.  Patients withevidence     ofcorneal epithelial
 beginning   1daypriorto cataract surgery,continued ontheday
                                                                 1-BDD-FDA-1     oeeorwww,fda,goylmedwatch.breakdown                              should Immediately   discontinue  use of topical
 ofsurgery   andthrough  thefirst2weeks  ofthepostoperative
                                                                                                                                      NSAIDslncludln  gILEVRO·   {nepafenac   ophthalmic  suspension),
 period.  Anaddition aldrop should beadministered  30to 120 SeeHfor PATIENT              COUNSELING   INFORMATION
                                                                                                                                      0.3%andshouldbeclosely      monitored    forcorneal health.
 minutes   priortosurgery.(2)                                                                                   Revised:   07/2014
                                                                                                                                      Postmarketing  experience  withtopicalNSAIDs    suggests
                                                                                                                                      thatpatients  withcomplicated   ocular  surgeries,corneal
  FULL  PRESCRIBING    INFORMATION:    CONTENTS**                     8.4 Pediatric    Use                                            denervation,  corneal epithelialdefects,  diabetesmellitus,
  1 INDICATIONS      ANDUSAGE                                         8.5 Gerlatrlc    Use                                            ocularsurface  diseases (e.g.,dryeyesyndrome),    rheumatoid
  2 DOSAGE      ANDADMINISTRATION                                11 DESCRIPTION                                                       arthriti;,orrepeatocular;urgeries   withina ;hortperiod   oftime
      2.1 Recommended      Dosing                                12 CLINICAL       PIIARMACOLOGV                                      maybeatincreased     riskforcorneal  adverse  eventswhichmay
      2.2 UsewithOther    Topical Ophthalmic Medications              12.1Mechanism       ofAction                                    become  slghtthreatenlng.  Topical NSAIDs   should beused  with
  3 DOSAGE      FORMS   ANDSTRENGTHS                                  12.3Pharmacokinetics                                            cautionInthese   patients.
  4 CONTRAINDICATIONS                                            13 NON     CLINICAL    TOXICOLOGY                                    Postmarketlng   experience withtopicalNSAIDs     alsosuggests
  5 WARNINGS       ANDPRECAUTIONS                                     13.1Carcinogenesis,     Mutagenesis,Impairment    ofFertility thatusemorethan1daypriorto surgery            orusebeyond   14days
       5.1 Increased  B1eed1ngT1me                               14 CLINICAL       STUDIES                                            post-surgery  mayincrease  patientriskandseverity     ofcorneal
       5.2 Delayed   Healing                                     16 HOWSUPPLIED/STORAGE             ANDHANDLING                       adverse events.
       5.3 Corneal  Effects                                      17 PATIENT      CO   UNSELING INFORMATION                            5.4 Contact   Len•Wear
       5.4 Contact  lensWear                                          17.1SloworDelayedHealing                                        ILEVRO* (nepafenac   ophthalmic   suspension),  0.3%shouldnot
  6 ADVERSE      REACTIONS                                             17.2Avoiding     ContaminationoftheProduct                     beadmini;tered   whileu;ingcontact     len;e;.
       6.1 Serious  andOtherwise  Important Adverse Reactions          17.3Contact     LensWear                                       6 ADVERSE      REACTIONS
       6.2 Ocular  Adverse Reactions                                   17.4lntmurrentOcular     Conditions                             Becauseclinical studies areconducted    under widely  varying
       5.3 Non-Ocular   AdverseReactions                               17.5ConcomitantTopical    OcularTherapy                        conditions, adverse reaction rates observed   Intheclinical
  8 USEINSPEOFIC        POPULATIONS                                    17.6 Shake    WellBeforeUse                                    studiesofa drugcannotbedirectly      compared   to theratesInthe
       8.1 Pregnancy                                             ••Sections    orsubsections  omittedfromthefullprescribing clinical         studies  ofanother  drugandmaynotreflect       therates
       B.3 Nursing  Mothers                                      Information    arenotlisted.                                          observed Inpractice.
                                                                                                                                    6.1 Ser1ouund
                                                                                                                                                Otherwr,e
                                                                                                                                                        Important
  FULL
     PRESCRIBING
              INFORMATION                                 administered           withothertopical
                                                                      Incon/unction              ophthalmic        Adver,eReaction   i;
             ANDUSAGE
  1 INDICATIONS                                           medicationssuchasbeta-blockers,
                                                                                       carbonic
                                                                                              anhydrase        Thefollowing adverse reactions
                                                                                                                                            arediscussedingreater
                                                                                                                                                                detail
  ILEVRO• (nepafenacophthalmic suspensioo),
                                          0.3%isindicated inhibitors,
                                                                   alpha-agonists,
                                                                                cycloplegics,
                                                                                          andmydriatics.       inothermtionsoflabeling.
  forthetreatment ofpainandInflammation associated
                                                 with     Ifmorethanonetopicalophthalmicmedicationisbeingused,      lnueasedBleeding Time{Warningrnnd f'recuutiuns
                                                                                                                                                                5.1)
  cataract
         surgery.                                         themedicines mustbeadministered
                                                                                        atleastSminutes apart , Delayed    Healing {Warnings
                                                                                                                                           andPrecautions 5.2)
  2 DOSAGE    ANDADMINISTRATION                           3 DOSAGE    FORMS ANDSTRENGTIIS                      , Corneal  Effects {Warnings
                                                                                                                                          andPrecautions 5.3)
  2,1 R1eommended    Do~ing                               Sterile
                                                                ophthalmicsuspension
                                                                                   0.3%                        6,2 Ocular Adver5e   Reaction5
  OnedropoflLEVRO*  (nepafenac ophthalmicsuspension),     1.7mLina4 mLbottle                                   Themost  rrequently reported
                                                                                                                                          ocular
                                                                                                                                               adverse reactions
  0.3% shouldbeapplied totheaffected
                                   eyeone-time-dally 3mLIna4ml bottle                                          followingcataract surgerywerecapsular
                                                                                                                                                   opacity, decreased
  beginning 1dayprtortocataractsurgery,
                                      continuedontheday 4 CONTRAINDICATIONS                                    visualacuity,
                                                                                                                           foreign bodysensation,
                                                                                                                                                Increased lntraocular
  ofsurgeryandthrough thefirst2 weeksofthepostoperative ILEVRO*   (nepafenac
                                                                           ophthalmicsuspen~on),0.3%Is         pressure,andsticky sensation.
                                                                                                                                           Thesereactionsoccurred
                                                                                                                                                                In
  period.
        Anadditional dropshouldbeadministered 30to 120 contraindicated  inpatients
                                                                                withpreviouslydemonstrated approximately     5 to 10%ofpatients.
  minutes prlortosurgery.                                 hypersensitivity
                                                                        toanyoftheIngredients
                                                                                            Intheformula orto Otherocularadverse   reactions
                                                                                                                                           occurring
                                                                                                                                                   at anincidenceof
  2.2 Uu withOtherTopi   calOphth11lmlc Medlc11tlon1 otherNSA/Ds.                                              approximately 1to5%Included  con/unctlval
                                                                                                                                                       edema,corneal
  llEVRO· (nepafenacophthalmic suspensloo),
                                          0.3%maybe       5 WARNINGS     ANDPRECAUTIONS                        edema,dryeye,lidmargin   crusting,
                                                                                                                                                oculardiscomfort,
                                                                                                                                                                ocular
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hyperemia,  ocular pain,ocular pruritus, photophobia, tearing ILEVRO•  (nepafenac  ophthalmic  suspension),  0.3%issupplied Inflammation          andOcular       PainR11solutlon        Results    of
andvitreous  detachment.                                       asasterile,aqueous  suspension  witha pHapproximately Nepafenac                ophthalmic     smpenslon,          0.3%   Yl!l'sus Vehlde
Soml! ofthesl!rationsmaybl!thl!consequl!llCI!     ofthl!       of6.8.                                                         at Day14Pa1t-aurg1ry           (AII-Randomlud             Population)
cataract surgicalprocedure.                                    Theosmolality  ofILEVRO•  (nepafenac  ophthalmic   suspension),                                    1nnammlllon  R@!olunon Drui,ul'linR!'JDlutian
                                                                                                                                 Sludl•         llNI"""'                                   lll'aslllp0.y14
6.3 Non-Ocular     Advarsa   Raactlons                         0.3%Isapproximately   300mOsm/kg.                                                                     lll'aslllplla)'14

Non-ocular  advlrll!l'l!actions
                              rl!pDrtl!dataninddl!nCJ! of1to   Each mlofILEVRO-    (nl!pafimac ophthalmic  suspension),          Sludjl     N,pmcophthal111c
                                                                                                                                          iui11'1111111,0.l!i(nlNI"   552mS'   (6>li)       7J4A1S1 (HIii
4%induded    headache,   hypertension, nausea/vomiting, and    0.3%contains:  Active:nepafenac   0.3%lnacti¥1!s: boricadd,                    NiVANACtr,/NI" 568/14S(61!1)                  nJ/845(1111)
slnusitrs.                                                     prop~ene  glycol,carbomer  974P, sodium   chloride,guar                         V1hi,l1WNI'"            67/211 ill%)          !&Ill~146!11
8 USE     INSPECIFIC   POPULATIONS                             gum,carboxymethylcellulose    sodium, edetatedlsodlum,                        01m!renC119l%Cll~3311        (26%,40%) 4091(Jl91.47%)

8.1 Pr1gnancy                                                  benzalkcnium   chloride0.005%   (preservative),sodium             Sludjl     Neo,fen"cpl,1111'/n<
                                                                                                                                          su,p,nsion,0.lll
                                                                                                                                                        (n/NI:•       lll/S40(61%)          456/540 (8411)
     TmtoganlcEffects.                                         hydro~lde and/orhydrochloric   addtoadJustpHandpurified                         V1h1<lo(n/NI
                                                                                                                                                         :•            6l/l6S(l4~1          101/lM(lB!II
Pregnancy    Category    C:Reproduction  studiesperformed water,USP.                                                                         D1ff1nn(!(9J'16C,)~ Ja91     (ll!l,45!1)      4791(4-091,54%)
withnepafenac    inrabbits andratsatoraldosesupto 10mg/ 12 CLINICAL           PHARMACOLOGY                                    (1)n;Nltthrntl:I e1fthe111wth iamileul'!IC1iut1on   afanterl:lrdlambm,11
kg/day  hm rmalednoevidence        ofteratogenidty  dueto      1Z.1 M1dianlun      ofAction                                   andflartII'/tilt POiStOOtAlllfdaY
                                                                                                                                                              14VllltOYfl   allrandonudsubJeclS.
                                                                                                                              121 D11Ttrtn<,ISNePlfena<ol)hdMlrn<                OJ'l6
                                                                                                                                                                    S1151)er1510n,     !n/Nl-vdlKle.
nepafenac,  despite theInduction  ofmaternal toxicity.Atthls After  topicalorulardosing,  nepafenac  penetrates  thecornea The95'16     confidNl<elntffial
                                                                                                                                                         ISdfflwd   llllna15!/roolotk aMXlmallOn.
dose,theanlmal    plasma  exposure tonepafena,  andamfena, andIsconverted       byocular tissuehyclrolases toamfenac.  a       16 HOW      SUPPLIED/STORAGE            AND     HANDLING
wasapproximately    70and630timeshuman~asmaexposurenonsteroldal             antl-lnflammatory   drug.Nepafenac   andamfenacILEVRO*       (nepafenacophthalmlc          suspension),     0.3%Issupplied
attherecommended      human   topicalophthalmlc  dosefortat! arethought    toInhibit theactionofprostaglandln     Hsynthase Inawhite,oval,lowdensity             polyethylene      DROP-TAJ~ER·
and20and180tlmes       human   plasma  exposureforrabbits,     (cydooxygenase),  anenzyme    required forprostaglandln         dispenser   witha natural    lowdensity       polyethylene     dispensing
respectlvely. Inrats,maternally  toxicdoses~ 1omg/kgwere production.                                                           ~ugandgraypolwropylene              cappresented       inanoverwrap
associated withdystoc1a,   Increasedpost1mplantat1on  loss,    12,J PharmacoklnatlC5                                           (1.7mlfillonly),    Tamper   evidence      Isprovided    witha shrlnk
reduced  fetalweights  andgrowth,   andreduced  fetalsurvlval. Following bilateraltopicalocular once-dally  dosing ofILEVRO•   handaround      theclosure   andneckareaofthepackage.
Nepafenac   hasbeenshovl'l'I to crosstheplacental barrierIn    (nepafenac  ophthalmic  suspension), 0.3%, theconcentrations1.7mlin4 mlbcnle NOC                      0065-1750-07
rats.There  arenoadequate    andwell-controlled studies In     ofnepafenac   andamfenac   peaked  ata median   timeofO.S hour 1mlln4ml bottle                 NOC    0055-1750·      14
pregnant   women.   Because  anlmalreproduction  studiesare    and0.7Shour,respectively   onbothDay1andDay        4.Themean Storar,a:      Storeat 2-25"C(36· 77'F).
notalwayspredlctlVe    ofhuman   response, ILEVRO• (nepafenac steady-state  Cmax fornepafenac   andforamfenac    were0.847± Protect     fromllght
ophthalmlc   suspension), 0.3%should   beusedduring            0.269ng/mL    and1.13:!:0.491ng/ml,respectlY!ly.                17 PATIENT       COUNSELING        INFORMATION
pregnancy   onlyIfthepotenUal    benefitJusUfiesthepotential Nepafenac    at concentrations upto 3000ng/mL     andamfenac 17.1 SloworDalayld                 Haallng
 lfsktothefetus.                                               atcon(entratlons  upto1000ng/mldidnotInhibit        theIn~ltro Patients   should   beInformed      oftheposslbllltythat        slowor
Non-teratogenic     Effects.                                   metabolism   of6,pedfic  marker  substratesofcytochrome   P450 delayed    healing   mayoccur    whlleusingnonsteroldal           anU·
 Bec.iuse oftheknown    effectsofprostagl andlnblosynthesls (CYPJ    iso.zymes [CYP1A2, CYP2C9,CYP2C19,     CYP206,  CYP2El, Inflammatory       drugs(NSAIDs),
 inhibitingdrugsonthefetalmdiovascular      system  (closure andCYP3A4).      Therefore,drug-drug  interactions involvingCYP 17.2 Avoiding          Contamination         oftheProduct
 oftheductus   arterlosus),theuseofILEVRO•   [nepafenac        mediated  metabolism   ofconcomltantly   administered drugs Patients      should   beInstructed     toavoid     allowlng   thetipof
 ophthalmic  suspension),  0.3%during  latepregnancy  should areunlikely.                                                      thedispensing      container  tocontact     theeyeersurrounding
 beavoided.                                                    13 NONCLINICAL      TOXICOLOGY                                  structures   because  thiscould     causethetipto become
 8.3 Nunlng    M0th1n                                           13.1 Carclnag1n11l1,    Mutag1n11l1,     lmpalnnent            contaminated     bycommon       bacteria    known     tocauseocular
 Nepafenac  Isexcreted  rnthemnkoflactaUng    rats.Itrsnot            offertlllty                                              infections.    Serious damage     tothee)'eandsubsequent             lossof
 known  whether   thisdrug  isexcretedinhumanmilk.BecauseNepafenac        hasnotbeenevaluated     inlong•term   carcinogenicityvision   mayresultfromusingcontaninated               solutions.
 manydrugsatl!l!IOl!ted   inhuman   milk,caution  should be     studies.
                                                                       Increased  chromosomal   aberrations wer,observed Useofthesamebottleforboth~es Isnotrecommended                                With
 exertised whenILEVRO•     (nepafenac ophthalmic  suspension), inChinese  hamster  ovary cellsexposed  invitrotonepafenac toplcal       eyedropsthatareusedInassociation                withsurgery.
 0.3%is  administered  toanursing  woman.                       suspension. ~epafenac wasnotmutagenic      intheAmes   assay 17,3 ContlctLensWm
 8.4 P1dlatrlc  U11                                             orinthl!mousl! lymphoma    forward  mutation  asu~Oral         ILEVRO"   (nl!pafl!nacophthalmic         suspl!llsion),   0.3%should     not
 Thesafety  andeffectiveness  cfILEVRO*   (nepafenac ophthalmicdosesupto5,000mg/kgdidnotresultinanincrease           Inthe     beadministered      whlleweartng       contact    lens.
 suspension),  0.3%Inpediatric  patients below theageof10       formation ofmlcronucleated  polychromatic   erythrocytesInvivo 17,4 lntercurrent       Ocular      Conditions
 yearshavenotbeenestablished.                                   inthemouSI!   micronud,us  assayinthebonemarrow      cfmice. Patil!llts  should    beadvised    thatiftheydevelop         anintercurrent
 8.5 G1riatrlc  U11                                             Nepa"nac  didnotirrpairfertility  whenadministered    orally
                                                                                                                           to ocular    condition   (e.g.,trauma,    orinfection)     orhaveocular
  Nooverall differences 1nsafety andeffectiveness havebeen      maleandfemale    ratsat3 mg/kg.                                 surgery, theyshould    immediately        seektheirphysician's       advice
  observed between   elderly andyounger  patients.              14 CLINICAL    STUDIES                                          concerning    thl!continul!d  usl!ofthl!multi,dase         container.
  11 DESCRIPTION                                                IntwDdouble   masked,  randomi21!d  dinicaltrialsinwhich       17.5 ConcomltantToplcal               Ocuh1rTh1rapy
  ILEVRO• (nepafenacoplnhalm1c    suspension),OJ%Isa            patlenrswere  doseddally beginning   onedaypnormcataract Ifmorethanonetoprcal               ophthalmic       medication    Isbeingused,
  sterile,
        topical, nonsteroldal and-lnnammatory    (NSAID)        surgery,contlnued  onthedayofsurgery     andforthefirst        themedicines      mustbeadministered           atleastSminutes        apart.
  prodrugfor ophthalmlcuse.   Each mlofILEVRO"    (nepafenac twoweeks      ofthepostoperative   period, ILEVRO*  [nepafenac 17.6 Sh11lui        W.11  BafaNU11
  ophthalmic suspension),  0.3%  contains 3mgofnepafenac. ophthalmic        suspension),0.3%demonstrated      superiordinical PaT/ents   should    beInstructed     toshake     wellbefore    eachuse.
  Nepatenac rsdesignated   chemlcally as2-amlno-3-              efficacy
                                                                       compared   toItsvehld  eIntreating postoperative pain
  benzoylbenzeneacetamlde    withanempirical  formula  of       andlnnammatlon.                                                 U.S. Patent~os,5,475,034;        6,403,609;      and7,169,767
  C15H14N202,                                                   Treatment effectovervehicle  forresolution  ofocular pain       • aTrademark     ofNovartis
  Thestructural formula  ofnepafenacls:                         occurred asearlyasday1post-surgery.     Treatment  effect
                                                                                                                        over
                        O NHl                                   vehicleforresolution oflnflammadon    wassignificantly better
                                                                thanvehlcle  Inbothstudies  atday7andday14post-surgery.
                                                 NH:i
                                                                                                                                                                                        Alcori
                                                                                                                                                                                       a Novartl•company
 Nepaf!nac
         Isayellow
                 crystalllne
                          powder.
                              Themolecular
                                       weight
                                                                                                                                                                                          ALCON
                                                                                                                                                                                              LASORA10RIES
 ofnepafenac
           Is254.28.                                                                                                                                                                       6201Sourh•ree'll!Y
                                                                                                                                                                                    For:Worth,
                                                                                                                                                                                            T11m
                                                                                                                                                                                               7613-4
                                                                                                                                                                                                    USA
                                                                                                                                                                                      Mea1nro«µ1conLa01.ce1m
                                                                                                                                          9010719-4514-PROMO                     C'>2014NovarllJ7/1', ILVl-'085'11
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                  EXHIBIT B
01-25-2015 Case:
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                        BROADCASTLIST    #:
                                         To:4045145
                                               Filed:(1242)
                                                      11/21/16  Page
                                                            From:    23 of 41 PageID #:298 D 1/4
                                                                   CNONCALLEDON)



                    To: Agnes Emerle
                     Fax#: (847) 390-0001                                                                                                From: Alcon
                     Date: January 26, 2015                                                                                              Pages:4
    '·-·····
   r-;;_···························-·················                  -·······························   ...............        .



   ~'--Re:FaxBack
                toRequest
                       FreeCIPRODEX®
                                 OUc_~~!TIPI~~-
                                          ___ - ·-- -                                                                                                                     - ,.,,i:.~~.::?1-
                                                                                                                                                                                          ,   ,/ ~



                        Dear Dr. Emerle,                                                                                                                                     (',.)        '




                      DISCOVER
                           ...
                     GIPRODEX®
                            {ciprofloxacin
                                        0.3%and
                     dexamethasone
                                0.1%) SterileOticSuspension
                                      • OP.monstratP.rl
                                        causedbysusceptible
                                                            for hnthAOE~ nrlAOMT
                                                   P.ffir.;ir.y
                                                                   1*
                                                            isolates
                                                                               infP.r.tions
                                                                                                                                                                C CIPRO!,l".'2:r~··
                                      • The#1 prescribed
                                                       oticantibioticdropamongotolaryngologists                                                                          ~.J%
                                                                                                                                                                 fo1~rolloxa1:m
                                                                                                                                                                            or1rl      ~.1%)
                                                                                                                                                                              oexarnr.ttiosone
                                                       since20072
                                        andpediatricians                                                                                                         STERILE        OTIC SUSPENSION

                                       • Recommend
                                                DROPS101.com
                                                         to yourpatientsforsavingsinformation,'
                                                education
                                                        onAOEandAOMT,
                                                                   andfun games                                                                                           REQUEST
                                                                                                                                                                              SAMPLESt
  *INDICATIONS
           AND
             USAGE                                                                                                     Precautions:
    CIPRODEX® Oticis indicated
                             forthetreatmentof infections causedby    Useofthisproductmayresultin overgro1v1h  of non-susceptible
                                                                                                                               organisms,
    susceptibleisolatesofthedesignatedmicroorganisms in the specific  includingyeastandfungi.If theinfectionis notimproved afteroneweek
    conditions
             listedbelow: AcuteOtitis
                                    Media (AOM) in pediatric patients of treatment,
                                                                                 culturesshouldbeobtained  to guidefurthertreatment.
    (age6 months  andolder)withtympanostomy tubes dueto StaphylococcusThesystemicadministration ofquinolones, includingciprofloxacin
                                                                                                                                  at
    aureus,Streptococcus pneumoniae,Haemophi!us inf/uenzae,MorJxefla dosesmuchhigherthangivenorabsorbed      bytheoticroute,hasledto
    catarrha/is,
               andPseudomonas             Acute
                                aeruginosa.     OtitisExterna (AOE) lesionsorerosions of thecartilagein weight-bearing jointsandother
    inpediatric (age6 months andolder),adultandelderlypatientsdueto signsof arthropathy in immature animalsof variousspecies.
    Staphylococcus aurcusandPscudomonas  acruginosa.
                                                                                                                       Adverse
                                                                                                                            Reactions:
     Dosage
         andAdministration:                                               Thernostcornrnonly    reportedtreatment-related adversereactions
                                                                                                                                         in
     Therecommended     dosage is fourdropsof CIPRODEX®  Oticsuspension AOMpatientswithtympanostomy          tubes:eardiscomfort (30%),earpain
     intotheaffectedeartwicedailytorsevendays.                            (2.3%),earresidue    (0.5%),irritability(0.5%)andtasteperversion
                                                                                                                                         (0.5%).
     IMPORTANT  SAFETY    INFORMATION                                     The most  commonly    reportedtreatment-related adverse        in
                                                                                                                                 reactions
                                                                          clinicaltrialsin AOEpatients,earpruritus(15%),eardebris(0.6%),
     Contraindications:                                                   superimposed   earinfection(0.6%),earcongestion    (0.4%),earpain
     CIPRO DEX@ Oticis contraindicated  in patientswitha historyof        (0.4%) anderytherna    (0.4%).
     hypersensitivityto ciprofloxaci
                                   n,to otherquinolones,orto anyof the
     components  in this medication.                                   rn Foraddllional
                                     Useatthis productis contraindicated                 information  aboutCIPRODEX®     Otic,please
                                                                                                                                   refertothe
     viralinfections oftheexternalcanalincludingherpessimplexinfections. accompanying     full prescribing information.
     Warnings:
      FOR
        TOPICAL
             OTIC
                USE
                  ONLY;
                     NOTFOR
                          INJECTION.
                                 Thisproductis not                                                                      'Tiiis otter1s:wtvai1d         whoareenro!i2d
                                                                                                                                             for ~atients                    PartD,Medica,d.
                                                                                                                                                                    in Medicare                 VA.
                                                                                                                                                                                          Medigap,
                                                                                                                            nooTm:arfr,rfltJYr:~11PJ               rr gt:lfr,rnmR~-~p:'lnsnn~rl
                                                                                                                                                  gn•;erniliP,rir.nin                      hr.a/thum~~rngrnmw!tf1
     approved forophthalmic use.CIPRODEX® Oticshouldbediscontinued   at   a pharmacy benefit.
                                                                                            Addttional
                                                                                                     eligibilitytermsandconditioosapply,seeDROPSIOJ   .ccm
     thefirstappearanceof a skinrashoranyothersignof hypersensitivity A:!requestsarcsubjecttu Aicor1reviewanda~prova!.  7


     Serious andoccasionallyfatal hypersensitivity
                                               (anapl1ylactic)reactions,
                                                                         References: L r.,PROOFX"'OfaPar.kage /11,rrt2. iMShra~h.IMSMa1innai Prr.,crintinn
     somefollowingthefirstdose,havebeenreported   in patientsreceiving Audit'M. January 1007-May  2015.
     systemic quinolones                                                 C!f'P.00[)(
                                                                                  is a registered
                                                                                                trademarkaf DayerintciicctuaiProperty
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                                                        Simply
                                                             filloutandfaxbackthecompleted             thisletter ~
                                                                                         formaccompanying
                                                          ___       toreque~t
                                                                            F~EE samples
                                                                                      ofCIPRODEX®Otic.            ... ~

       TGhaveyourlaxnumberremoved
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                                                cailt!liSro!-lreenumber
                                                                      H88-681-~t'.;?,                                                                                                                Alcari
       enterdccumen·n;irnber
                          700271
                               a~dlo':owther,rom
                                               ots.orlax 1-866-248-5116.                                                                      © 20!5 Nov~rlis    rJ/!\\    CCXloU?/FX-C              a Novartis ccrnp,my
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                        BROADCASTLIST    #:
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                                                                  CNONCALLEDON)


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     DOCTOR'S NAME Agnes Emerle
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     CITY ST ZIP Elk Grove Vig, IL 60007

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                    NDC#                                       PRODUCT NAME                               QTY
                                        CIPRODEX® (CIPROFLOXACIN 0.3% and DEXAMETHASONE
                 0065-8533-03           0.1 %) Sterile Otic Suspension, 1.5 ml                             2



                                              SHIPMENT INFORMATION
     Please send a one-time shipment.


     You must check the box below to be eligible to receive samples
     D I confirm that:
         I am authorized by federal and state law to prescribe these medications;
     •   I understand that samples must not be sold, bartered or billed to any patient, payer or third party; and
         I routinely prescribe the products I am requesting in accordance with the FDA-approved indications.


     Healthcare Provider's Signature: __________________________                                                           _
                                               (No stamps or duplications)
     Medical Designation: _______________________                                                Date: _____               _

     Collaborative Agreement Required: YES or NO (please circle)
     If yes, collaborating physician's name: ________________________                                                      _
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            12:25 1:16-cv-04539 Document
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                                                      11/21/16  Page
                                                            From:    25 of 41 PageID #:300 Cl 3/4
                                                                   CNONCALLEDON)

                                                                                                                                                         frn signs of local irritationwere found when CIPRODEX®            Oticwas applied topicallyin the rabbit eye.
                                                                                                                                                         Information tor Patients
                                                                                                                                                         Furatic use only.fThispmduct is nut apprO\ledfor use in the Erye.J
                                      icinronoliac1·n
                                      \ 1p1II ,1 1n
                                                  U.un      UG,IO      n ;JI
                                                       m1U,lm.,,moth•snno
                                                   'JI!/""~            u.
                                                               1~u10u111,                                  ]'ii                                          V,/;;rmth" hnttlR in yom h;rnd fnr nnf! tn tv..m min11t1:1s prinr to ns:P.nnr1sh,ikP.WPIIimmqrij;;,tRlyhP.torn
                                                                                                                                                         using.
                                      STERILE OTIC SUSPENSION                                                                                            Avoidcontamini:iting   the tip with materialfromthe ear. fingers.or other sources.
  DESCRIPTION                                                                                                                                            Protect tromlight
                                                                                                                                                         It rash or allergic reaction occurs, discontinue use immediatelyand contact yuur physician.
  c,0 R0DrX0 !ciprotloxacin0.3%anddexamethasone D.1%1                  Sterile OticSuspensioncontains the
                                                                                                                                                         It ·1sw:iryimpnrt;;nttntts:P.thR            ro,;.io.;long .;s thP.dnr.tnrh;-s ins:tn1r.tP.ri.
                                                                                                                                                                                          P.ilf drnp<.'.                                          even if the
  syntheticbroad-spectrumantibacterialagent. c1profloxacinhydrochloride.combinedwith the
  ;,nti·inflJrrrnatorycorticosteroid,  dexamethasone,in a sterile. preserved suspension for otic use. Each                                               symptoms improve.
  nl nf CiPROOF-X@                                                                     tn '.i MIJr:inmflnxisr.inh.;sAI, 1
                        Otir.cnnt;;,in~c:inrniln~;.ir.inhyrlrnr:hlnrirlP.IP.ri11iv..ilP.11t                                                              Discard unused portiondfter therapy is c-ompleted.
  mg dexameniasone,and a:mg bemalknniumchlorideas a preservative.The inactiveingredientsare                                                              Acute Otitia Media in pediatric patient• with tympanostomy tubes P1iorto
  boric acid. sodiumchloride,hydroxyethylcellulose,tyloxapol.acetic ac·,d,sodiumacetate, edetate                                                         admiriistrationof C:t1 RODtX®Otic in patients (6 months and olderi with acute utitismedia through
  t.litiutJiurn.
              atuJ µurifil:!U
                            w11l~1. SuUiuwltyllrwdLlt!    LIi l!yt.lrud1lurit;a1.;itJ
                                                                                    IHdY i.Jt!dlftltaJ fui allju~lllHtlllui µ1-1.                        tympanostomytubes, the suspension should be warmed by holdingthe bottle in the hand for one or two
  Giproflox.,cin.  a tluoroqu,10loneis available as the monohydrochloridamono/rydratesalt uf                                                             minutesto ilvoiddinines!, 1111hich   may result from the instillationof a cold suspension.The patient
  1-cyclopropvl.3 -fluoro-1,tl·dihydro .r,.axo ·7 ( i · piparJzinyi}-3·quinolincc.:;rboxylic.1cid. lho ompiricz.1                                        shmtlrlliR;1viththP.::itfP.rtprl
                                                                                                                                                                                       r:i:.runwnri. ~nd thRnthRrlrnnsshn11lrl    hR in\C.:tiltP.r1
                                                                                                                                                                                                                                               ThRtr;11111s
                                                                                                                                                                                                                                                         ~hm1irlthRn
  formulais C·!7HiBFf\303HCI-H?.0       and the structural frmrula is:                                                                                   be pumped5 times by pushingim,'i'arrJ     to facilitate penetration of the drops intothe middll:!ear. This
                                                                       0                                                                                 positionshuuld be maintainedfor 60 s13conds.Repeat, if necessary, for the opposite ear (see
                                                           ··v   Y'Jr
                                                             1\.• 'i....
                                                                               COOH
                                                                                                                                                         DOSAGE AND ADMIIIHSTRATION).

                                                 r(','./ ,                      ,dGI                                                                     Acute Otitis Externa
                                                                                                                                                                                     u[ C PRODEX,~ Olii...i11µalieul~ 1Nilhavult1 ulili:,,tix.ltiflld,ll1ti::iu:-iµti11::;iu11
                                                                                                                                                         F'r'rurlU at..l1rri11islrt.1liw1 1
                                                                                                                                                                                          ,                                                                               ::illuulU
                                                rf",.,,_               i~           oH,)U
                                                                                                                                                         be v11armerJ   by holdingthe bottle in the hundfor one m t\',/0 minutes tu avoiddizzinesswhich may result
  Doxaml:Jthasone,           ·1lbeta;,·17,2·1
                  9-fluoro--·:            -trihydroxy-iGfalpha)-methylpragna-1,4-dimw-3,20-dione,
                                                                                              is an                                                      frnm thP.im;till;;tinnnf ,1 mhl ~11spP.nsinn.fhR p~fornt~hmtlrlIi?.1Mith     thP.;i·ftP.ctP.d  ?.;lr11p1r,1Jni,,1nrlth1rn
  nnti-inflamrnaturycorticosteroid.The empiricalformulais C22H29F05and the structural formulais:                                                         the drops should be instilled.This positionshould be maintainedfor 60 seconds to facilitatepenetration
                                                  :---H, 1:                                                                                              ot the drops intothe ear canal. Hepeat. it necessary, lor the opposite ear Isee DOSAGE AND
                                                                                                                                                         AOMINISTRATIONJ.
                                                                                                                                                         Drug Interactions
                                                                                                                                                         Sµe-.;iiit;tl1uy i11l1:11at:liuu         havtl nul Let!11i.;u11Llui.;l~tl
                                                                                                                                                                                       ::itutliti:,:                           will! CiPRODEX<~Oliv.
                                           I)                                                                                                            Carcinogenesis,            Mutagenesis,            Impairment
                                                                                                                                                         or Fertility
  CLINICAL PHARMACOLOGY                                                                                                                                  Long-tenTI  carcinogenic'irystudies in mice and rats have been completed tor ciprofloxacin.After daily
  Phannacokinetics:             Followinq     a sinQ/ebilatflral4-drop!totaldose c 0.29ml. 0.84mqciproiloxacin.0.2B                                                                                    rno/ka{r.::ts) WArR;;rlministRrnrl fnrnp tn? y?.;m;.thP.rnw;;,s nn
                                                                                                                                                         or;il rlm>Asnf 7!1!;ruJ/kri (micAl ,rnrl ?!Ji'J
  mg dexamethasone)topical        one dose of CiPRODEXGJOtic              to pediatricpatients after~/npanostomytube                                     evidence that ciprotloxacinhc:dany carcinog•micor tumorigeniceffects in these species. No long term
  insertion.measurableplasmaconcentr.itionsot dprofloxacindnd dexamethasone,rvernobservedat Ghours                                                       studies uf C!;::,RODEX®    Otic have been performt:Jd     tu evaluate c<lrcinogenicpotential.
             aU1riit1i::,ll
  rullu1.1vi11y                                       a11J !j uf 3 µ.:1li1:111l;:,,
                       a.liurti112 ul 9 1,Jdliti11l.:::                       1t:1;:,j.Jt1l,UVt1ly.
                                                                                                                                                         Eiyhti!i Vitromutagenicitytests have been conducted rvithciprofloxadn. and the test results are listed
  Mean + SOpeak ~asma concertrations of ciprofloxacin\.•\/tire                      1.39± 0.880ng/ml (n,,-9j.Peakplasma                                  below:
  concentration!': r;;.ngedfromO51.3og/ml to :3'!5 ng/ml and \il 1ern on aver.age e!p~oYim?.tel\•C.1%of pe-1k
  pliismaconcentrationsachieved\i\fithan oraldose ITT                 250-mgIll. Peak pfosmaconcentraf1onsof                                                                 lest (i'wegative)
                                                                                                                                                         Sr1:monel!a/Microsome
  ciproftoxacinwere observedv-Jithin          15minutesto 2 hours post dose application.                                                                 E col, Dt,ARepairAssay !Negative)
  Mean ± SO µeak plasma concentr<1tionsuf dexamethasone ~'tern1.1,4 ± ·:.ta.ny/ml \11::::Sj.                        Peak                                 Muu:,,t!Ly111µliu111d          Mult.1liu11
                                                                                                                                                                           C~IIFu11,\la1t..l
  plasma cuncentrations ranged from 0. i3b ng/ml tu 5.iQ ngtmL1mdwere on average approximately·:4'fr,                                                    Assay (F>ositive)
  of peak concentration;jreported in the literC<ture              following,10oral 0.S··mgtablet do:-,ef:!.f'ei.k plv;-,m;.                              ChineseHamsterV7qCell HG;:lfffTest (Neuativei
  concentrations of dexamethasonewere observed within ·15minutes to 2 hours post dose application.                                                       Syrian HamsterEmbr{oCellTransformation
                                                                                                                                                         Assay (Negative)
  o~x.:irnmh;;<:nnA h.:i<:hA"'n .:irlrl'ff'!to;iirl in thf! ri:pc;o~1tionHt thP infl.:imm,,tnryrP<:jmm:P;:;f',nmp;;in\~n~
                                                                                                                                                         Sd<.t:hr1n·,11v.,·~;, l.'1:1ir:N1,)1dt:l'ui11l
                                                                                                                                                                                                      r/1uldiu11
  bacterialinfection{suchas otorrheain pediatricpatientswth AOMvvithtympano~torny                          tube:,).                                      Assay /Negative)
  Microbiology: Ciprutloxaciihas in vitroactivitvaqainst a 1r.tideranQeof qram·oositivea:rld                                                             SaccharomvcescerevisiaeMitoticCrossover and Gene ConversionAssav fNeoativel
  gram-negativemicroorganisms.The bactericidalaction of cipmfloxacinresults from intsrternnce with                                                       Rat HepatocyteDNARepairAssay il'ositive)
  the enzyme.DNA!N!i::IS0, i.iithich      is naedad for thHsynthesis of hacterial DNA. Cros!';:.resistance            has                                Thus, 2 of the 8 ttJsts wtJrepositive,but results of the follutring3 ir,vivotest systems gave negative
  bean ub~crvadbct~,monciproflox.:;.c.in            .1ndother fluoroquinolonuz;.Thero ii-gcnor.1ltyno                                                    l'd;:,ullb:
  cross·resistance bP.h~t:1e11    ciprotlaxacinand other classes uf antibacterialagents sud1 as bE:!ta~la!.;tams                                         Rat HepatocyteDNARepairAssay
  or aminoQlvcosides.                                                                                                                                    Micronucleus fest {IVicE:!)
  Ciprotloxacinhas been shrnNnto he active against most isolates of the follovving                   microorganisms,bath 111                             DominartLethal fest Wice)
   vitro and clinicallyin otic infectionsas described in the INDICATIONS AND USAGE section.                                                              Fertilitvstudies performBdin rats at oral dost!s of ciprofloxacinup to ·1~0mQ/kq/rJav        revealed no
  Aerobic and facultative gram11ositive microorganisms                                                                                                   evidence ot impairment.Thiswould be oVtlr'\ODtimes tile maximumrocommendedclinicaldose of
   Sraphylacoccusaureus                                                                                                                                  ototupicJJciprofloxacinbased upon bodysurface arna.assuming total absorptionof ciprofloxacintram
   S."'rcptacoccus pno;.,,rr:amJa                                                                                                                                  of.:::.p.:.ticnttrn.:i.todvJith C1rflOD[X@Otictwica por d.:::.y
                                                                                                                                                         the e.:::.1                                                            Jr.cording to l.:.bcldirn\.tion::,.
   Aerobic and facuhative                       gram...,.egative microorganisms                                                                          Longterm studies have not been per.:ormedto evaluate the carcrnogenic potentiulof topical otic
   f/.1Pmnphi/11.,infl1JRn/'llH                                                                                                                                                                              l~:,ltcJ h.H i,: v;llUdHLI iu vi'iu !:4t:lllllll,(j1.,µuttmllul u11J ::.hu'l'~t1
                                                                                                                                                         Uexu111t::lJ1v~una. Ot1Aul11t1ll1u~Ulft1 l1ab Ut:t:111
   Moraxe!lacatarrhalfs                                                                                                                                  to be positivein the followingassays; chromosomalaberrations. sister-chromatidexchange in human
   Pse1.1damam1s aerngmosa                                                                                                                               lymphocytesand micronucleiand sister-chromatidexchanges in mouse bone narrovv.HO'Jl·evt:ir,                              the
   INDICATIONS AND USAGE                                                                                                                                 Ames/Salmonellaassay, both v.Jithand withoutS9 mix.did not shaw dny increase in His-rrnvertants.
   C,.:SRQDEX@  Oticis indicatedfor the treatment of infactions caused by susceptible isolates of the
   dcr.;ignatodmiuoorgo.ni:;m:,in tho ~pccific, ..:unditiun~fo,tm.1bclmr,r:
                                                                                                                                                         The affect of dexamethasoneon fertilitvhas not been investiQatedtollov11inQtopicalotic application.
                                                                                                                                                         HrnMover,the lm1<i1est
                                                                                                                                                                            toxicdose of dex.1methasoneidentifiedrulloVilingtopico.1  dermalapplicatfoni.'Vas
   Acute Otitis Media in pediatric patients iage cmonths and older)erithtympanostnmytubes due                                                            1.802mg/kgin a 26·1~.1eek
                                                                                                                                                                                studyin male rats and rn1>ulled in changes to the testes, epirJidymis,
                                                                                                                                                                                                                                                     spermduct
   tn St;,phylnr.nr.r.11s ;i:11rR:1s,~trRr,rnmr.r.iis            {IIIRl!rrinni~R.       H;,P.mnphdns ir.fl11RnN!P.. fi,for::,,a:itl,'?
                                                                                                                                    r.;.,t"'rrh::,/!s,   proMJ.tc, :;cminulvo:;~iclc, Co-.vpor':;
                                                                                                                                                                                          .       glJ.nd und ;;a;c.cs:;orygfondv.Tho rolcv,:mccof thi=-,&udy fur :;hort
   ;rnd Pseudomon(jsaeruginosa.                                                                                                                          term tupicalutic use is unknm.\111.
   Acute Otitis Externa in pediatric (age 5 months and older), adult and elderfy patients due to
                                                                                                                                                         Pregnancy
   Staphylococcusaureusand flseudomonasaerugmosa.
                                                                                                                                                         Teratogenic Effect•- Pregnancy Category C:
   CONTRAINDICATIONS                                                                                                                                     Reproductionstudies have been performedin rats and mice using oral doses of up to 100mg/kgand ·V
   C :lfiQDEXGQI.it,;is t;u11l1<li11Jit..aluJ
                                           111                                             lu t;iµ1urlux..1.;i11.
                                              µaliu11b. wil!1o1 l1i~luryui l1yfJW~1c:11:::ii.ivity             lu                                        doses up to 3~mg/kgand have revealed no evidence of hilrmto the fetus as a result ot ciprofloxacin. n
   other quinolones.orto any of the componentsin this medication.Use of this product is contrniOOico.ted                                                 rabbits, cip,otloxacin!3Dand 100mg/kg orally)produced gastrointestinal disturbances resultingin
   in viralinfectionsuf tha externalcanal includin11     herpes simnlexinfections.                                                                       m.:itorn.11
                                                                                                                                                                   woight lo:;::;.1ndan incrou::;odincidence of abortion,but no torutogonicityw.1::;
                                                                                                                                                                                                                                                  ob:.cm,cd J.t
   WARNINGS                                                                                                                                              either dose. Afterintravenous administrationof doses up ta 20r1g/k.g,no maternaltoxicityofi1as
   FOR OTIC USE ONLY                                                                                                                                     produced in the rabbit. a.ndno embryotoxicityor teratogenicitywo.sobserved.
   ( 1his product is not approvedtor ophthalmicuse.I
                                                                                                                                                         Corticosteroidsare generallyteratogenic in labori.itoryanimalsiilfhenadministeredsystemicallyat
   NOT FOR INJECTION                                                                                                                                     rnlativelylowdosage levels.The more potent corticosteroids have been shown to be teratogenic after
   (;: " HUUCX(~
        1
                  Ubeshould be discontinueddt the Tlrstappearance ot a skm r;,,shor any other sign a~                                                    dermal applicationin laboratoryanimals.
   hypersensitivity.Serious and occasionallyfatal hypersensitivity(anaphylactic)reactions, same
   follmr,ingthe fir~t E.lm.;e, haw been reported in p.1ticnt!.i"           receiving syste1·1icquinolrJm:it.Seriuu~ J.tutc                              Animalreprnductionstudies have not been conducted with C11PRODEX@Otic.      No adequate and well
                                                                                                                                                         r.ontrnllodstudies have been performed in pregnant women. Cautionshould bl:!exercisEJdwhen
   hypersensitivityreactions may require immediateemergmcy trHo.tment.
                                                                                                                                                         CIPRODEX®     Oticis used by a pregnant woman.
   PRECAUTIONS
   General: Asw[h other artibacterial preparations,use of this productmay result in overgrowthof                                                          Nursing Mothurs:
   nonsusceptihleorganisms,includingyeast and fungi.1fthe irrte..;tion                  is not impmvedafter one \Meekof                                               and corticosteroids.as d class, appear in milkfollowingoraladministration.Oexamethasone
                                                                                                                                                          Ciprofloxacin
                uALu11::.::bltuult..lLt: ultldil1t:J Lu~uit..lefu1 lltt:I lfi::olt11tull...
   li ~c1L111+:l11L                                                                                            dfle1 ~ full ~urn~t: ul
                                                                                      tr ulu1rl11::c1)Jt11;::i:,l::.                                      in bro;;~ milk could cupprcs:; grov ..th, interfere V\~thondogcnou:; corticu~toroid produc;tion, or cau:;o other
   therapy,or it two or moreepisodP.suf oturrhei.ioccur Vl~thin                 six months,furthP.revaluationis                                           untovvardeffects. it is not kno\AJIIWhethertopical
                                                                                                                                                                                                          otic adrnrlistrationof ciprufloxacinor dexanethasone
   recommendedto excluOOan under1vimconditionsuch as cholesteatoma,torei11n                               bodv.or a tumor.                                couldresUt in sutficientsystemicabsorptionto produce detectablequantitiesin humanmilk. Because of
                                                                                                                                                          the potentialfor unwantedeffects in nursinginfants,a decisionshouldbP.madP.1Mhether     to discontifl.JB
   The systemicadministrationof quinolones,includingciprotloxacinat doses much higher than given or
                                                                                                                                                          nursingorto discontinuethe drug,takingintoaccount the importanceuf the 0-ugto the mother.
   absorbed by the otic routs, has led to lesions or erosions of the cartilage inweight·bearingjoints and
   other signs ot arthropathym immatureanimals ot various species.                                                                                        Pediatric Use:
   Guinea pigsdosed in the middleear with C,PRODEX@                        Otictor one month exhibitedno druQ·relsted                                     The safety and efficacy of ClPRODEX@         Otic have been t?Stablishedin pediatric patients 6 months dnd
   ::illu1.,lUI   al Uf fu1tLlitJ11al
                                   d1dHUt:~ ui lht:: i.;u~ltlt:<.'l.l
                                                                 ltair 1.:1::111:-i
                                                                             ~,al IIU l1-J:;::iu11::i               c:rnoDC.X®
                                                                                                i1,Utt:l.l;::~l~llj::i.                                   oldar (!'.!37
                                                                                                                                                                      p;iticnt::;)in ;;:dcquJtc ~nd well controlled clinicaltrial~./\!thoughno data arc o.v.Ji!.;;,.bla
                                                                                                                                                                                                                                                                   on
   Ot.ic..,.\iasalso shown to lackdermal sensitiimy potentialin the guinea p'1gwhen tested accord'mgto the                                                p2tientsless than age 6 months,there are no known sa;ffty concerns or ditferences in the dise.1se
   method ot Buehler.                                                                                                                                     process in this pupulationthat would preclude use of this product. !See DOSAGE AND
                                                                                                                                                          ADMINISTRATION.I
01-26-2016 Case:
            12:25 1:16-cv-04539 Document
                        BROADCASTLIST    #:To:4046146
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                                                         11/21/16 PageCNONCALLEDON)
                                                               From:   26 of 41 PageID #:301 D 4/4

  No clinically rnlevantchangesin haaringfunction were 01!,;ervedin 69 pediatric patients {age4 to 11                                      IMPORTANT PATIENT INFORMATION AND INSTRUCTIONS.
  yeur::.)treuted with C!:'ROO[X@Otic.und tested for audiometric parumeter::..                                                             llEAD BEFORE USE.
  ADVERSE REACTIONS                                                                                                                        Whet is CIPRODEX® Otic7
  In flha::.esIi and i Ii clinicultriiils, u total ct.:3J7patients were treated l.'vithCiflf10D[X3)Otic. This                              CiPRllrJFX(.i)Otici!-;:;n.:antihintir-/c;;tArnirl
                                                                                                                                                                                        rnmhin;:;tinnprnrlnr·t in ;.l ~tP.rilA          11~Prltn trp::it·
                                                                                                                                                                                                                             c;11!=:pAnc;;inn
  included40J patients with acute otitis media with tympanostomytubes and 537 p3tients w"rthacute                                          • Middle Ear Infection with Drainage Through a Tube in Children 6 months
  otitis extema. The reported treatr1ent·relatectadverseevents are listed belm.11r:                                                          and older: A middleear infection is a.bacterial infectionbohind the eardrum. Peoplewith a tube in
  Acute Otitis Media in ~diat~atients               with tvlIJm!nostoml,l_tubes
                                                                                                                                             the eardrurn mJy notice drainage trom the ea.rcanal.
  Thti follm-vin«
                treatment.related adverse events occurred in 0.5%or more o; the patients with                                              • Outer Ear Canal Infection in Patients 6 months and older: An outer ear canal
  non·intacttympanicmembranes.                                                                                                               1nlection.also known as ·sv,11r1mer·s     Car·.is 2 bacrena:Imtectmnot the outer ear c2nal. : he ear
                                             •.,-.,-.E~V-1!!'-~.t-,-,-]!:-c0-,d-GC-,C-e-,-IN~c.-,£-,,,Di
                                        r~-c-A-c-d,.-                                                                                        canal and the outer part of the ear mdyswell,turn red, and be painful.AlslJ,a fluid discharge nay
                                                                                                                                             ;;;11pA;.ir
                                                                                                                                                     in thH P.;irr:;;n;;;I
                                         E;ird1scr.mfon               J.0%
                                                                                                                                           Who should NOT use CIPRODEX® Otic7
                                                                                    7,3%
                                                                                                                                           • Oo ~Gtusr-.th1:;product :f aiic.ng1
                                                                                                                                                                               c to c1pr0fcxar:1nor to 01hc~1                                                             q111;;cfor.e
                                                                                                                                                                                                                                                                                    (1r:t!b1ot:.:.s
                                         [;.,r f.MI,>(, i~•lliJI;:
                                         1re:.1ciue)                                r,,5%                                                  • 'Ju no! u~~ th!s pruciuct           to dt:XV!flsthasone c,rto                                                                c,tra:rste ro1ds
                                                                                                                                                                                                                                                                          tha116 rric,11tl-i:;
                                                                                                                                                                                                                                                                                           0id
                                         1mtatld:ry                                 0.5%
                                                                                                                                           How often should CIPRODEX•iv Ot1c be given?
                                                                                    0.5%
                                                                                                                                           C,PRODEX@      Otic ear drops shouldbe given 1 times each day (about 11hours apart,fur example,8 AM
  ThAfnllnwinfJ trn;;tm1mt-rHl<1tj:H1
                                   ;;r1vArsAP.VAntsWRrA ArJCTl  rP.pnrtP.riin ;:i :sinl)IP.ri~tiP.nt·tymria1nstnmy                         nnrl i'.!PM)in A:.ir.hinfAr.t~lP.;:1r
                                                                                                                                                                              1tnlP.s'-thP.f!nr.tnrh;:;!'>            nthHr,Ni!s~ ThP.hPst timP!':tn 11sP.
                                                                                                                                                                                                         in'-=tn1r.tPrl                                  thP
  tube blockage; ear pruritus;tinnitus; oral moniliasis;crying; diuiness; dnd erythema.                                                    ear drops am in the morningand at night. it is very importantto use the ear drops for as longas the
  A!.Jrul.21iti1ht!tffil!..                                                                                                                doctor has instructed. even if the symptoms improve. !f CiPRODEX®                         Otic ear drops are not
   I he tollowmgtreatment-relc::tedadverse events occurred in UA% or morno-:-thepatients \;,11th
                                                                                              mta:ct                                       u~~d iur "~ lu11y;1:, ll1~Uul.tut !1.::1~
                                                                                                                                                                                   i,t~l,uL:l~U.ll11di11f~1.;liu111r1dy
                                                                                                                                                                                                                     1~lrn11.
  tyrnpank membranes.                                                                                                                      What if a dose is missed?
                                                                                                                                           i r J do:;cof C PP.ODl:X'3:·   Otic i~ mi::.cd, it ~hould be given a~ soonJG pos:;iblc.if it i:, ;:.i!mo~t          time for
                                          P..dvo~sc
                                                  Ever.t
                                         Earprunr.us                                15%
                                                                                                                                           the nextdose, skip the misseddose and go back to the regular dosing schedule.Du not use a double
                                                                                                                                           dose unless the doctor has instructed you to do so. if the infectionis not ifT1)ravedafter one week.,you
                                         [.:i1   dul,n~
                                                                                                                                           should consult your doctor. if you have t'lilfoor morn episodes of drainagewithin six months, it is
                                          Si.10t:r1mposed
                                                       Qf.:r
                                          mf&cr,cr.,
                                                                                    o.ri~t                                                 recommendedyou see your doctor for further evaluation.
                                                                       --·--····.   j'j ~~::
                                         tEarcor.gG$rion                                                                                   Winn tt:l.tivitil:5::i=should be uvoid1:d whih: u:&ing CFRODEX1!9 Otil.7
                                         Earpa1ri
                                                                                                                                           it is importantthat the iniected ear(si remain clean and drv.When bathing,avoid gettingthe inft1ctecl
                                                                                                                                           earfsl wet. Avoids,..vimmina        unless the doctor has instructedotherwise.
                                         Eryttw;,fl                                 0.1.q;,
                                                                                                                                           What are the possible side effects of CIPRODEX® Otic7
  ThefollovvinQtreatment-related adverse events were each reported in a sinQIP.
                                                                              patient ear discomfort~                                      Duringthe testing ol CIPHODtX@Otic fur middleear infections,the most commonside effect related
  decreasedhearing; ,,nd ear disorder !tingling),                                                                                          to 1.;\PHUUl:.X\~)  Ut1c·wasP.crd1scom!ortthat occurred 1n up to~ out at ·:na                    patients.Uther commonside
  DOSAGE AND ADMINISTRATION                                                                                                                effects i/)'ero:ear pain: ear precipitate (residue);irritability;and abnorr12It:aste.Duringthe testing of
                                                                                                                                           C!PRODE)(~      1 Oticfor car canal infection~.the mor.t co~mon ddc effect related to CiPROD[X®Otic
  CIPRO DEX® OTIC SHOULD BE SHAKEN WELL IMMEDIATELY                                                                                        wus itchingof the ear that occur red in i ta 2 out of 1~Opatients. Other commonside effects wern: eu
  BEFORE USE                                                                                                                               debris; 0or intection in the treated ear; ear congestion; ear pain: and rash.
  C!r'n0D[X8:' Otic c.ontv.ins:Jmg {J:JOO    ug/mU ciprofloxca;in ,md 1mg/fill dexv.rnetha:,one.
                                                                                                                                           if any of these side t!ffects persist. call the doctor.
  Acute Otiti1 Media in pediatric patients with tympanostomy                                tubes: The
  rn~nmrmmilqfirinc;;;gpn=!:Jim?.n    fnr thP.trP.11tm!rntnf r1r-11tQ
                                                                    ntiti~ mmli;i in rrnrli:.rri~pntiflnt~ f:.g.:i;;                        if an a11Brgic   reaction tu CiPRODEX®          Otic occurs, stop using the productand contact your doctor.
  months and older) throughtympanostomytubes is:                                                                                           DO NOT TAKE BY MOUTH
  Fourdrops \0.14ml. 0.42mAciprofloxacin,0.14mQdexamethasom!)instilled into the affected ear twice                                          if C.llAOOf:X,3)   Ot1cis accidentally sv1allowect          or overdose occurs, call the doctor immediately.This
  dailytor seven days. The suspension should be warmed by holdin~the bottle in the hand for one or tvYo                                    1111JUid11t:i:, avc.1ild!Jlemt!;, 1r1ill1                                                           Du 11ulu~~ lid:, t11t=Ui1,;i111:::
                                                                                                                                                                                               ':::,µre~t.;dµliun. U~tt u11lyc:.:::,Uirt:H,;lt:J.
                                                                                                                                                                                   o:1t.Jut;:lur                                                                           jr
  minutesto avoid dizziness,l-Vhichmay rasult from the instillationof a cold suspem;ion. The patient                                       outdated.if you v11ish     to learn more about C!PRODEX@                Otic, call your doctor or pharmacist.
  ~hould /io v1;iththo ::.t"fottcdQjr up';v.:i.rd,;:mdthen the dropG:.hould be inGtillcd.The trjgu:, :,hould then                           HOW SUPPLIED
  be pumped5 times by pushing inward to f.a.cilitatepemttration of the drops into the middle e,u. ·rhis                                     CiPROOEX®        Oticis supplied as follows:7.5ml fillin a
  positionshould be maintainedfor 60 seconds. Repeat. if necessary, for the opposite ear. Discard                                          OROP·TAi     NEH@system.The DROP-TA:                NtR@systemconsistsof a natural polyethylenebottle and
  unusadportion aitertherapy is completed.                                                                                                 natural plug,with a whits potypropvleneclosurn. amper evidence is provided i'111th                         a shrink band
  Acute Otitis Externa: The recommendeddosage regimen for the treatment of acute otitis                                                    around the closure and neck.area of the package.
  uxltHlld i~. Fut µal.iB11t~[ayli 6111u11lli:i
                                             a11UultJt=ri.Fuur tJ1uµ:,(G.!4 ml, JA2 my t;:tµroilux.:1t.;i11.  Q.'14111y
                                                                                                                                            ~incDORfi-!V,::n.n:>,  J_'i ml fill
  dexamethasone)instilled into the attected ear t\Micedailytor seven days.-:he suspensionshouldbe
  v,,.-.rmful
            hv hnlrtinq thA hottl~ in thA h;rnrl fnr nnR nr ti.'ilnminut~s tn ~vnirl rlininP.ss, whir.h rmv rA!'.1tlt                      Storage:
  from the instillation at a cold suspension. The patient should lie with the a"Tfected         ear upwJrd, and then                       Store at controlled roomtel'1perature,·!5'·C to 30·c
  the drops should be instilled.This positionshould be maintained for 60 seconds to fdc:ilitatepenetration                                 !59,,F-tu86• Fl. Avuidtree1ing. Protectfrom light.
                                        RHµt:ral,ii
  ui lln1 Uwµ:, i11lutltt:rt:1i,.11,;c111ctl.              lltH;ttM,dlY,                                        u11u::.t:H.I
                                                                           fua lltt:ruµµu:,,ittt u11.r.Di~1,;.,11J       µurtiou dllts:1   U.S. r'.JtuntNo:.. G,1!"!4,804;
                                                                                                                                                                        G,~!in,DiG
  therapyis completed.                                                                                                                     Licensedto Alcon, !nc. by Bayer Schering PharmaAG.
  HOW SUPPLIED                                                                                                                             C1!'RODEX is a reAisteredtrademarkof BaverAG,
  CiPRODEX®     {ciprofloxacin0.3%and dexamethasone0,1%iSterile Otic Suspensionis suppliedas                                               licensedto Alcon, inc by BayerAG.
          7.5ml fill in a DROP·TAINER@
  follC11.Ns:                            system. TheDHQP.TAiNER®      systemconsists of a natural                                          Rx Only
  polyethyleneIJottJP. and nab.Jralplug.w1ttta white polypropyleneclosure. Iamper evidence1sprovided                                       ©100J.1004,1008,1C09Alcon. ,nc.
  with a shriri<bdnd around the closure and neck area of the package.

   NOC00&.5-8533-02.
                7.5ml +ill
                                                                                                                                            How should CIPRODEX® Otlc be given?
   Stomy~;                                                                                                                                  1. Wash hands     2. Warm & 1:hake bottle                                                  3. Add drops
   Store at controlled roomtemperature.,15• C to 30 'C
   159'· Fto 86,.FL Avoidfree,ino. Protect:rom liuht.
   Clinical Studies:
   In a randomi,edmulticenter,controllerlciinicaltrial. CiPRODEX®Otic           doSHd1 timesper ~ayfor 7 days
   demonstratedclm1calcures m the per i:r-otncolanalysis in 00%at .4UMl pat1enllicomparedto /9'/otor
   o~oxacinsolution,0.3%,dosed2 timesper dayfur iOdays, Amongculturepositivepatients,clinicalcures
   were 90%for CiPAOOEX8l       OticcmTJp.;red to 79'!4for oflo)l,.:;cin
                                                                       solution, OJ%_rV1icrobiologic"L"l 9r.!dicatiun
   rates :or thase patientsin the same clinicaltrialwere 91%for CiPRODEX®           Oticcomparedto 82%for                                   fl1eflR:-Sc,n
                                                                                                                                                       g:vmg                                 HG-!d
                                                                                                                                                                                                rtie botrieuf                          Th0personrec;;.1-ma       1               P~r:en1s
                                                                                                                                                                                                                                                                                        sh1luldiial/11
                                                                                                                                                                                                                                                                                                     idroµ~ ,J
   afloxacinsolution,0.3%.in 2 rtmdorrizedmulticenter,controlledclinical trials, Ci?RODEX@           Oticdosed 2                            CIPRODEXcii
                                                                                                                                                   Ot\~shou\a                                            0.1c.1ri ih<f'r,,jr,c
                                                                                                                                                                                             CIPRODD::1]:,                             CIPRODEX1!'.>
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   timesper n.;.ytor/ days demonsmuedclinicalcums in 81%and~·).) at per promcolevaluableAllC                                                ~o;,i,,l,   •,:o.i'i,'*r
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                                                                                                                                                                                                                                                                                      auttllu•;:1tl11:1foig~:s
                                                                                                                                                                                                                                                                                                          or
   patients,respectively,comparedto 84%dnd 89%,respectively,+orotic suspensioncontainingneonycin                                                                                             shak.!v,r;i!                                                                        tlu.!rm, LJr~rrf tJt:11x
                                                                                                                                                                                                                                                                                                        ~uifW:«$
                      R rn.om Ill/ml ;mrl h\1r1mr.nrti~ono
   8.1!i%,nol\lJT1\'1in                                    1J'J%(ni:io/rr1t'/1Hr.) Among r:11lh1rn po~itiv.:i rntiAnt$i
   cinical cll"es were 86%and97%tor Ci?RODEX®Otic            comparedtu 84%and 89%,respectively,fur                                           BE SURE TO FOLLOW INSTRUCTIONS BELOW FOR THE PATIENT'S SPECIFIC EAR INFECTION.
   neo/poly/HC.Microbiological     eradicationrates for these patients in the saineclinicaltrials were 86%a.nd                               4- For Petients with Middle Ear !S. For Peti&nts with Out&r Enr 6. Suy on side
   g/%TOrC!PRODEk.it!     Vtic comparedto ~b%and 8!)%.rP..spectively,      fur neO/poly/rlC.                                                 Infection with Tube:i:          Infection ("Swimmer·!t  Eor"J!

   References:
   I. Campo!:n:cha,d::;OM.MC11k    Jr, PriceA, OnnHoidr,TeddrA.Ward.A..Ciprnf!oxJciri;A review.:iti1s
   anti!Jactmia:ac1ivity,pharmacckirietic prcpertlesaridtherapeuticuse.Drugs196~;;55:.373.44-,,
   ? I nPV\/n.Sr:huc,tP.r0, ;;nrl Gr;;11!
                                        F f')nc;;P.-riPflP.nrlpnt                                         Fm : r.lin
                                                              ph;irm:.r.nkinAtir:,;;nf di:ix;;mP.th:;,;;nnR_
   Pharmacol·,986;30:115-130,
   Ir S P;;tQnt Nm; R.?A4A!l4;G,"l'iq.(rrF,
   Licensedto Alcon. :nc. by Bayer ScheringPharmaAG.                                                                                           Wh•·e t-11~   oerso,rroce-1v111g     C!PHODt..:1v W11:1t.ihe G&l';,cn.n     r-e:::~-w>111g
                                                                                                                                                                                                                                      the oro1)s                               !% p.a,rso:,
                                                                                                                                                                                                                                                                                         vl.10r1Ks1vea
                                                                                                                                                                                                                                                                                                     tf'u
   C:PRODEX    is a registeredtrademarko+BaverAG,                                                                                              Ot,cl:e,c;  vr:h·s/he~:;1de.thu :>G-1'$~'            i!.isonl: s/trn,rs:cie,  tll&pers;Gr g•vng                                 Gt.~dropssho:..id~e-11:.1r:          on
   licensed to Alcon, inc by a ayer AG.                                                                                                        ~·;, I'~ 1h1 drc,p:;:;hv1..:c. ~1:,!,t:'{p-.,:;~t!OG tr::, dr:.p:; .:lioulU g~11t:yp.c:ilth;; aJ~i::r                           b::;,.'r.o
                                                                                                                                                                                                                                                                                       1·'.>'ciCIfc~ ::t •:-.:i:;ti::C
                                                                                                                                               tri,gu:.:(s:e..  d!llgrnmJ5t,mosm2                   &c1rlot,e   1.mwarja•KJf)2r.kv.iarcl.     Tf1,s                            sec:on[ls
   RxOnly                                                                                                                                      [llJ:'11p1r,g
                                                                                                                                                           i'i0il0'1. Tb!S w1i!8:iGWtb.;;    drJpS  w::iol!owthG-ilardrons roflciw dow;,                                       Ri;.r,em  Steos 2-~for rhe Oi"&r
   re:/T!O?,,nr.4,,mm, 't!\/9.Alcon.'1nr:                                                                                                      tn p:;ss rn,·c1e.:9h  ~110ct•Jb1;,n thQ ~r:ircl•uY\  •r:irfrn.~ PP.r/:circil                                                    t::!r1fbotb.
                                                                                                                                                                                                                                                                                         r,:ir:;:;rr.,11fcc:rc<l
   Revisiondate: 17July 2003                                                                                                                   ::ind:;,tothemdd!&Gf:lr.
   PATIENT INFORMATION
   C!PRODEX®    (Ci-PHO-DEX)
   (ciprofloxacin0.3%and dexamethasone 0.1%i
   ~torila Otic$u:;pom:ion                                                                                                                  r,201 J Aleem. In:-.                                  3/: O                     CDXI 0500PI                                                  Alcari
Case: 1:16-cv-04539 Document #: 40 Filed: 11/21/16 Page 27 of 41 PageID #:302




                 EXHIBIT C
11-20-2015 Case:
            10:06 1:16-cv-04539
                     BROADCAST  Document
                              LIST       #: 40(4365)
                                    To: 82298  Filed: 11/21/16 Page 28 of 41 PageID #:303 ['.J 1/4
                                                      From: CCiprodexNonCa!ledOn)



          To: Agnieszka                      Skop
           Fax#: (847) 390-0001                                                                                                                      From: Alcon
           Date:November 19, 2015                                                                                                                     Pages:4
              ---------------------------------------~------~----_-_-_-_-_-_-__:-__,.,
   ~---------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

   ~,_He:FaxBackto Request        OticSam~,~~_____ ______,::P~:
                        FreeCIPRODEX®                                                                                                                                                             ,1-1t~,'l'i;;t:..1; ~,   \bo.('1~




            Dear Dr. Skop,


           DISCOVER
                ...
           GIPRODEX®
                  {ciprofloxacin
                              0.3%and
                      0.1%) Sterile
           dexamethasone          OticSuspension
                   • DP.mnnstrt1tP.rl
                                P.ffir.;ir.y
                     causedbysusceptible
                                          for hothAOE;inrlAOMT
                                         isolates:*
                                                             infP.r.tions
                                                                                                                                                                                   (! GPROi.::;:;:{f::::
                   • The#1 prescribed
                                    oticantibioticdropamongotolaryngologists                                                                                                                     anrl
                                                                                                                                                                                      (c1~roflnxm:m
                                                                                                                                                                                             ij.3% ~~xanmthasone
                                                                                                                                                                                                         ~.1%)
                     andpediatricians
                                    since20072                                                                                                                                        STERILE                       OTIC SUSPENSION

                   • Recommend
                            DROPS101.com
                                     to yourpatientsforsavingsinformation,!
                       education
                               onAOEandAOMT,
                                          andfun games                                                                                                                                        REQUEST
                                                                                                                                                                                                  SAMPLES*
  *INDICATIONS  AND USAGE                                         Precautions:
   CIPRODEX® Oticis indicated
                            forthetreatment
                                          of infectionscausedby   Useof thisproductmayresultin overgrov\1h of non-susceptible
                                                                                                                           organisms,
   susceptibleisokitesofthedesignatedmicroorganisms
                                                  in thespecific  includingyeastandfungi.If theinfcctionis notimproved afteroneweek
   conditions
            listedbelow: AcuteOtitis
                                   Media(ADM) in pediatric
                                                         patients oftreatment,culturesshouldbeobtained  to guidefurthertreatment.
   (age6 months  andolder)withtympanostomytubes dueto Staphylococcus
                                                                  Thesystemic administrationofquinolones, includingciprofloxacin
                                                                                                                              at
   aureus,
         Streptococcus
                    p,wumoniae,Haemophj/us
                                         inffuenzae,
                                                   Moraxel!a dosesmucl1  higherthangivenor absorbed bytheoticroute,hasledto
   catarrhafis,
             andPseudomonas          Acute
                           aeruginosa.   OtitisExterna(ADE) lesionsorerosions of thecartilagein weight-bearing
                                                                                                            jointsandother
   in pediatric
             (age6 monthsandolder),
                                 adultandelderlypatientsdueto signsof arthropathy
                                                                                in immatureanimalsof variousspecies.
   Staphylococcus
                aureusandPseudomonasaeruginosa.
                                                                           Adverse  Reactions:
   Dosage  andAdministration:                                              Themostcommonly       reportedtreatment-related adversereactions
                                                                                                                                          in
   Therecommended     dosage is fourdropsof CIPRODEX®   Oticsuspension AOMpatientswithtympanostomy            tubes:eardiscomfort (30%),earpain
   intotheaffected  eartwicedailytorsevendays.                             (2.3%),earresidue    (0.5%),irritability(0.5%)andtasteperversion
                                                                                                                                          (0.5%).
   IMPORTANT  SAFETY   INFORMATION                                         The 111ostcommonly    reportedtreatment-related adverse        in
                                                                                                                                  reactions
                                                                           clinicaltrialsin AOEpatients:earpruritus(15%),earrlebris(0.6%),
   Contra indications:                                                     superimposed   earinfection(0.6%),earcongestion    (0.4%),earpain
   CIPRODEX®  Oticis contraindicated  in patientswitha historyof           (0.4%)anderythema       (0.4%).
   hypersensitivityto ciprofloxacin,
                                   to otherquinolones,orto anyofthe
   components  in thismedication.                                     in Foradditional
                                   Useat this productis contraindicated                   information  about  CIPRODEX®   Otic,please
                                                                                                                                    refertothe
   viralinfectionsof theexternal  canalincludingherpes  simplexinfections. accompanying    full prescribing information.
   Warnings:
   FOR TOPICAL  OTICUSE  ONLY; NOT FORINJECTION.  Thisproductis not    'T 1isoffer1snotvaiidfor~a1ierts whoareenro!!ed   ,nMedicare PartD.Medicaid.  Medigap.  VA
                                                                        nooTr:r.nrenranyn:lm gn-,ern1~enr-n1n  nrenv,rnmP."Jt-spnnimrt   hraith,arr, ,orngmm witl1
   approved forophthalmic  use.CIPRODEX®Oticshouldbediscontinued   at   a pharmacy  benefit_
                                                                                          Mditionaleligibilitytermsandconditions   apply,seeDROPS!Ol.ccm
   thefirstappearance of a skinrashoranyothersignof hypersensitivity ~ A\irequestsaresub;ecttu .Aiconre·viewandapprcva!.
   Serious andoccasionally fatalhypersensitivity
                                             (anaphylactic) reactions,
                                                                       References, l _1,IPROnFXe>Otir.Par.kng2
                                                                                                             i111ert 2_!MShea~h.IMSNA!io-1ai   Prn,r.rint1nn
   somefollowing thefirstdose,havebeenreported  in patientsreceiving A11dit"'. !an11ary2007-May 2015_
   systemic quinolones                                                 c1moccx   !Sar::gistcr::d
                                                                                               tmdcmorkaf 13aycr iiltc!icctuniProp:::rty
                                                                                                                                      Gmbfl,:icc.iscdto Alco:i
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                                              filloutandfaxbackthecompleted
                                         Simply                          forma-ccompa-nying
                                                                                       thisletter---                                                                                                                                  -------:.ii
                                                                                                                                                                                                                                          ____
                                                                                                                                                                                                                                           _
                                         ____                FREE
                                                     toreque~t   samples
                                                                       ofCIP~ODEX®
                                                                                 Otic.                   ~
                                                                                                   ______________
                                                                                                         ____
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    ro hav2
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                      removed              ca',It!1;sroH-tree
                             fromourdataoase.                  l-~88-681-:it!,Z.
                                                           number                                                                                                                                                                      Alcari
    enterdocumen;n;imber                      erfaxl-866-248-5116_
                      7C02llandfol:owtheDrompts.                                                                                                            © 2015flovartis                          cr.rnonrx-c                       a Novartis <:crnpcrny
11-20-2015 Case:
            10:06 1:16-cv-04539
                     BROADCAST  Document
                              LIST       #: 40(4365)
                                    To: 82298  Filed: 11/21/16 Page 29 of 41 PageID #:304 D 2/4
                                                      From: CCiprodexNonCalledOn)


         Alcon Laboratories, Inc
         6201 South FreewJy, Fort Worth. TX 76134-2099
                                                                                                        A_lcon
         www.alcon.com




                 *Requests are subject to approval by Alcon. Submit only one request form per facility.
     ACCT#
     FACILITY NAME
                                                                                                   201501261155
     DOCTOR'S NAME Agnieszka Skop
     ADDRESS 800 Biesterfield Rd
     CITY ST ZIP Elk Grove Vig, IL 60007

     State License # _________                      Phone # _____           Fax# _____              _


                   NDC#                                  PRODUCT NAME                                       QTY
                                    CIPRODEX® (CIPROFLOXACIN 0.3% and DEXAMETHASONE
                0065-8533-03        0.1 %) Sterile Otic Suspension, 1.5 ml                                   2



                                          SHIPMENT INFORMATION
     Please send a one-time shipment.

     You must check the box below to be eligible to receive samples
     D I confirm that:
     •   I am authorized by federal and state law to prescribe these medications;
     •   I understand that samples must not be sold, bartered or billed to any patient, payer or third party; and
         I routinely prescribe the products I am requesting in accordance with the FDA-approved indications.


     Healthcare Provider's Signature: __________________________                                                           _
                                               (No stamps or duplications)
     Medical Designation: _______________________                                                   Date: _____            _

     Collaborative Agreement Required: YES or NO (please circle)
     If yes, collaborating physician's name: ________________________                                                      _
     State License #
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     FDA Requirements: The recipient of Rx sample shipments must sign and return an acknowledgement of receipt
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                                                                                                            a Novartis rnm pany
11-20-2015 Case:
            10:06 1:16-cv-04539
                    BROADCAST   Document
                              LIST        #: 40(4365)
                                    To: 82298    Filed: From:
                                                        11/21/16 Page 30 of 41 PageID #:305 D 3/4
                                                               CCiprodexNonCalledOn)

                                                                                                                                                 No signsof !or.alirritationwere foundwhen CIPRODEX®      Oticwas appliedtopicallyin the rabbit 0\'€.
                                                                                                                                                 Information tor Patients
                                                                                                                                                 Foroticuse only.[Thisµrouuctis not ;,pprovedfor use in the eye.)
                                       irinrnAnmin     11'J(;J""~ rlnw•morl..gona
                                                     I U,J/JOIIUUGIIO
                                       1,ulrluilui',l)\JI
                                                                                   n]'Ji)
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                                                                                                                                                                                                           nriorto 11sP.;,nr1s.h;;kP.""AllimmqrJ/.;:;tRIV
                                                                                                                                                                                                                                                       hP.forP.
                                                                                                                                                 using.
                                       STERILE OTIC SUSPENSION                                                                                   Avoidcontaminatingthe tip wth materialfromthe ear, fingers, or other sources.
                                                                                                                                                 Protect rrom hght.
  DESCRIPTION
                                                                                                                                                 It rash or allergic reaction occurs, discontinue use immediatelyand contact tour physician.
  c,>RODEX@(ciproflaxacin
                     0.3%and dexamethasoneC.1%1
                                              SterileOticSuspensioncontainsthe                                                                   It is vRry imrmrt.:;nttn u~P.thR fl,:ir rlron~ +rir;.is Iona ;;s thR 1ior:tnr hRo;im•tnir.tP.1f.even if the
  synthetic brodd-spectrumantibacterialagent.ciprofloxacinhydruchlonde,combinedwith the
  .-,oti·int/ammatory                            in a sterile.preservedsuspensionfor oticusg. Each
                   corticosteroid,de)(,3,methasone.                                                                                              symptoms improve .
  ml of CIPROOFX~Otic.cnnt.;ins cinrnilnX'.;.idn hyT!rnr:hlnrirlP.
                                                                fi:iri11ivr1limttn .1ma r:inrnflox~cinht1sP.),1
                                                                                                                                                 Discardunused portionafter therapy is completed.
  mg ooxamethasone,and a.1 mgbemalkoniumchlorideas a preservative.The inactiveingrediontsare                                                     Acute Otitis Madia in pediatric patients with tympanostomy tubes Priorto
  boricacid sodiumchloride,hydroxyethylcellulose,tyloxapol.acetic acid, sodiumacetate, edetate                                                   ndministrationof C;r1 RODfX®Oticin putiants {Gmonths and olderi with acute otitismedia through
  Lli~LR.liw11,
           t111LI
                µurifi~t..lLi!Mlt!!.
                                  Sui.Jiu1r1
                                          l1yt.lruxi1..it~
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                                                                     a1.;llJllldY I.Jti't11..h..ltitJ            uf µ1-1.
                                                                                                fur atJju~llr1tt11l                              tympanostomytubes, rhe suspensionshouldbe warmed by holdingthe bDl!lein rha hand tor one or two
  Ciproflox.;cin.a tluoroauinoloneis availableas the monohydrochloride      monohydratesalt ui                                                   minutesto avoid dizliness which may result fromthe instillationof a cold suspension.The patient
  1 ·cyclopropvl-5··{1uoro               oxo 7· li · pipar.1zinyi}-3-quinolincc-1rbo.x.yfic
                         ·1,tl·dihydro··-1·                                          J.cid. Tho empiric.11                                       shnulri liP.i.Vithth~ ;:1ff1:wtPrl
                                                                                                                                                                                 R;;r 11pw;:rrrl.
                                                                                                                                                                                              <1mt                       hR in~t~lP.rlThRtr;ifJII!; !-hn11fri
                                                                                                                                                                                                  thim thP.rlrnns.s.hn11lrf                               thP.n
  formulais C17H·,sFN303    HCIH20and the structuralfomula is:                                                                                   be pumped5 times by pushinginwardto facilitatepenetrationoi the drops intothe middleear.•his
                                                                        Q                                                                        positionshould be maintainedfor 6Dseconds. Repeat. if necessary, for the oppositeear (see
                                                             "',,Y'J
                                                               1\.• 'i.....
                                                                                COC-'1
                                                                                                                                                 DOSAGE ANO ADMIIIHSTRATION}.
                                                                                                                                                 Acute Otitis Externa
                                                   rr~
                                                  t-f,..._
                                                                        r "'"'
                                                                       J____j__     ,H.,._::;
                                                                                                                                                 Priu, lu at.l111i11i~lf    uf C\PRODEX\~Olii..:i11µtlli!:1ul~
                                                                                                                                                                      11liu11                                    INiillal..ule ulili:,,e:x.lernd,llie ~u:,,i.tt:H1~iu11
                                                                                                                                                                                                                                                                   ~liuuhJ
                                                                                                                                                 be \NOrmerJ   by holdingtho bottle in the hand for one or t,No minutestu avoiddizzinesswhich may result
  Daxamflhasone,9-fluoro-1i lbetai,17,1Hrihydroxy-1Glalpha!-methylprngna-·,.4.die11e-3,1C-dione,
                                                                                           is an                                                 frnm thR in!';tiJl;;tinnnf n cnlil ~JJ~flP.n:sinn.
                                                                                                                                                                                                 ihA fl,'itifrnt~hn11lrlliA1r,1ith thP. ,ittRctFHi11.ir 11n1NrmL ,1nrlth,m
  rtntHnflammatorycorticooteroid.The empiricalformulais C22H29F05
                                                                and the structural formulais:                                                    the drops should be instilled.This positionshould be maintainedfor 60 seconds to facilitatepenetration
                                                                            :"'H.    i;                                                          of the dropsintothe ear canal. Hepeat.it necessary, lorthe oppositeear !see DOSAGE AND
                                                                                                UH                                               ADMINISTRATION}.

                                                                                           n                                                     Drug Interactions
                                                                                                                                                          t.huy i11lt:rc1t:liU11
                                                                                                                                                 SµtiLciiit:                 Mutlit:!'>
                                                                                                                                                                                      /111ve11utI.Jet:11
                                                                                                                                                                                                       1,;wuJu1.;tHLl
                                                                                                                                                                                                                  .,'l'ill1CiPRODEX<~
                                                                                                                                                                                                                                    Olil;.
                                             {I                                                                                                  Carcinogenesis,                  Mutugenesis,                Impairment
                                                                                                                                                 or Fertility
  CLINICALPHARMACOLOGY                                                                                                                           Long~termcarcinogen'1citvstudies in mice and rat5 have been completed fur cipro"floxacin.Atter              daily
  Phannacokinetics: followinQ     a sinale bilateral4-drop!totaldose c 0.28rnl. 0.84maciproi/ox,cin.0.18                                         nrrll rlm,P.sni 7fi\Jrng/kq {riir:P.l,rnrl ?~rl ma/kQ(rrltsl wRrAnrlministRrP.rlfnr llfl tn? VP.ins thP.rnw;;s. nn
  rngdexamethasone) topicaloticdose of CiPROOEX@    Oticto pediatricpatientsaftertympanostomy tube                                               evidance that ciprofloxacinhid any carcinog,micor tumorigeniceffects inthese species. No long term
  insertion,measurableplasmaconcentrationsot dpmiloxacindnd dexamethasone,,;,emobservedat 6 hours                                                studies of C(PRODEX®       Otic have been perrormtt:dtu evaluate carcinogenic potential.
   ruU1.JWi11u                              e111J!; u{'3µdli1:111l:::.,
                         it, 2 ul 3 µdliB111.b
          atJrni11ibllaliu11                                       ft1:::,µt,\,li1;ttly.
                                                                                                                                                 Eightin vitromutagenicitytest5 have been conducted vvithciprofloxadn.and the test results arelisted
  Mean :!: SDpeak [Jasm,,concertrationsof ciproflaxacin            were 1.39 ± 0.880ng/ml [nc9i. Peakplasma                                      below:
  concentr~ons r.:-.nged  from 'G51'3nWmlto·~1!5ng/ml and \Nern on averagP.approximately                 0.1% of pgak
  pit;smaconcentrationsachieved1Nith         an oraldose of 25D-mg     fl]. Peak plasma concentrationsof                                                             Testf~egative)
                                                                                                                                                  Sr1/mone!la/Microsome
  c4)rofloxacin wern obsenredwithin·,5minutesto 2 hours post dose application.                                                                    E.r.a/JDNA
                                                                                                                                                           RepairAssay {Negative)
                                                                                                                                                 Muu:-i~Ly1r1pl1u111d
                                                                                                                                                                  CtillFur111J<'.!1tl
                                                                                                                                                                               MuttililHt
  Metin ± SO peak µfasmdconcentrations of dexamethasone YVt:1rn1.14 ± ·:.54ngiml (n~.9i.Peak
  plasma concentrationsranged from 0.':35ng/ml to 5.7Q n[Vmland were un average approximately·:4'fr,                                             Assay l"ositive)
  of pev.k concentration:;,reported in the lite:rci.ture:   following u.n or.:il0.~ -mg W.bletdo:.ert. r auk pl;:;"<>mi:i                        Chinese Mamster1.i]q CellHGPATTest lNeqativei
                                                                                                                                                 Syrian HamsterEmbryoCellTransformation
  concentrations of dexamethasonewere observed Hrithin·15minutes to 2 hours post do~e application.
                                                                                                                                                 Assay {Negative)
                   h;;c;hfloiin;;rlrhn1tn .:iirlin th&>
  Oo.x;;rnm-h;;s:nnp                                  rqc;;o~1tinn11tthP.inilnmm;;tnry rP.<:prtn!-:P.
                                                                                                  ;.ri'"·nmp;.in}~n~                              S,nd1dir.1111yi:t:.)   (..t1ir:t'li.,id1::   l'ui11l r~11,.1laliu11
  bacterialinfectionisuchas otorrheain pediatricpatientswithADMvvithtympano~omytubes).                                                           Assay i(,egative)
  Microbiology: Ciprufloxadnhas in vitroactivitvaqainst a v,.tideranqe of qram·oositiveand                                                       SaccharomvcescerevisiaeMitoticCrossover and Gene ConversionAssav(Neaative)
  gram-negativemicroorganisms.The bactericidal action of ciprofloxacinresults from interternncewith                                              Rat HepatocyteDNARepdirAssay {Positive)
  the enzyme.DNAgyrase,vlihichis needed for tha synthesis of bacterial DNA. Cross-resistance has                                                 Thus, 2 of the 8 tt:1stswt:irepositive,but results of the follmiving
                                                                                                                                                                                                                    3 in vivotest systems gave neg.itive
  boon obzarvcd bct~,1Conc;iprofloxuc.inei.ndothor fluoroquinolono&.Thero iz gunor.-ilfyno                                                        it:;:;,ull:,;
  cross-resistance betwttenciprotloxacinand other classes uf antibacterial agents such as beta-lactams                                            Rat HepatocyteD.~ARepairAssay
  or aminoolvcosides.                                                                                                                             Micronucleu5\ est (Mic0·1
  Cipmtloxacinhas been shOV\fn       to be active against most isolates ofthe fuflmNing       rricroorganisms,both in                             DominantLethalfest {Mir.el
  ,•1troand clinicallyin oticinfectionsas describedinthe INDICATIONSAND USAGE section.                                                            Fertility-studies performRdin rats at oral doses of ciprofloxacinup to 100mq/k.q/rlav     revealed no
  Aerobic and facultative gram-positive microorganisms                                                                                            evidence of impairment.This1<1muld    be over ·1OJtimes the maximumrecommendedclinicaldose of
   Staphylococcus:Jureus                                                                                                                          ototopicaJciprofloxacinbased upon body surface area. assufTlingtotal absorptionof ciprotloxacin~rom
                                                                                                                                                  the G~r of J pu.tianttrt:atad vvithCirnoor..x@                       JGcordingto /.:;,baldirection~.
                                                                                                                                                                                                  Otic.twice par c.l.:;;,
   Aerobic and facuhative                         gram-negative                     microorganisms                                                Longtenn studies have not been performedto evaluate the carcinogenicpotentialof topicalotic
   1-JaPmnphilw.:infh1R"7flH                                                                                                                      J+:1xi.111H:tJ1c.1;,unu.
                                                                                                                                                                        DtlAul1rtlll10::.u11tl 11«;:;,Lt1tll1 lt,:,l1:1Llrur   ,i, v;l1utl11J i11"'ivu !Jl::lll.Jh.1.<.i1..
                                                                                                                                                                                                                                                                       µ1..1l~11liul
                                                                                                                                                                                                                                                                                 ulH.1 ;,huttH
   Moraxe!lac,1t,1rrha!h;                                                                                                                         to be positivein the follotr'\iing
                                                                                                                                                                                  assays; chromosomalaberr.itions,sister-chromatidexchange in human
   Pseudomon~s  ,wruginosa                                                                                                                        lymphocytesand micronucleiand sister-chromatic.I  exchanges in 1;1ousebone marrmrv.~owever,the
   INDICATIONSAND USAGE                                                                                                                           Amas/Salmonellaassay, both v..tithand withoutS9mix.did not show any increase in His+revertants.
   c:>RODEX@   Oticis inrlieotedforthe treatmentofinfectionscaused by susceptibleisolatesofthe
                                                                                                                                                  The effectot dex.amethasoneon fertilityhas not been investiqatedtollov,~nQ        topicaloticapplication.
   da:ignatod microoryanbm~ in tho :::pacificc-omJitiorr.;li:;tmJbelow:
                                                                                                                                                  Hov1,1over,            toxicdose of dexamethasoneidentifiedfullm;;.nng
                                                                                                                                                             the lm;;.1est                                                    topicaldennal applicationvvas
   Acute Otiti1 Media in pediatricpatients iage E monthsend olderiwith tympanostorrry     tubes due                                               1.802mg/kgin a 26-1,.Jeek   sb.Jdyinmale rats ,1ndresultedin changes to the tastes, epididymi:-:,    sperm duct,
   tn ~t::1phylnr.nr.r.11s,wrR:1:.. StrP.r,tnmr.r.as pmwmnni;,R, H:Mmn{Jhifl,s mfl11,:m.1:.rn,
                                                                                            flnnr;:,xf:llf,1r.;.,t;.,rrh:flis,                    proitatc, :;cminJ.1vc;;~ic.lc, Cm;1rpcr'vglund .:.ndV.CGOs~ory gl.:ind;,.
                                                                                                                                                                                                                         ":he rclcvJ.nc.cof thi:; S:udyfur ~hort
   ~nd Pse1Jdomonasaeruginosa.                                                                                                                    term tupical utic use is unknown.
   Acute Otitis E,iterna in pediatric !age 6 months and olderi, adult and elderlypatients due to
   Staphylococcus aurnusand l's!!udomonas aefi.Jgmosa.                                                                                            Pnignancy
                                                                                                                                                  Teratogenic Effects. Pregnancy Category C:
   CONTRAINDICATIONS                                                                                                                              Reproductionstudies have been performedin rats and mice using oral doses of up to lOC1;1g/k.g     and 1V
            Olit..:i~ 1.,u11lrc:i11Ji1.;al!:itl
   GielROOEXG                              i11l)diffll~ 't"Jill1
                                                               a l1i::ituryui hyµt:f~~ll:::.ilivily
                                                                                                  lu 1.;iµrurluxa1.;i11,
                                                                                                                     Lu                           doses up to 30 mg/kgand have rnvealed no evidence of harmto the fetus as i3 result ot ciprotloxacin.:n
   other c,uinolones,or to any of the componentsin this medication. Use ofthis product is contraindicdted                                         rabbits, ciprotloxacin{30and lDQmg/kg orally)produced gastrointtmtinaldisturbances resultingin
   in viral in~ectionsofthff externalcanalincludinqherpes fJmnlexinfections.                                                                                \:Voight
                                                                                                                                                  mo.tcrn.::il     lo~t:o.ndan incrc.1:;odincidence of ubortion,but no toirJtogcniGity
                                                                                                                                                                                                                                     w.::i~ob:;or·./cd.1t
   WARNINGS                                                                                                                                       either dose. Afterintravenousadministrationof doses up to 20 muikg, no maternaltoxicitywas
   FOR OTIC USE ONLY                                                                                                                              producad in the rabbit and no embryotoxicityor teratogenicitywds obserwd.
   (: his product1snot approved tor ophthalmicuse.I
                                                                                                                                                   Corticosteroidsare gener;:;llyteratogenic in laboratory animalswhen administeredsystemicallyat
   NOT FOR INJECTION                                                                                                                               relativelylow dosage levels.The more potent corticosteroids have been shown to be teratogenic after
   c: r1HUUCXWUbe should be d1scontmuedat the t1ri;tappearance ot a skm rash or any other sign oT                                                  dl3rmalapplicationin laboratoryanimals.
   hypersensitivity.Serious and occasionallyfatal hypersensitivil-yianaphylactic)reactions, some
    folim.Yingthe fir~t dose, haw been reµortcd in patic11t5 receiving ~ystcmic quinolone~. Sctiou~ :icutc                                         Animalreproductionstudies have not beBllconducted withCl?RODEX@Otic.    1\Joadequate and well
    hypersensitivit\,'reactions may require immediiiteemergency treatment.                                                                         contlullodstudies have been performed in preynant women. Cautionshould be exercised when
                                                                                                                                                   CiPRODEX®    Oticis used by a pregnant woman.
    PRECAUTIONS
    General: As wth otherantibacterialpreparations,use of this productmay result in overgroi/lJth                           o-f                    Nursing Mothers:
    nonsusceptihleorganisms,inek1dingyeast ,:mdfungi.If the intactionis not improvedafter oneweek of                                               Ciprofloxacin   arc!corticosteroids,as a class, appear in milkfoUm-ving   oral administration.Oexamethasone
                            ::Jtoult.lLt: ulttdi1,~Ulu yuitJ~furll1t::rlftlalmt11tl 1:uluullt::d IJt!l::i;-.lt,
                  u.Jltuits:::.
    ti tldlt11t111L                                                                                          o!le1 o. rull t.uur..,t:I'
                                                                                                                                    ul             in brc;;:;t milkcould ~uppro:;;::;
                                                                                                                                                                                  grov..th, intorfcro n~th cndogcnou:; c.orticoi;toroidproduction, orctllf.:,Oother
    therapy,or it tirlfUor moreepisodes of oturrheaoceur v1Mhin               six months,furtherevaluationis                                       untwvardeffects. \tis not kno'tlmwhethertopical otic administrationof ciprofloxacinor dexamethasone
    recommendedto exclude an ull.JertvillQ           conditionsuch as cholesteatoma,fureiqnbod\r,or a tumor.                                       couldresultin sufficientsystemicabsorptionto produce detectable Quantitiesin humanmilk. Because of
    The systemic administrabonof quinolones,includingciprotloxacinat doses much higher than givenor                                                thBpotentialfor unwantedeffectsin nursinginfants,a decisionshouldbe made;n,hethertodisconti11UB
    absorbed by the otic route, has fed to lesions or erosions of the cartilage in weight-bearingjoints and                                        nursingortodiscontiruethe drug,takingintoaccountthe importanceof the drugtn tha mother.
    other signs ot arthropathyrn immatureanimalsotvarious species.                                                                                 Pediatric Use:
    Guineapigsdosed in the middleear withC/PROD                 EX@Oticfor one monthexhibitedno drug-related                                       The satety and efficacy of CiPRODExrgiOtichave been ~stablishedin pt!diatricpatients 6 months and
    tillUL-hJI al ur rullL-lilJlldl d1all{Jt,tl    uf llit:    t:Udll~cil    l1air t:ttlb e111U11ult::;:,iu11;,
                                                                                                            i11lllt:1'u:-.i:-iid~~.
                                                                                                                                 Clf"'nOD[X,3)     oldor (t'!37pJticnt:) in J.daquJto Jnd well-controlledclinicaltriJl:;./\lthoughno datJ J.roav.::iil.::ibla
                                                                                                                                                                                                                                                           on
    Otic·wasalso shown to l<1ck
                              dermal sensitizingpotential in the guinea pig v:Jhentested according to the                                          patients less than age 6 months,there are no known safoty concerns or dif<erencesin the disease
    methodof Buehler.                                                                                                                              process in this populationthat wouldpreclude use of this product.{SeeDOSAGE AND
                                                                                                                                                   ADMINISTHATION.J
11-20-2015Case:
           10:06 1:16-cv-04539
                    BROADCAST  Document
                             LIST       #: 40(4365)
                                   To: 82298  Filed: 11/21/16
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                                                            CCiprodexNonCalledOn)


  No clinically relevant changesin hearingfunction were observedin 69 pediatric patients fage4 to 12                          IMPORTANT PATIENT INFORMATION AND INSTRUCTIONS.
          treuted with C!Pf?OO[X~ Otic und tested for audiometric pnrumeter.r.
  ya;:,r~~I                                                                                                                   JlEAO BEFORE USE.
  ADVERSE REACTIONS                                                                                                           What is CIPRODEX® Otic7
                              trids, i.. total ci.n~7
  111rha~es :1and ii\ clinic.u.1                    pcitient.5wern tnw:ted F1rithCiPl10D[X3JOtic. This                        CiPRllDFX(;i')
                                                                                                                                           Otic i~ .1n;;ntihintif/<;tQrnirl
                                                                                                                                                                        •·nmhin;;tinn rrnri11r·tin ,.i ~tRrilP.,;;11spQn.,;;inn
                                                                                                                                                                                                                            ,,~P.rltn trP.~t:
  included400patients with.;cute otitis media with tympanostomytubes and 537pi.itiantswith acute                              • Middle Ear Infection with Drainage Through a Tube in Children 6 months
  otitis externa. The reported treatrrientRrelatedadverse events are listed befov11:                                            and older: A middleear in"ectionis a bacterial Infectionbehind the eardrum.People with a tube in
                                                                                                                                the eardrum may notice drainage from the ear canal.
  Acute Otitis Media in 11!!.d.iM~etients                         with tvl'!!l!l!nostomy_tubes
  Thafollovvin!ltreatment-relatedadverseeventsoccurred in 0.5%or more of the 11a1"ients
                                                                                    v\/ith                                    • Outer Ear Canal Infection in Patients 6 months and older: An outer ear canal
  nonRintacttympanicmembranes.                                                                                                           also known as ··~w1mrner'sl::ar·.is a bact0n11lmtection ot the outer eJ.r canal. : he ear
                                                                                                                                1rT1oction,
                                                                                                                                can.aland the outer part of the ear may swefl,turn red, and be painful..Also.a fluiddischarge may
                                                        !',e1denco(N-:,~
                                       _)i.dv_e-rseEveri..__                                                                    :.ppA.1r in thR p;:irr.;;n;;;/
                                       Eord1scomfo."!          3.0%
                                                                                                                              Who should NOT use CIPRODEX@ Otic7
                                                                                                                              • Do not t.Sfr th1::;proauct rf ,:i'ic--1rg1c
                                                                                                                                                                         to ::.1;:rof,r,xar,i:1or to o!h&1                                     q111no\r:near:t\bto::cs
                                        [ur   f..~1:/t,!~,1t,,1
                                                             .t
                                        (residue)                      05%                                                    • Do neitu.<s8th1:;                        to dexarnethaso,w        c,rto                                        r:1ther:;t8ro1ds
                                                                                                                                                                            patients'J\1h,:,iarG-!ess                !IE.in6 mc<11ths0id
                                        lrritabd:ty                    n.s%
                                                                       11.5%
                                                                                                                              How often should CIPROOEX<i'J                    Otic be given?
                                                                                                                              CJPRODEX@      Otic e.ardrops shuud be given 2 times each day (about 11hours apart,for example,8AM
  ThP.fnllnwinq trn,;tmP.nt•rnlo1tP.rl                                                      n;,tiP.nt·tymnrmnstnmy
                                   ;;r1vAn:.P.P.VAnts\rlffffA nrir.h rnpnrtRr1 in ;i $,;inglR                                 ;;nrl q PM)in R,1r:hinfRORrlP.;:irnnlA~~thA rlnr.tnrh;;;sinstn1dP.rl nthHnrw'i'-A         \hP. hR<;tt'1mP.!-tnusP.thp
  tuba blockage; ear pruritus;tinnitus; oral moni/iasis;crying;diuine~s; and erythema.                                        ear drops are in the morningand at night. it is very importantto us~the ear drops for iiSlong as the
  Alil!U_Qtiti.Lh-t!!.m.!L                                                                                                    doctor has instructed. even if the symptoms improve. !f C1PROOEX@Otic                             ear rlroµsam not
   I he tolfowmgtreatment·related adverse events occurred in U.4%or morn otthe patients \M1thmtact                            u~ell \ur d~ lun~ rt:, Llti::Uut.:tu,l1a:, i11Mrui.;LeU,
                                                                                                                                                                                    llll:fi11[~1.;liu11maylt:!lU111.
  tympanic membranes.                                                                                                         What if a dose is missed?
                                                                                                                              if;; do:::cof C PP.OD
                                                                                                                                                 1EX".?Otic i~ mi~~cd,·1t:huu!d be given as :.oon.:;::po::::::iblc.if it i:, ;:ilmosttime for
                                         P..dversc
                                                 Event
                                                                                                                              the nextdose, skip the misseddose and go hack to the regular dus',ngschedule.Du not use a double
                                        Eurpr1.Jritvs
                                        [;Jr(./(t[,1(1:.,
                                                                                                                              dose unlessthe doctor has instructed you to do so. Irthe infectionis not iCTl)roved after one ·week,you
                                                                                                                              should consult your doctor. If you have t\Mo or mortJepisodes of drainage within six months, it is
                                                    oor
                                        Su::rnr,mposed
                                                                                                                              recommended you see your doctor for further evaluation.
                                        l~(f.fi~J;gri~.
                                        EarcorrgGs;:1or;                                                                      Wlurt t:1Gtivititt:ii :should ht= i:IVoidt~d whilt= u:ii;ing CIPRODEX@ Oti(;7
                                                                       0.4%
                                                                                                                              it is importi3ntthat the infected ear(si remain clean and dry. 'Nhen bathing,avoid getting the infected
                                                                                                                              ecirlsiwet Avoidswimminaunle:-;sthe doctor has in~tructedotherwise.
                                                                       0.4%
                                                                                                                              What are the posaible side effects of CIPRODEX® Otic 7
  ThetollowinQtreatment·relatedadverseeventswi:ffa each reported in a sin!llP.patient: ear discomfort;                        Duringthe testing of CIPHODtX@Otic for middleear infections,the most commonside effect relatBd
  decreasedhearing;and ear disorder {tingling).                                                                                            1) Ut1c·was Har d1scomrortthat occurrnd m up to 3 out ot 1DC
                                                                                                                              to Cil"HUUl:X<.i:                                                        patients. Uther commonside
  DOSAGE AND ADMINISTRATION                                                                                                   effects wero:ear pain: ear precipitate (res'1dua);irritability;t1ndabnorrr,alt.aste.Duringthe testing of
                                                                                                                              C!PROD£XG.   1 Otic for c.:,.rcanal infection~. the mo;,t corunon f.idc effect rcl.itccJtoClPRODEX®Otic
  CIPRODEX® OTIC SHOULD BE SHAKEN WELL IMMEDIATELY                                                                            was itching at the eJr that occurred in i tu 2 out of 100patients. Other commonside effects were: e~r
  BEFORE USE                                                                                                                  debris; t.J.ar
                                                                                                                                          in~ec-tion in the tre;:ted ear; ear congestion; earpain: and rash.
  C!PnOD[X@Otit contuin5:3mg (JOOO     ug/mU ciprofloxc1Gin   and·: ng/mL dexi1methc15one.
                                                                                                                              if any o~these side eftects persist. call the doctor,
  Acute Otitis Media in pediHtric pHtiento with tympanostomy tubes: The
  rncnmrmm,t,ulrlnc:;;gRr~imP.n fnr thP.trn;;tm~mtnf ;..-cutQotiti~ mmli;, in pP.rli:.trir:p;itiPnt~f;.;n~
                                                                                                         ~
                                                                                                                              \i an t11leryicreaction to CiPROD[X®Otic occurs, stop using the product and con~ct your doctor.
  monthsandolder) throughtympanostornytubes is:                                                                               DO NOT TAKE BY MOUTH
  Fourdrops {0.1.1.  ml. 0.42mQciprofloxacin,C.14mQdexamethasona) instiUadinto the affected ear !'.Nice                       If CiPROlJEX@        Otic is accidentallyswallowed ur overdoseoccurs, call the doctor immediately.This
  dailytor seven days. 1 he suspension should be warmed by holding the bottle in the hand for one or Wvo                      lll!:1llid11tli:-.a1Jd.ildlll1::1       d Jul;llJr\ µ1~bt.:1iµliu11.
                                                                                                                                                            Ullly 1111iU1                                                Du1,ut UMt tl1i:, 1rrta.lit:i111:1
                                                                                                                                                                                                u~e u11ly(1~ 1.Ji/11t.;lt1U.                            jr
  minute~to avoid dizziness,which may rnsult from the instillationof a cold suspension. The patient                           outdated.if you wish to learn more about C PRODEX@
                                                                                                                                                                               Otic, call your doctor or pharmacist
                                                                                                                                                                                            1




  ~hould liCJVlfiththe ;.rtoctod cJ.r up1.v~rd.Jnd then tho dro~ ::;houldbe in:tillm:I. The tr.:;,gu::.
                                                                                                    ::.houldthen              HOW SUPPLIED
  be pumped; tif'les by pushinginward to facilitate penetrationoi the dropsinto the middle ear.·:his                          ClPRODEX®    Dticis supplied as follows:7.5 ml fillin a
  positionshould be maintainedfor 60seconds.Repeat.if necessary,for the opposite ear.Discard                                  DROP-TAiNER@    system.The DROP-;A',NER@      systemconsists of a natural polyethylenebottle and
  unusedportion after therapyis completad.                                                                                    naturi:!plug,wnh a white polypropyleneclosurn. ·,amper evidence is provided·witha shrinkband
  Acute     Otitis Externs:        The recommended dosage rngimen for the treatment of acute otitis                           around the closure and neckarea of the packagR.
  UJtl~rnd 1~.Fur µa1j~11Ui (ay~ 6111u11lll~
                                           am.IuhJ~ii. fuur t.J1uµ~iO,:i+ rnl, U.i+2111ydµwi"lu~dL:ill,0. 14rny                i\:nci':('IR!i-Afi11-~?.
                                                                                                                                                     !.Ji ml fill
  dexamethasonei instilledinto tha dH'ectedear t\Nice dailytor seven days. \he suspensionshould be
            hv hnlrfinqthAhnttltt in thAh.-:inrl
  11v.-:lrmP.1f                               fnr nnP.nrttlilllmim1tRstn .:-1vniri
                                                                                 rli17inP.ss,whir:h fn.1VrAs;11lt             Storage:
  fromthe instillationat a cold suspension. The patient should lie with the affected ear upward, and then                     Store at controlled roomtemperature,15··C to 30· C
  the drops should be instilled.This positionshould be maintained for 6Dseconds to facilitate penetration                     {59·,F to 86' F).Avoid tree1.ing.Protectfrom light.
  ui ll1t:tUwµ::,i1ih, ll11:1                   ii 11t1Ltn~l'>dl
                           t:tarl:a11~I.Rt:1µ1:1cti,         y, fu1 U11:1
                                                                       uµµu:-.ittt1:1,11.
                                                                                       Di~i.;.::i1J
                                                                                                 u11uti1:1Jµotli1.t11ctihir                                G,.::Gn,OlG
                                                                                                                               U.S. i'\:tont No~. G,2!:!4,CD4;
  therapyis completed.                                                                                                        Licensadto Alcon, inc. by Bayer Scheriny PharmaAG.
   HOW SUPPLIID                                                                                                               Cl!'RODEXis a rnqisteredtrademarl<of BaverAG,
  C'iPRODEX®   iciproftoxacin0.3%and dexamethasone0.1%iSterile Otic Suspensionis suppliedas                                   licensedto Alcon, inc by BayerAG.
  follows:7.5ITILiillin a DRO/l-TAINER@ system. The DAOP·TAi  NER®system consists of a natural                                HxOnly
  polyethylenebottle and nab.ualplug, w1t.ha white polypropyleneclosure. :amµer eVldence1sprovided                            ©200J.2004,1C08,1009Alcon. inc.
  with a shrinkband around the closure and neck araa of tha packaye.

   NOC0065-8533-02.
                 7.5ml till
                                                                                                                               How should CIPRODEX® Ode b• given?
   Stonie,oa                                                                                                                   1. Wash hands     2. Warm & 1:hake bonle                                 3.
   Store at controlled roomtemperature, : 5" C to 3C              :c                                                                                                                                    .----''--
   159''F to 86'.A. Avoidireei,no. Protectirom lioht.
   Clinicul Studies:
   In a randomirnd,multicer(er,controlledclinicoltrial. CiPRODEX®Otic
                                                                    dosed2 timesper dayfor 7 days
   demonstratedcl1mcalcures in the per ~otncol analysis1n8b%at AUM\ patients comparedto /~% tor
   o~oxacinsolution,0.3%,dosed2 timesper dayfur iOdays. Amongculture,positivepatients,cliniColcures
   were 9C%for CiPRODEX~Oticco1'1paed to 79%for oflo)(.Jcin             solution.0 J%. Microbiofogic.;;l
                                                                                                      gr.;._dication
   ratP.sfur these patientsin the Sdmeclinicaltrialwere 91%for CIPAODEX®             Otic comparedtu 82%for                    rl1ep?.r:-.011gr.,:n9              H~timebcitrie(}f                      ThGWrsonrec<1,111na                            P~r:~111; ~im1Jlci  :111va   4-dw~s~
   ofloxacinsolution,0.3%.In 2 rnndomizedmulticenter,controlledclinicaltrials, C!PRODEX@           OticdosBd2                  CIPRODEX/.S.)
                                                                                                                                       Oneshould                  CIPROOEX            1r1th.r h11r1C
                                                                                                                                                                             1ii.'Ot1c.                 CIPRODD'.liJ
                                                                                                                                                                                                                 OrieshCl:.ii~                         t'1PflJDF.Xf1   Otic?'lt 1ot!;tt1!i
   tirnes per rkiytor t days demonsuaredclinicalcums in a,;;aoo \:.ltl.'lo    ot per protocolevaluableAUt                      ..,;rJ;,,1111,:.,l,1,1     w,t:,
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                                                                                                                                                                                                                                                                 f!(.I il11! •''r' c;;Li1ttl.,.;,tl,.
                                                                                                                               sonr,a;idwarc,r.                   war1nthea'JSOGn~·on.      r:en        ,nfeci'1d11aru/1                               sl1ou!ci11otIDu•;:1tl1<,>frny?.;5o·
   patients,respectively,comparedto 84%and 89%,respectively,+orotic suspensioncontainingneo1T1ycin                                                                shakai,v;i!.                                                                                                     1:,I,$.
                                                                                                                                                                                                                                                       tirn~tu, or ~lt'I'ot!1lJ:"
                                                                                                                                                                                                                                                                               ~o.11iij
   i").'V,%,           R i f!,000It I/ml, r1nrlh\irtmcnrtic:n~ i .!1%fnqnipnty.fHr,).
           pol\llTI\'1in                                                            Amongr.-11lh,r?.
                                                                                                 pnsitl\rqn;:;ti,mts
   chnicalcureswere 06%and92.%tor C!PRODEX®Otic       comparedto 84%and 89%.respectively,fur                                     BE SURE TO FOLLOW INSTRUCTIONS BELOW FOR THE PATIENT'S SPECIFIC EAR INFECTION_
   neo/poly/HC.Microbioloyicol
                             P.radicationrates for these patients in the saine clinicaltrialswere 86%and                        4. For Patients with l\lliddle Ezir                    !L For Patients with Outu Ear                                      6. Stey on sld'e
   9!% TorCIPRODEX@lnic  comparedto ~b%and 8b%,respectively,for neo/poly/HC.                                                    lnfl!ctian      with Tube!I.:                          Infection       ("Swimmu·a               Ear"J:
   References:
   I. Campo!illcharcl:-DM,MenkJr, rrico A, Chrnficidr,TeddrA, WardA. Ciprnf!oxacin:
                                                                                  A review:Jfits
                                        propertiesaridtllerspeuticuse.Drug!i19Be;35:.373-44"/.
   antil:acter(a\activity,pbarmacokinetii::
   "/_I OPW 0. Sdu1cJ.:ir0, ;rnrfr.r.:iulF rJn,;;R-rl.:ipP.nrl.:int
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   Licensedto Alcon. inc_by Bayer ScheringPharmaAG.                                                                              Wh1·eth;;,pe~o,1 rnc1:1v111g     C!PRODt,1(1:1)Wl1,icnhen&~or.tt!CftiY,ng the d~O/lS.                               The.,Ofi~c.r1Yiio r&ce,ved
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   CiPRODEX    is a registeredtrademarkot BayerAG,                                                                               Ot;c1:ec; c.r:h·sAwr.s-!de,  tho ::ie~Gi,          ii.is on 11,s/hG-rs:de,tl1;;,pGrs:or,  g1v:ng                    &Grdropsahoi.;id~& 11:;1r:on  1


   licensed to Alcon, !nc by BayerAG.                                                                                            ~r,;,,n~1118drt.J):.:.hol;:d ~&r,tiyp,-;:,.:.st1os 1h:::drvp:. ..:l1ouidgc-111:yp1..::th:: :,iJ~(lr                           ~de.fer ~t1:,:.i:.1: t~
                                                                                                                                                                                                                                                     11::./l'.C!I'
   Rx Only                                                                                                                       tragus:(s:ead1agr-.;mj    5tomGs1:1a               &flrloheupwardandll8ck11,r::ir-c!.       !h:.                    SE!CQ!,[IS:
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   rel70f11./!104,?Oflfl,/Om; Aknn. inc.                                                                                         to p.sss mrc,ugh•.h<ci!~bi; ,n thc-0arcl~u111         ::trfthr.1P>P.rc:r.r.r.l
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                                                                                                                                                                                                                                                     c-~rrfbv:i': :cur:;:.rr: ,11fccrcd
   Revisiondate: 17July 1003                                                                                                     r111d:~t::ithemidd!&ear.

   PATIENT INFORMATION
   C!PRODEX®
           (Ci-PHO-DEX)
                0.3%t1nddexamethasone o.1%j
   lciprofloxacin
   Sterile Otic ~u~pr.n~ion                                                                                                    ~'.1201
                                                                                                                                     0 Alean. In:::.                  3/1 0                CDX105DOPI                                                            Alcon
Case: 1:16-cv-04539 Document #: 40 Filed: 11/21/16 Page 32 of 41 PageID #:307




                 EXHIBIT D
                       Case: 1:16-cv-04539 Document #: 40 Filed: 11/21/16 Page 33 of 41 PageID #:308
11-19-2015                   18:49                      BROADCAST
                                                                LIST                                               To: 46146 C1414) From:                                                             CCiprodexNonCa!ledOn)                                   D 1/4



             To: Agnes                         Emerle
              Fax#: (847) 390-0001                                                                                                                                                                  From: Alcon
              Date:November 19, 2015                                                                                                                                                                Pages: 4
   ~-------···-------·-·-···------------·---·--------------···-··-··----··-·------··-··-----·-··-··-----·······-··-······---·-··---·--·--------·--···-··-·-········--···-·-······-·······-··-··--·····-·-                                                          ·--------\[

   ~~-         Re:_Fax
                    Backto Request        OUc
                                FreeCIPJODEX®Samples_                                                                                                                                                                                                                __)

                Dear Dr. Emerle,


               DISCOVER
                    ...
              CIPRODEX®
                     (ciprofloxacin
                                 0.3%and
              dexamethasone
                         0.1%) SterileOticSuspension
                        • OP.monstrntP.rl
                                     Pffir.;ir.y
                                              for hothAOE;inrlAOMT
                                                                 infP.r.tions                                                                                                                                                 ,,.,,,__  r1nD-';,._ , ,,",,·=···:,,,~~
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                          causedbysusceptible isolates;*                                                                                                                                                                      ,

                        • The#1prescribedoticantibioticdropamongotolaryngo/ogists                                                                                                                                                         O.J%
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                                                                                                                                                                                                                                                tlmnrntnasone
                                                                                                                                                                                                                                  (r,1~rafloxar,m       ~.1%)
                                        since20072
                          andpediatricians                                                                                                                                                                                        STERILE     OTIC SUSPENSION

                        • Recommend DROPS101.com
                                              toyourpatientsfor savingsinformation/
                          education
                                  onAOEandAOMT,
                                             andfun games                                                                                                                                                                             REQUEST
                                                                                                                                                                                                                                          SAMPLESt
  *INDICATIONS
           AND  USAGE                                                                                                                                                    Precautions:
   C/PRODEX®             forthetreatment
          oticis indicated            of infections
                                                  caused
                                                       by        Useofthisproductmayresultin overgro1\1h of non-susceptible
                                                                                                                         organisms,
   susceptibleiso!Jtes
                     ofthedesignatedrnicroorgJnisms
                                                 in thespecific  including
                                                                         yeastandfungi.If theinfectionis notimproved afteroneweek
   conditions
            listedbelow:AcuteOtitis
                                  Media (ADM)in pediatric
                                                        patients oftreatment,
                                                                            cultures
                                                                                   shouldbeobtained  to guidefurthertreatment.
   (age6 months andolder)withtympanostomy tubesdueto Staphylococcus
                                                                 Thesystemicadministrationofquinolones, includingciprofloxacin
                                                                                                                            at
    aureus,Streptococcus
                      pneumoniJe,
                               ilaemophilus
                                          influenzae,
                                                   Moraxef!a dosesmuchhigherthangivenorabsorbed
                                                                                              bytheoticroute,hasledto
    catarrhalis,
               andPseudomonas      aeruginosa. Acute Otitis
                                                          Externa (AOE) lesionsorerosions      ofthecartilagein weight-bearing  jointsandother
    inpediatric(age6 months    andolder),  adultandelderlypatientsdueto signsof arthropathy       in immature animalsof variousspecies.
    Staphylococcus  aurcusandPscudomonas      acruginosa.
                                                                            Adverse  Reactions:
    Dosage  andAdministration:                                              Themostcommonly       reportedtreatrnent-rel<1led
                                                                                                                            <1dverse       in
                                                                                                                                   reactions
    Therecommended     dosage is fourdropsof CIPRO DEX® Oticsuspension AOMpatients        withtympanostomy     tubes,eardiscomfort (30%),earpain
    intotheaffected  eartwicedailytorsevendays.                             (2.3%),earresidue    (0.5%),irritability(0.5%)andtasteperversion
                                                                                                                                           (0.5%).
    IMPORTANT  SAFETY   INFORMATION                                         The most  commonly    reportedtreatment-related adversereaclions
                                                                                                                                           in
                                                                            clinicaltrialsin ADEpatients:earpruritus(15%),eardebris(0 6%),
    Contraindications:                                                      superimposed   earinfection(0.6%),earcongestion    (0.4%),earpain
    CIPRO DEX® oticis contraindicated  in patientswitha historyof           (0.4%)<1nd  erytherna  (0.4%).
    hypersensitivityto ciprofloxacin,
                                    to otherquinolones,orto anyof the
    components  in thismedication.  Useatthis productis contraindicatedin Foradditional    information  aboutCIPRODEX®     Otic,
                                                                                                                               pleasereferlothe
    viralinfections oftheexternal  canalincludingherpes simplex infections. accompanying    full prescribing information.
    Warnings:
    FOR TOPICAL  OTIGUSE  ONLY; NOT FORINJECTION. Thisproductis not    'T'1isctf,ris 110tvai\d1oroa:!e,tswhoareenra!!ed   inMedicare  Par D.Medicaid,  Medigap. VA
                                                                        nooTric;irF.rir~!lYr,t11N gcw~rnm~nr~run  nrg:wRrnmP,rrt-s1-:nns~rr:rl
                                                                                                                                          hP.aith      rrngrami1ir!tl1
                                                                                                                                                  r:r1r~
    approved forophthalmic use.CIPRODEX® Oticshouldbediscontinued  at a pharmacy     benefit.
                                                                                            Additionaleligibilitytermsandconditions  apply,S8l OROPS!Ol.ccrn
    thefirstappearance of a skinrashoranyothersignof hypersensitivity ~ A:i requestsarcsub;ectto Aiconreviewanda~pr:iva!.
    Seriousandoccasionally  fatalhypersensitivity
                                              (anaphylactic)reactions.
                                                                       References,  1.r.',PROnFX"  O+:,P;ir.k"gci11srrt2_!MShr;i,~h.iMSNotion;iiPri<r.rir.t!nn
    somefollowing thefirstdose,havebeenreported in patientsreceiving ,~udiF".January    ?C07-May   201:i
    systRmic quinolones                                                C\Pf/C'DL'\s a registered trJdcmarkof [lJycri1tc:icctlluiPrn~:rtyGmbll, ic::~scdto .Aico1                            1


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                                                                                                                                                                          DyBayer                 GrnbH.



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                                fromcurdataoase,               number
                                                                   1-888-681-:it'.,?.                                                                                                                                                                    Alcon
     enterdo·c
             ume         7C02/Ia~dtoIiowtheironrn1s.
                n; n;Jrnber                       erlax1-866-218-5116.                                                                                                                                      © 2015f,ovartis       Dlilo   COXloOi/fX-C   a Novartis cctnp<my
11-19-2015Case:
           18:491:16-cv-04539
                   BROADCAST  Document
                             LIST      #: 40 (1414)
                                  To: 46146  Filed: 11/21/16 Page 34 of 41 PageID #:309 D 2/4
                                                     From: CCiprodexNonCalledOn)


          Alcon Laboratories, Inc
          6201 South Freeway, Fort Worth, TX 76134-209~1
                                                                                                          Alcon
          www.alcon.co rn




                *Requests are subject to approval by Alcon. Submit only one request form per facility.
    ACCT#
    FACILITY NAME
                                                                                                  201501258204
    DOCTOR'S NAME Agnes Emerle
    ADDRESS 800 Biesterfield Rd
    CITY ST ZIP Elk Grove Vig, IL 60007

     State License # --------~                       Phone # _____          Fax# ______               _


                    NDC#                                   PRODUCT NAME                                     QTY
                                     CIPRODEX® (CIPROFLOXACIN 0.3% and DEXAMETHASONE
                 0065-8533-03        0.1 %) Sterile Otic Suspension, 1.5 ml                                  2



                                           SHIPMENT INFORMATION
     Please send a one-time shipment.

     You must check the box below to be eligible to receive samples
     D   I confirm that:

     •   I am authorized by federal and state law to prescribe these medications;
     •   I understand that samples must not be sold, bartered or billed to any patient, payer or third party; and
     •   I routinely prescribe the products I am requesting in accordance with the FDA-approved indications.


     Healthcare Provider's Signature: ___________________________                                                              _
                                               (No stamps or duplications)
     Medical Designation: _______________________                                                   Date: _____            _

     Collaborative Agreement Required: YES or NO (please circle)
     If yes, collaborating physician's name: _________________________                                                         _
     State License# ________________________________                                                                     _

     FDA Requirements: The recipient of Rx sample shipments must sign and return an acknowledgement of receipt
     and confirmation of contents as indicated on the packing list of each shipment.

                 Fax# 1-855-815-9289                                          Phone# 1-800-451-3937

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                                                                                                            a Novartis rnmpany
                     Case: 1:16-cv-04539 Document #: 40 Filed: 11/21/16 Page 35 of 41 PageID #:310
11-19-2015            18:49   BROADCASTLIST To: 46146 (1414) From: CCiprodexNonCalledOn)           D 3/4

                                                                                                                                              ~.osigns of for.alirritationwere foundwhen GIPRODfX®            Oticwas appliedtopicaUyin the rabbit eye.
                                                                                                                                              Information for Patients
                                                                                                                                              Forotic use only.(ThispnJLluctis nut aµpruvedfor use in the gye.J
                                        icin,n,,aCl·n
                                            0ilU,1
                                        ! 1µ1                J,w,mn'~'SOnn
                                                     11'JC/""~
                                                   11U.JIJOIIU
                                                             UG,1()         njc/l
                                                                I ulllO I u U.iJ!
                                                                                                                                              \f,/-;,rmth"l hnttlP.in ,;mir h;;nd fnr nnP.tn tv1mmin11t"ls
                                                                                                                                                                                                        prior tn 11,;:P.
                                                                                                                                                                                                                      nnrl sh:,kA 1r.,pllJmm~rli;;tAlyhi:ifnrn
                                                                                                                                              using.
                                        STERILE OTIC SUSPENSION                                                                               Avoidcontaminatingthe tip with materialfrom the ear, fingers, or other sources.
  DESCRIPTION
                                                                                                                                              Protect tromlight.
                                                                                                                                              It rash or allergic reaction occurs, discontinu~use immediatelyand contact your physician.
  CiPROD  EX@(ciprotloxacin0.3%ar,J dexamethasone0.1%) SterileOticSuspensioncontainsthe                                                       It is VfHYimpnrt;;nt tn 11,;:P.        drops for'"" long ;:;sthP. ,for.tor hns in,;:tn1ctP.d.even if thf!
                                                                                                                                                                           thP. P...-ir
  syntheticbroad~spectrum antibacterialagent.ciprofloxacinhydruchlonde,combinedwith the
                                                                                                                                              symptoms improve.
  t1nti·intlamr1atory
                   corticosteroid,dexamethasone,in a sterile. preservedsuspensionfor utic use. Each
  rnl nf f:IPROOFX(.i)
                    Otir.cnnt;;im: r.if!rnilnx..ir:inhyrirnr:hlnrirlP.IAfllliv;.;IP.nt
                                                                                     tn?,                ~I]   r:iprnflnx;.ir.inhiisA), 1     Discardunused portionafter therapy is c-ompleted.
  mg daxam®ason!\ and a. mgbemalkoniumchlorideas a preservative.The inactiveingredientsare
                                    1                                                                                                         Acute Otitia Media in pediatric petients with tympanostomy tubes >1riorto
  boric acid, sodiumchloride,hydroxyethylcellulose,tyloxapol.acetic acid. sodiumacetate, edetate                                              ndministratio11 uf C PRODCX@      Otic in patients \Gmonths and oldgri with ac..uteutibs mediathrough
               t1t1tlµurifiet.l r,,alt::r, SuUiuwhyllruxh..it=
  Lli::iut.liu1r1.                                                            ai.;it.JlfldY I.HJdt.h.ltnlfui aLlju~U!11dt1l
                                                            u, l1y1..hud1lurit.:                                        ul µH.                tympanostomytubes, the suspension should be warmed by·holdingthe bottle 1nthe handfor one or tvo/o
  CiprofloX2cin, a tluoroquinoloneis availableas the munohydrochloridemonohvdratesalt ui                                                      minutesto c.1void dizzinesswhich may result trom the instillationof d cold suspension.The.patient
  1 ·cyc/opropyf·S {luoro- i /I ·dihydro ~ · oxo·7··fi pipcr:-iziffyi)·                   acid. :he nmpiricol
                                                                    J quinolinec.:.rl:Joxylic                                                                 th1-1
                                                                                                                                              shmdrl liR\i11ith                            ;;nd thi:mthP. rlrnns,;;;hnulrl
                                                                                                                                                                             R;;;r11ni.v.1rrl.
                                                                                                                                                                  ::1ffP.r:tPrl                                         hP.in~tillP.rlThAtri<[]US
                                                                                                                                                                                                                                                ~hn11lrt
                                                                                                                                                                                                                                                     thf'-n
  formulais CHHi8FN303-HCI         H20and the structural forrrula is:                                                                         be pumped 5 times by pushing inwarJ to facilitate penetration ut the drops intothe middl8ear. !his
                                                               a                                                                              positionshould be maintainedfor 60 seconds. Repe.::.t,if necessary, for the oppositeear (see
                                                     '',,0
                                                       '\.\. J
                                                                     CCGH
                                                                                                                                              DOSAGE AND ADMINISTRATION).
                                                                                                                                              Acute Otitis Externa
                                                 ('. ~
                                                ><,, f        L' '""'    ,H;w
                                                                                                                                              Priur lu a.1.hrri11islrrtliu11
                                                                                                                                                                          uf C/PRODEX\~ Olit.:i11µt.1lie11l::;
                                                                                                                                                                                                           wil11rtL:Ult!ulili~ ti.x.ltir11a,
                                                                                                                                                                                                                                          ll1ti :,u~µld11~iw1
                                                                                                                                                                                                                                                            ::.ltuult.l
                                                                                                                                                          by holdingthe bottle.in tho hand for one or t~·,mminutesto avoiddizzinessvvhichmay rnsult
                                                                                                                                              be ;_;v,3rmed
  Dexamethasone,g.fluoro,.\ 1fbetai,\ 7,2 -tr'1hydroxy-
                                                     IG(alphaJ.methylpregna-
                                                     1
                                                     ,                                          is .in
                                                                           ·:,4-diene-.3,20-dione,                                            frnn thR instill;itinn nf al r:nld ~11spP.n:-;inn.ihR n,,tiRnt :,;hnnlrl
                                                                                                                                                                                                                    liRwith thP. ;,!+P.ctP.,-f
                                                                                                                                                                                                                                            P.,1r11p1Nrmt,.inrt thirn
  nnti-inflammatorycorticosteroid.~·heempiricalformula is C22H29F05  andthe structural formulais:                                             the drops should be instilled. This position should be maintainedfor 60 seconds to facilitate penetration
                                                                   CH,    I)                                                                  of the dmps intothe ear canal. Hepeat.it necessary, lor the oppositeea, !see DOSAGE AND
                                                                                                                                              ADMINISTRATION).
                                                                                                                                              Drug Interactions
                                                                                                                                              Sµt1l.i:iL; uy i11ltHai..:liu11~lutlit;:'.:-,l1t1Vt;:'.
                                                                                                                                                       t..11                                                                 wit/1 C1PHOOEX<~
                                                                                                                                                                                                 11ul(Jt;:'.t;:'.111..u11Jui.;t~t..l       Otit.;.
                                           {)                                                                                                 Carcinogenesis,            Mutagenesis,          Impairment
                                                                                                                                              or Fertility
   CLINICAL PHARMACOLOGY                                                                                                                      Long-termcarcinogenicitystudies in mice .ind rats have been completed tor ciprofloxacin.After daily
   Phannacokinetics:                a sinolabilateral4-drop(totaldose" 0.28ml. O.B4mqciorofloxadn.0.18
                           Follov~flQ                                                                                                                       ni 7~rimg/kf] (f'lir:P.),rnrl/fii) mo/kf]iro1tsl\NP.rR;;rlministP.rP.rl
                                                                                                                                              nr;,I r1n!'iP.S                                                                   fnrnp tn? yP.iffS thP.rnw;;s nn
   mgdexamethasone)   topicaloticdose of CiPROOEX8l  Oticto pediatricpatientsaftertympanostomy
                                                                                             tube                                             evidence that ciprofloxacinhad any carcinogP.nicor tumorigeniceffects inthese species. r~o                long term
   insertion,me.isurableplasmaconcentrationsot cipmfloxacinand dexomethasone11,rere  observedat Ghours                                        studies uf Cl?RODEX®      Otic have been performedto evaluate carcinogenic potentfa.l.
   fullv1Nit1y                i112ul31Jdlit111lti <.1t1J[i uf S 1Jdlio-i1l::,,
             aJ1r~11i:-.llaliU11                                            H1.::µt:\.lh,o-ly.
                                                                                                                                              Eiyht in virromutagenicitytests have been conducted with ciprofloxac.:in.
                                                                                                                                                                                                                     and the test results are listed
   MP.an:!::SOJ)8akph:smt,corwertrationsof ciprofloxacinli'i.lere!.39 ± 0.880ng/mL{n:::9).Peak plasma                                         below:
   concentra.tiom:rc:ngedfromJ 5"3ng!ml to 3"'5ng/mLand wern on aver.age...ppro.iimatglvC 1%of pe.;;k
   plasmaconcentrations,achieved\Mithan oral dose of 250-mg1·I. Peak plasma concentrationsof
                                                                                  1
                                                                                                                                              Satmonel!a!Microsome  !est(~egative)
   ciprofloxacinwern observedwithin15minutesto 2 hours postdose application.                                                                  E.r.0/1DNARepi1irAssay {Negative)
   Mec1rt± SO peak plasma cuncentrations oi dexamethaso11ewme 1.14± 1.f:4ny/mL(n::::9j.Peak                                                   Muw,HLymµliutr1d Ct11!
                                                                                                                                                                   Fu1w,mJMult.1liu11
   plasma concentrations ranged from 0."',35ng!ml to 5."!0ngfmLlind mrereon average apnroximately·14%                                         Assay [Positive)
   of peak concentrations reported in the literc:.ture-follot.!iringun orJ.I 0.S-mgtJ.bletdo~ef<".   r1eakpl;;;~mu                            Chinese Hamster V7qCellHGiJRTTest f~Jeuativei
   concentrations uf ctex.amethasone   ;Mereobserved Hrithin·15minutes to 2 hours DOStdose application.                                       Syrian'!"lamsterEmbr10CellTransformation
                                                                                                                                              Assay [~egative)
   11~\{nrnP.l"h;;o;:nnA
                    h;i,;:hA"?n<1rlrl"10tn
                                       ;,jrlin fhArq<;fl~ltionn~fhp inflnmm;:;tnr,/           ;:;r·i:nmp,;in\~n!J
                                                                                   rf'.<::pnnc:p
                                                                                                                                              Sd(,(../,diU1hVi..'&;, (..[:1: t:N1,">idtil ui11lrJ:utaliu11
                                                                                                                                                                                1

   bacterialirrfection!suchas otorrheain pediatricpatients1rYith     AOMvvithtympanostomytubes).                                              Assay ir~egative)
   Microbiology: Cirirufloxacllhas in •1:troactr./itvaqainst a v-Jideranqe of qram-positiveand                                                Saccharomvcescernv:s,aeMitoticCrossover and Gene ConversionAssav (Neaative)
   gram-negijtivemic-morganisms.The bac-tericidalaction of r.iproffoxacinre~ultsfrom intederHncewith                                          Rat HepatocyteD~JARepdirAssav (rJositive)
   the 011zyme. DNA gyrase,v~ich is nsecJatJfor the syl1thesisof bacterial DNA. Cross·resistance hcis                                                                                                         3 in v;votost systems gave negabve
                                                                                                                                              Thus, 2 of the 8 tests were positive,but results of the follm_1ving
   boon ub;;orvod bGtwocn cipmflox.J.cin.:indother fluoroquinolono;:,.There i;:.gcnorJll·r no                                                 ltl'~Ull.::.
   cross-resi~t1mce bP.tWtten
                            ciprofloxacinand uther clas~~ of antibacterial dyents su<.has beti1·lact.::i.ms                                   Rat 'iepatocyte DNARepairAssay
   or amino1:1lvcosides.                                                                                                                      Mic-ronuclaus-rest{Micol
   Ciprotloxacinhas been shO\Nnto be active against most isolates of the follov~~ng
                                                                                  microorganisms,both //1                                     DoninantLathal"est Wice)
   vitroand clinicallyin oticiniectionsas described'in the INDICATIONS AND USAGE section.                                                     Fertilitystudies performedin rats at oral doses of ciprofloxacinup to 120rnQ/kQ/rJavrevealed no
   Aerobic and facultative gram-positive microorganisms                                                                                       evidence ot impairment.This would be ovor 100times the maximumrocommendedclinicaldose of
   St:1phy!acoccus  i'lUreus                                                                                                                  ototopicalciprotloxacinbased upon bodysurface area. assurningtotal absorption of ciproflox.acinfrom
   Streptococcus      pno:..,manf;:::;                                                                                                        the oor of,:; pu.ticnttruatad vvithCiPnOD[X@Otict~vicc pur dv11Jccording to l.:.bcldirection::..
   Aerobic and fecuhative                   gram--negative microorganisms                                                                      Long term stud'iei;have not been performedto evaluate the carcinogenic.potentialof topical otic
   l-hPmnnhi/11, infl11Arl/nH
                                                                                                                                               J1:1xu1118IJ1C1<1u11t:1.
                                                                                                                                                                0t:"Au111t:'ll1u::iu11tl'          h:::-..lo-JIur iu v."l!udiiJ in v!vu Hl::\lluluAi1.,
                                                                                                                                                                                     Ire.::.Li:::c:11                                              µule-utiul ulH..l:,l1ut1:u
   Moraxel/a c,,wrhalis                                                                                                                       to be positiveIn the follov,tingass,3ys;chromosomalaberrations, sister-chronatid exchangein human
   Pseudomonas        aerugmosa                                                                                                               lymphocytesand micronucleiand sister-chromatid exchange~ in mouse bone marrow. ~m1Vever,         the
   INDICATIONS AND USAGE                                                                                                                      Ames/SalmonHIJa    assay, both with and without S9 mix.did not show any increase in His-:-revertants.
   C:;JRQDEX@      Oticis inr:licatodfor the tr8.Jtmentofinfectionscaused IJy-suscepbble isolates of the
   da::ignatudmicroorg..:ni:.mzin tho tpccific conditions li:.tcdbclmr,1:                                                                      The effect of cJex.amethasone  onfertilityhas not been investiQated+ollmAfinQ    toJjcal otic application.
                                                                                                                                               Hov1.1ever,            toxicdose of dexarnethasoneidentified rollmiiiringtopical
                                                                                                                                                           the IEl'I.NBst                                                         dennal applicationwas
   Acute Otitis Media in pediatric patients {aga 6 months and older)Viith tympanostomytubes due                                                1.802mg/kgin a 26-li'.teekstudy in male rats and rnsuled in changes to the testes, epididymis,sperm duct,
   tn .c;rnphylnr.nr.r:11s ~11rn:1s. 8trPr,f"nr.nr,r.11:.; f10R11mnni~R, H::u~mnphll11s mfl11RnnP., Mnr;;i:n:1fl,"lr.;.,t;.,rrh;,/is,                     :;cminalvetdtlo, Cmi1tpcr'::.
                                                                                                                                               pm::.t.::itc,                         gl;;,nd.:..nd;:;,cc.o~wry~,rnd::..:"herclcv.1ncco~thi~,~tudyfur ;:;hart
   ?.ndPseudomunasaeruginosa.                                                                                                                  term tupicalutit:use is unknmtVn.
   Acute Otitis Externa in pediatric (age 6 months and older!. adult and elderly patients due to
                                                                                                                                               P1"09nam:.y
   Staphy;or.occusaureusand Pseudomonasaerugmosa.
                                                                                                                                               Teratogenic Effects. Pregnancy Category C:
   CONTRAINDICATIONS                                                                                                                           Reproductionstudies have been performed in rdts and mice using oral doses of up to :OCng/kg and ;v
   c:0 ROOEXGOlii.; i:-.1.;unlJc1i111..lil;alta.l
                                              i11µrtli~11U.wil/1 a lii.::lury ui        hyµur~1-:n::.it.ivily
                                                                                                          lu 1.;iµrurluxat.;i11,lu             doses upto 30 mg/kg andhave revealed no evidence of harmto the fetus as c result of ciprofloxacin. in
   other quinolone~. or to any of the components in this medication. Use of this product is contraindicated                                    rabbits, ciprofloxacin !30and ·100mg/kg orally)produced gastrointestinaI disturbancesresultingin
   in viral intectionsof the external canal includinQherpes simplexinfections.                                                                                                               incidence ol ;,bortion, but no tur.:.itogcnicityl!~·.::ir;ob:.r:r·..-cd
                                                                                                                                               mQt1Jrn.::il v~·cightlo::;~v.ndan lncrc.J.::;od                                                                     .:it
   WARNINGS                                                                                                                                    eithm dose. After intravenous administrationof doses up to 2Dmg/kg,no maternal toxicitywas
   FOR OTIC USE ONLY                                                                                                                           produced in the rabbit. and no embryotoxicityor teratogenicity was observed,
   ( I his productis not approved rnr ophthalmic use.I
                                                                                                                                               Corticosteroidsare generally teratogenic in laboratory animals when administeredsystemlcallyat
   NOT FOR INJECTION                                                                                                                           relativelylo1;vdosage levels.The more potent corticosteroids havebeen shown to be teratogenic after
   e:f-1 HUUt"X(ii>uoc should be discontinued at the ilrst appearance at a skm rash or any other sign 01                                       dermal applicationin laboratory animals.
   hyµersensifr>Jity.  Seriousand occasionallyfatal hypersensitivityianaphylactic) reactions, some
   folluv,iny the fir~t dusc, h.:i.ve
                                    bucn re.µortcdin paticflt~rcc::eiviny~v~tcr1'il·quinolrme~. Sc1iuuf; ~cute                                                     studies have not been conducted with C:PRODEX@Otic.
                                                                                                                                               Animal reprnduc.:tion                                               No adeQucteand well
   hypersensitivityreactions may require immediateemergmcy treatment.                                                                          controlledstudies have been performed in pregnantifYomen.
                                                                                                                                                                                                      Cautionshould be ex.p,rcisedwhen
                                                                                                                                               CiPRODEX®    Otic is used by a pregnant woman.
   PRECAUTIONS
   General: As wJh other antibacterialpreparations,use of this product mayresult in overgrmivthof                                              Nursing Mothers:
   nonsusceptihlr,organisms,includingyeast and fungi.if the infectionis not improvedafter one v1mekof                                          Cipra"!ox.acin  and corticosteroidsas d class, appear in milkfollm.,i...iing
                                                                                                                                                                                                                          oral adminislJation.Dexamethasone
              l.ullu1t:.::~J1uult.lLit:ulllcii1rm.llu uuiJt! ru1llit:1 llt:1al11tt11l.I\ vtu1dtt:<:1µldr::i·1~l~
   LI~.::1lmtml,                                                                                               a!le, ,.,.lull L-urn;-,t:ul     in brc,,:;t milkcould zuppro:;:; Qrov..th, interfere'.-\~thendogenous cortico~tcroid production, or cciuso other
   therapy,orit tlMuor moreepisodes of oturrhe..1occur v-llithin             six months,further evaluationis                                   untu-wardeffects. it is not knov..n1irvhethertopical otic administrationof ciproflox.acin or dex.arnethasane
   recommended    to exclu()3an under1vinoconditionsuch as cholesteatoma, tureir:mbody,or a tumor.                                             c-ouldrnsultin sufficientsyster1icabsorptionto produce detectable QUantitiesin humanmilk. Because of
   The systemic administrationof quinolones,includingciprotluxacin at doses much higher than given ur                                          the potentialfor unwantedeffectsin nursinginfants,a decisionshotAdbe madewhether to discontinue
   absorbed by the otic route, has lud to lesions or erosions of the cartilage in weight-bearing joints and                                    nursingor to discontinuethe drug,takingintoaccountthe importanceof the ri'ugta the mother.
   other signs at arthropathy in immatureanimals otvi3rious species.                                                                           Pediatric Use:
   Guineapigsdosed in the middleear with CiPRODEX®         Oticfor one monthexhibitedno drug-related                                           The safetyand efficacy of ClPRODEX(.:9    Otic have been Rstablished in ~.it,tdiatric
                                                                                                                                                                                                                                   patients 6 nonths and
                                                ur
   ~l1udU1 al uf fw1diw1 ..d ..Jtdllt.4i:::::. l11t:~ud1li:::a1 hair     i.;~1/:-, a1n.J IIU lt:::iiuut:.i11l11t:u.:::-.id~t:..   c;rnoo[X@    older {:'.!37
                                                                                                                                                          pJ.ticnt:) in J.dm:;uotc:.:ndwell-controlledclinical trivl:. /\!thoughno data J.rc JVJ.itJ.blcon
   Oticwas also shown to lack dermal sensitizingpotential in the guinea pig when tested according to the                                       patients less than age 6 months.thP.reare no known saftltyconcerns or diferences in the disease
   nethod of Buehler.                                                                                                                          process irrthis populationthat would preclude use of this product. [Sea DOSAGE AND
                                                                                                                                               ADMINISTRATION.I
                     Case: 1:16-cv-04539 Document #: 40 Filed: 11/21/16 Page 36 of 41 PageID #:311
11-19-2015            18:49   BROADCASTLIST To: 46146 (1414) From: CCiprodexNonCalledOn)           D 4/4

  No clinicallyrelevant changes in hgaringfunctionwere observed in 69 podiatricpatients (agfl4. to 12                                  IMPORTANT PATIENT INFORMATION ANO INSTRUCTIONS.
  yeur::.}trau.ted ,;,;ithC!:'ll0D[X8) Otic und te:;tad 'ior ;wdiomBtric parumeten:;.                                                  READ BErORE USE.
  ADVERSE REACTIONS                                                                                                                    What is CIPRODEX® Otic7
  In Pha::.es:i and iii clinicultricJls,u tott1Iuf ~:::7patients were trnuted ;MithCli'f100[X8) Otic. This                                          Otir:i!-:rn;:;ntihintif/c;t~rnirl•·nmhin;;tinn rrnrl11..tin ;.i ~t~rHPc::11spQno::inn
                                                                                                                                       CJPRilr)FXr.?J                                                                               11~~r1tn trn..it:
  included400 patients with acute ot'1tismedia with tympanostomytubes and 537patients with acute                                       • Middle Ear Infection with Drainage Through a Tube in Children 6 months
  otitis externa. The reported trnatr11:mt~retated     adverse events are listed belov,r.                                                and older: A middle ear infection is a bacterial infectionbehind thE!eardrum.Peoplewith a tubP.in
                                                                                                                                         the eardrum may notice drainage from the ear canal.
  Acute Otitis Medajn                11!!.diBtri__!LR.atients
                                                          with tYl!JR_lmostomy_
                                                                              tubes
  lhe followin~treatment-related adversa events occurrnd in 0.5%or more o" the patients v1ith                                          • Outer Ear Canal Infection in Patients 6 months and older: An outer ear c-arnil
  non·intact tympanic membranes.                                                                                                         1nloction,al:,;oknown as ·~tfl11mmer's    l::ar·,is a bacterial mtection ottha outer ear canal. I he ear
                                          r-----~----~
                                          ~.'.!verse Ev(:n!......._..,k',e1de~co
                                                                           rNo-.!tOO)
                                                                                                                                         canal and the outer part of the ear may swefl,turn red, and be painful, Also.a fluiddi!'ichargesnay
                                                                                                                                         ;;;ppA;,rin thA P,"lrr:;::;n;;;I.
                                          EDrd1scomfo!'t                 30%
                                                                                                                                       Who should NOT use CIPROOEX® Otic7
                                           Enr:->B1n
                                           [ur f)j (11'.,!).!llul.i:'
                                           (n;~1due)                     D5%
                                                                                                                                       :5~
                                                                                                                                         ~~~ ~~: ~.::                                c ~~ ~~~ii:~~~;~~;~~ ·~~r~:0r
                                                                                                                                                                   r.roCuct:f ,Jiic~!QI                   c,the,-:;tsro1ds
                                                                                                                                                                                                                                                          q1 1ndorie ar:t1b1ot:cs

                                                                                                                                                                                          les:,           th3n 6mc11th.::;
                                                                                                                                                                                                  JJt1ent:; vvhc!arc      0id
                                                                         ~.5%
                                                                                                                                       How often should CIPRODEX•iii Otic be given?
                                                                         D.:%
                                                                                                                                                Otic ear drops should be given 1 times each day !about 11hours apart, for exariple, 8AM
                                                                                                                                       CIPR0DEX'3l
  fhA fnllnwinl]trn,1tmP.nt-rnl;itP.ri
                                    ;;rlvMsAP.VAnts WArnfl;Jt.h rnpnrtP.r1in ;i :,:;inlJIR
                                                                                        r;iti?.nt·.tymr.::rmstnmy                      ;::;nrlq PM)in A;ir:hinfor:tP.r!p;ir 11n!P.S!: thll dnr.tnr h;:;~in-;tn1r.tRrinthAnr,1is~ThRhR~ttimP!: tn IISFIthp
  tubf.lblockage; ear pruritus; tinnitus;oral moniliasis;crying;diuiness; dnd erythema.                                                ear drops am in the morning and at night. !tis very import.antto U5H the ear drops for as longas the
   l'.!ai.1!:_Ql.i!i.l..bl!l.rruL                                                                                                      doctor has instructed. even if the symptoms          improve. !f GiPROOEX®      Otic ear drops am not
                                  adverse events occurred in U.4%ur morn o~the patients v1nth1nt;:ict
   I he tollovvmgIJec:tment~related                                                                                                    UM~ll11Hu~ lllll!J ..:~ Lltl'lUu1.:lur                 Uu:fit1fl:!t..:liu11111ay
                                                                                                                                                                            l1a~ it1Mru1.:l!:HJ,                    1t:ilrn11.
   tympanicmembranes.                                                                                                                  What if a dose is missed7
                                                                                                                                       ii J do::;oof C·PP.0DEX'3)     Otic i::;mi::;~od,1t ~huuld be given J::; :;oon;:;::;po:;:.iblc. !fit i:; Jlmost time for
                                              Adve~scEv~nt
                                                                                                                                       the next dose, skip the misseddose and go back to the regular dosing schedule.Do not use a double
                                           EGrpn.nrus
                                                                                                                                       dose unlessthe doctor has instructed you to do so. :rthP.infectionis not ilT(Jrovedafter onevveek,you
                                                                         IJ.[)':'a
                                                                                                                                       should consult your doctor. if you have t\Mo or morn episodes of drainage withinsix months,it is
                                                                         D.e¼                                                          recommendedyou see your doctor for further evaluation.
                                                                                                                                       Wlurt 1n.tivitit5:i :slKJuld bf:!:uvoidl:'LI whih: u~ing CIPRODEX 1R.lOtic7
                                                                                                                                        it is importontthat the intected ear(t/1remain clean and drv. When bathing,avoid getting the infected
                                            Earpam                       DA%
                                                                                                                                       ec:rfsJwet Avoid swimminaunless the doctor has ·instructed other~·vise.
                                                                                                                                       What are the possible side effects of CIPRODEX® Otic 7
   Iha followinQtreatment-mlated adverse P.'vantswere each reported in a sinQlepatient ear discom-:'urt                                Duringthe testing of C!PRODtX@Otic            for middle ear infections, the most commonside eftect relat8d
   decreased hearinQ;and ear di::;order!tingJing).                                                                                     to i..::f-'KUUl:X(~)
                                                                                                                                                         Ut1cwas e2r d1scomtortthdtoccurrBdm up to 3 out o~',\JDpatients. Uther common side
   DOSAGE AND ADMINISTRATION                                                                                                           effects ·1111Bre:
                                                                                                                                                       ear pain: ear prt1cipitate{residue);irritability;and abnorrr1altaste. Duringthe testing of
                                                                                                                                       C1,PROOE)(G.  1 Otic tor CJr canal irrfcctim1~.the mo:.t common ~idc effect related to CiPRODEX'E'              Otic
   CIPRO DEX® OTIC SHOULD BE SHAKEN WELL IMMEDIATELY                                                                                   was itching ot the ear that occurred in 1 tu 2 out of 100patients. Other common side effectswern: ear
   BEFORE USE                                                                                                                          debris; tkir infection in the trnated ear; ear congestion; ear pain: and rash.
   C!!1 nODD<@Otic.contuins:Jmg (.'.::ODO  ug/ml) c.iprofloxacinJnd 1mg/ml dex.Jrnethtlsone.
                                                                                                                                       li any ofthese sicte8frects persist. call the doctor.
   Acute Otitis Media in pediatric patients with tympanostomy                                tubes: The
   n~r:nmmRnrlqr1 rlno;;;;gP        fnr thP.trA.:itmontnf .:in1t,::intiti!-rnP.di;;in rrnrli;;;trir:
                           rf?!]iITTQn                                                            p..itiPnt!-f;.g.:iq                   if an allergicreaction to Ci?RODEX®         Otic occurs, stop using the product and contact your doctor.
   months and older) throughtympanostomytubes is:                                                                                      DO NOT TAKE BY MOUTH
   Fourdrops (0,;,4ml. 0.42mi:icioroiloxacin, C.\4 mQdexamethasona) instilledinto the affected ear twice                                if CiPHOOt::X@  Otic1saccidentallysw·allorvedor overdose occurs, call th~ doctor immediately.This
   dailytor seven days. ihe suspension should be warmed by holdin~the bottle in the hand for one or t'ivu                                          b avoildl.Jlt: u1tlywill, d Ju1.:lur\ µr~~1.:1iµliu11,U::.Hu11lya~ Uirt:tt..LeU.
                                                                                                                                       n11;11Jid11tt                                                                             Du 11ulu~!:!tl1i:i 1r1t:it.liL.i1n:1
                                                                                                                                                                                                                                                                 if
                                                                                                                                       outdated. if you wish to learn moreabout C.PRODEX@              Otic,call your doctor or pharmacist.
                                                from the instillationof a cold suspension. The patient
   minutes to avoid dizzines~.which may 11:t:::ult
   ~houldlie Hriththe ~rtcctcd c::1rupNJrd, and then the drop;. z.hou!dbe in::;tillml-he tr::1gu::;
                                             1
                                                                                                 :;houldthen                            HOW SUPPLIED
   be pumped5 tirriesby pushinginward to facilitatepenetration of the drops intothe middleear.'fhis                                    CiPRODEX®       Otic is suµplied as fullov1~:7.5 ml fill in .i
   positionshould be maintainedfor GOseconds. Repeat.if m~cessary,for the opposite ear. Discard                                        DROP-T.i\iNER@   system.The DROP·:Al NER@system consists of a natural polyethylenebottle.and
   unused portion after therapy is completed.                                                                                          natural plug,with a !flth1tg
                                                                                                                                                                 po/yprop~deneclosurn. , amper evidence 1sprovidedwith a shrinkband
   Acute Otitis Externa: The recommended dosage regimen for the treatment of acute otiti:,;                                            around the closure and neck area of the packagP..
   uxlttr11d1~.Fur µalJtn1lb"{a!,j~Cnu11ll1~a11Uuh.Jeri. Fuur LJ1uµ:-t               iO..!<+111L,
                                                                                                0.<+2my t..aµ1ullu~a1.;111.
                                                                                                                         0.14111y
                                                                                                                                       ~iOCnaf;~-Rfi11-'.''.>,
                                                                                                                                                          J.'1ml fill
   dex.amethasone)instilled into the a!tected ear tvvicedailytor seven days. \he suspension should be
   w~rmP.fihv hnlr1in11   thR hnttlAin thP.h;mrlfnr nnP.nr t.ivnmimttP.s.tn ..ivnirlr1ininRss,•Nhkh rlily rns11Jt                       Storage:
   from the instillation of a cold suspension.The patient shouldlie with thHafl-ectedear upword,andthen                                 Store at controlled roam tBITlperature,15· C to 30 VC
   the drops should be instiled. This position should be mai11tained                      for 60 seconds to facilitate ptmetrotion      (59·,ctu 86" F).Avuid freezing. Protect irom light.
          Uruµ::.inlll lht:1t:l,i.f t;a11~t.R~µt:i:di,ii 11t:1t.;1:1~:-.d1y,ru,l11t1uµµu:-.itH!Ml. Di~i.;c11J
   ul l111:1                                                                                                u11u::itit.!
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                                                                                                                             dllt:11    IJ.8. fl.1tcnt No:-..G,Ln!.,D04;
                                                                                                                                                                      G,.Jun.01
                                                                                                                                                                             Q
   therapy is completed.                                                                                                                Licensedto Alcon, inc. by Bayer Schering Pharma AG.
   HOW SUPPLIED                                                                                                                         C1!'RODEX is a reQisteredtrademark of BaverAG,
   CiPRODEX®    (ciproftoxacin0.3%and dexamethasone0.1%iSterile Otic Suspensionis suppliedas                                            licensedto Alcon, inc by BayerAG.
   follov,1s:
           7.5fTILfillin <1DHOP--:-AiNER@ system. The DROP-TA  ,NEA®system consists ot a natural
                                                               1                                                                        RxOnly
   polyethylene bottlP.and natural plug.v111t.h
                                            a white polypropylene closure. :amper evidence 1sprovided                                  ©100J.1004,2009,2C09Alcon. inc.
   witha shrirt band aroundthe closure ;:rndneck area of the package.

   NOCOJ&.i-8533-02.
                 7.5ml till
                                                                                                                                        How should CIPRODEX~' Otlc ba given?
   Storay~:                                                                                                                             1.Wesh hands      2. Werm & alu1ke bottle                                      3. Add drop!il
   Store <itcontrolled room tm11peraturn,1, 5'· C to 3G; C
   159·,F to B6,.Fi. Avoid free1ino.Protect from liot,t.
   Clinical Studies:
   In a ra11domirnd     multicenter,controlled<finicaltrid. CiPRODEX®Oticdosed2 time, µer day for I days
   demonstratedcbmc-alcures 1n the per l)'OtIJcolanalysis1n 86%ot AUM I patients comparedto l'!i'/otm
   aifoxacinsolution,C.3%,dosed 2 timesper day fur 10days. AmongculturB positivepatients,clinicalcures
          go~,
   v.rort:1    for CilJRQOEX0Otic cmrrpt1red     to 7~/2for oflox.;;cin
                                                                      wlution. QJ%. rV1icrobiofogical  eradication
   rates ~orthese patientsin the same clinicaltrialwere 91%for CiPRODEX®Otic          comµaredto 82%for                                 fl1e pfl~r,,, g!vmg                   Hc,irjme h~tr,eof                         ThGpersonrec&:vmg                           Parn,111s      ilfl1Jll4-rln:i,~~
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   o'floxacinsolution,C.3%.in 2 rundorrizadmulticenter,controlledclinicaltrials, C!PRODEX@           Oticdosed 2                        CIPRODEXl.!!}Ot:c  shou!d             CIPROCD:IJ~Otr,:;       th:. hind
                                                                                                                                                                                                    1-1                 C1PR0DEX1J0t         1
                                                                                                                                                                                                                                              c sho:J!d             CIPf:JDEX't
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   timesper 0..1ytor/ days demonstratedclinicalcurer;in 8/'~ and ~·;toat per protocol evaluabjaAVt
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   patients,respectively,comparedto B4%dnd 89%,respectively,tor otic suspensionconto.iningneomycin                                                                            shak?.,;~it                                                                           tltel!~I, .ir Liff',' :,tlw, ~u,i~r·?.'~
   "'J.1~~.ftnl\'li'{Yin ~ ir.,om
                                ill/ml. ,;:;nr1
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                                                                                 Amnng r:11lt11rP.pO!-itiv~
                                                                                                          11;;tiQnts
   chnicalCll'eswere 86%and97%'orCiPHODEX®Otic comparedto 84%and 89%.rnspectivelv,for                                                        BE SURE TO FOLLOW INSTRUCTIONS BELOW FOR THE PATIENrS                                                               SPECIFIC EAR INFECTION.
   noo/poly/HC.Microbioloyical       eradicationrates for these patients in the same clinical trials were 86%and                         4. For Patients with Middle Ear                             5. For Patients with Outer Ear                                     6. Stay on saide-
   9/ 0/ofor CIPRODEk_iy(nic-   comparedto t!b%and 8b%,re8pectively,tor neo/polyJHC.                                                      lnfer~tion with Tube!\:                                    Infection       ("Swirnmer·s             Etir"J:

   References:
              r.:chan.faOM,r..
   1. Camp.:.!,;              fonk Jr,/'lriccA, Uorfic\d!; TeddrA,WardA Ciprnf!axJcir:A review:1f11:.
   tmtibacteriaiactivity,pharmacokinetic   propertiesafidtherapeuticuse. Drugs198B;35:373·441.
   ?_l npv,, n.Sr:hu<;tflr0, ;;;nriGr;iul F f)nc::R-rlPflPnrlPnt
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                                                                                  nf ds:i:i,;;;mAth:-i<;,nnA
   Pharmacol1986;30:22~-230
   ti S P;;tont Nm; f:..?F14A04:
                              G,"l'iq,n·1R
   Licensedto Alcon, inc. by Bayer Schering PharmaAG.                                                                                        Wh1'eth.;.  pe~o1 roc~1v.i1g       CIPRODL;<1!!)W11:iG rhe ~r:-:nn~:::f¼iV111gth&Cro/>5                              Thr:pr.rsvrivf.10roce-1ved
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   C:PAOOEX    is a registered trademark of 13ayerAG,                                                                                        0;:1cl:e'>vr:h,sJi,c.~ S!de,thopersGa                i1asonI: s/hG-rs1ds:r,tl1&pGl'S:)li          g:v,ng             s:ra~Orops'lf,oi..id
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                                                                                                                                             8'•'11~ 1h, c!rc,p:;:;hvi.;:c.;,61-.tlf 1>1·;:;:;~!% Li;::, dr.;p:; ::,,:;ii.:!:i gvntly f)i.J::
                                                                                                                                                                                                                                           t'1o (hJ~~r            h::;:~cr:;1dt•for::t•~,::i:;t :~
   licensed to Alcon, 1nc by auyer AG.
                                                                                                                                             Lrngus'.se~d1:ign:iml      5times!n a                &~r lol\ft t.:1)\1'/arci     rmdl)ac~v.iarcl.l tis
   Rx Only                                                                                                                                              ,"1NIO)Tl11s
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   ~?nm/!'lOt. 70'.1R,;JOMAlrnn.. nr:                                                                                                        :o p.:;s,srnrcrusr:     : 1Jf10 ,nth~ C'ard,u1'1 ,;,;r, ·~r:i w.r <:~n:.I
                                                                                                                                                                ~r1'.:'                                                                                           t-'.!r 1f   oo,~~:.r~ .:;rr.-111fc::rcci
   Revisiondate; 17Juty2003                                                                                                                  ;:i1'd1,1tJthem1dd!&    e8r
    PATIENT INFORMATION
    C!?R0DEX3>(Cl-PRO-DEX)
    fciproffoxacin0.3%and dexamethasone0.1%i
    Sterile Otic~u:.pr.m:ion                                                                                                            \''.J2(}10 Alcon.      Inc                3/1 C:               CDX10SOOPI                                                                Alcon
Case: 1:16-cv-04539 Document #: 40 Filed: 11/21/16 Page 37 of 41 PageID #:312




                  EXHIBIT E
01-28-2016 Case:
            21:30 1:16-cv-04539
                       BROADCASTDocument
                                LIST     #: 40
                                       To:     Filed:
                                            8862      11/21/16
                                                  C1795) From: Page 38 of 41 PageID #:313 D 114
                                                                CPAZEONonCallOn)


      REQUEST SAMPLES AND SAVINGS                                                                                                                                             Pazeo··                                                    /\
      CARDS FOR YOUR PATIENTS                                                                                                                                                 (olopatadine
                                                                                                                                                                                       hydrochloride
                                                                                                                                                                                                 \~)
                                                                                                                                                                              ophthalmic
                                                                                                                                                                                      solution)
                                                                                                                                                                                             0.7%
      To: James Moss
      Fax#: (847) 390-0001                                                                                              From:Alcon
      Date: January 28, 2016                                                                                            Pages: 4

             Re: Fax Back to Request PAZEO'"'
                                           SolutionSamplesand SavingsCards*
      ONCE-DAILYPAZEO®SOLUTION
      LONG-LASTING OCULAR ALLERGY ITCH
      RELIEF WITH 24 HOURS OF STAYING POWER 1
      , The first and only FDA-approved once-daily drop with demonstrated
        24-huur ucular alleryy itch relier 1
      , Statistically significantly improved relief of ocular itching compared
        to PATADAY®(o/opatadine hydrochloride ophthalmic solution) 0.2%
        at 24 hours post dose (not statistically significantly different at
        30 34 minutes);
          Study dosign: Ty¥·,:;,    ir,u lt,,::cr,tc1·, rund,:,r.-,1:cd, d,:.,ub!c ;,~,c,3~.:c-:-.l, r,.::i,·,:;:icI ;v·::.up, ,,-ch;:I:::. ond <}:t;·ic ·::-:-,ntrvlicc~stuc.J1c:;;n put1c nt:, .:it lcu3t ic···yc;:::ii-:::,
                                                                                                                                                                                                                          of ngc \N1th
          ailer·g1e:c:oriJundiVliiS us1:-1gtt',e UJr'iJU!"1<:tiv2ii      -::iHergerio:ha'iienge(Cf...C')rriodel (t~::.S..17).                Potier-its 1Nere rando.riized to re,::·e1ve       study drug ·or Vehicle,1 drop
          rP· 1-PyP :"in i=-~l·h,)f ?- ~ ;,c:;<;P.<":~rr1r•!1!'
                                                           d;,y...; () r, -:;r-,p,;r;:.l'r· rhy". ;;nh~!Pn rli;;i lr•nCJP·,,v;.i" r,r-rf,-,1Tnr-r! ;:,1?7 ( +-!) ro11r11   :l'r~-; rn"-t d0~Fdn ;::ic:;,::;:r...<y::;
                                                                                                                                                                                                             nric:;Pt nf ~rti()n, ;:it
          16 hours p(t3t dose (~tudy 1 ·:.>nly).and a: 24 hours post dose itching sc01·'::ls v..rere eva:1Jated using a hail'-un1t scale fr.:,m O=none to 4=incapac1tat1ng itch,
          v,11t.hdata c:01:ected3, 5, anu 7 rn1nutes after ant;gen i11st;liat1,)n ThE>prirriary obJect1ve::.1N8''e t(', dern0n::.tr,::1te                                    tl,8 supenor1ty of PAZE~ Solution for the
          trt:!a~me1·1t of vc:ular allergy itch. Study ·1:PAZEO~Solution                         vs V€h1cie a~ onset of act:c)r, ~nd ·16hours. Study:!.' PAZEO"' Solution vs vel11de a1·onset of
          achon; PAZEQ4-Solution vs P/"..JAD,1\Y"' Solut;on, PATA~~OL'i(olopat,Jdii.e hydiCJr:nlor,de ooht.haiff,I(, solution) 0.1%. and vehicie at 24 rours. 1-~


      • The safety and effectiveness of PAZEO"Solutionhave been established in patients 2 years of aqe and older 1

      INDICATION AND DOSING
      PAZEO"' Solution is indicated for thi? treatment of ocular itching associated with allergic conjunctivitis.
      The recommended dosage is to instill one drop in each affected eye once a day.

      IMPORTANTSAFETYINFORMATION
      As with any eye drop, care should be taken not to touch the eyelids or surrounding areas with the dropper tip
      of the bottle to prevent contaminGting the tip and solution. Keep bottle tightly closed when not in uso.
      Patients should not wear a contact lens if their eye is red. PAZEO®Solution should not be used to treat contact
      lens-related irritation. The preservative in PAZE0° Solution, benzalkonium chloride, may be absorbed by soft
      contact lenses. Patients who wear soft contact lenses and whose eyes are not red should be instructed to wait
      at least five minutes after instilling PAZEO®Solution before they insert their contact lenses.
      The most commonly reported adverse reactions in a clinical study occurred in 2%-5% of patients treated with
      either PAZEO"'Solution or vehicle. These events were blurred vision, dry eye, superficial punctate keratitis,
      dysgeusia, and abnormal sensation in eye.
      For additionalinformationon PAZEO®Solution,pleaserefer to the accompanyingfull PrescribingInformation.
      References: 1. PAZEO~Solut:on Pa-:.:-;k,3ge
                                               insert 2. Data 011 f,ie, 20!1. 3. Doto on fde, 201.3.


                                                              Requests for samples are subject to approval.

                       To request samples and savings cards, simply fill out
                        and fax back the completed accompanying form.
      'This offer is not Vdlid for patients who are enrolled in Medicare Part D, Medicaid. Med1gap, VA DOD, fricare, or any government-run
       or governrnent··sponsored     healthcare program with a philrrnacy benefit. Complete terms and conditions available on savings rndterials.
      If you have received this fax transmission in error or wish to be removed from our list. please call 1-888-681-5252, enter document
      number 700271 and follow the prompts. or fdx a copv of this document to l ·8G6-248-Sll6.


       Alcon                           Olopatadine is licensed from Kyowa Hakko Kirin Co., Ltd. Japan
       cl Nav<Jrtisco11ip?r;y         © 2015 Novartis        08115     PAZ15082FAX
            Case: 1:16-cv-04539 Document #: 40 Filed: 11/21/16 Page 39 of 41 PageID #:314
01-28-2016 21:30               BROADCAST
                                       LIST             To: 8862 (1795) From:      CPAZEDNonCal!On)                    [') 2/4


           Alcon Laboratories,Inc
           6201 South Freeway. Fort \North, TX 76134-2099
           T: 80!7-2'13.0450                                                                               Alcari
           www.alcon.com




                                     Incomplete requests will not be reviewed.


                       *Requests are subject to approval by Alcon. Submit only one request form per facility.
     ACCT#            APIN# 0227235                                                                            201501959019
     FACILITY NAME
     DOCTOR'S NAME James Moss
     ADDRESS 800 Biesterfield Rd
     CITY ST ZIP Elk Grove Vig, IL 60007
     state License#      ---------                      Phone#   ------       Fax#   -------

                       NDC#                                  PRODUCT NAME                                    QTY
                                              PAZEO® (olopatadine hydrochloride ophthalmic
                   0065 4273-27                                                                                4
                                                         solution) 0.7% 0.5 ml



                                              SHIPMENT INFORMATION
     Please send a one-time shipment

     You must check the box below to be eligible to receive samples
      D   I confirm that:

      •   I am authorized by federal and state law to prescribe these medications;
      •   I understand that samples must not be sold, bartered or billed to any patient, payer or third party; and
      •   I routinely prescribe the products I am requesting in accordance with the FDA-approved indications.


      Healthcare Provider's Signature: _________________________                                                       _
                                               (No stamps or duplications)
      Medical Designation: ______________________                                                      Date: _____         _

      Collaborative Agreement Required: YES or NO (please circle)
      If yes, collaborating physician's name: _______________________                                                  _
      State License#--------------------------------

      FDA Requirements: The recipient of Rx sample shipments must sign and return an acknowledgement of receipt
      and confirmation of contents as indicated on the packing list of each shipment.


                    Fax# 1-855-815-9301                                   Phone# 1-800-451-3937
          AC:P5                                                              © 2015 Novartis   08/15     PAZ150B2FAX
                  Case: 1:16-cv-04539 Document #: 40 Filed: 11/21/16 Page 40 of 41 PageID #:315
01-28-2016          21:30                BROADCAST
                                                LIST                              To: 8862 (1795) From:                       CPAZEONonCallOn)                                         D 3/4


   Pazeo®
           hydrochloride
  (olopatadine
  ophthalmic
          solution)
                0.7%
                                                                  6
  HIGHLIGlfTS OFPRESCRIBING   INFORMATION                                                             --- ···- ----- --- ----- ----- --- ·----CONTRAINDICATIONS---------------------------- ---- ---
  Thesehighlightsdo not includeall the informationneededto use PAZEO*
                                                                    safelyand                         None
  effectively.
             Seef!JI prescribinginformationfor PAZEO.                                                 -------------------------------WARNINGS ANDPRECAUTIONS-------------------------------
                                                                                                      Comaminationoflip andSolution.Topreventcontaminating  ihe dropperl.ipandsolution,do
  PAZEO   (olopatadinehydrochlorideophthalmicsolution)0.7%                                                              orsurrnurniing;irA~S withthArlmppArtip otihR Mr.IA (5 1)
                                                                                                      not:nu~hthAAyAlirls
  Fortopicalophthalmic    administration.                                                             -----------------------------------AOVERSE REACTIONS-----------------------------------
  Initialll.S. Approval:1996                                                                          1hemnst,ommrn adv"!"s         0 r0 a,tron5
                                                                                                                                               (2-'.i%)WNP blurredvrsron,
                                                                                                                                                                        .~upNfrcral
                                                                                                                                                                                 puncllltekPratrtrs,
  ----------------------------INDICATIONS         AND USAGE-------------------------------            dryeye,abnormal      sensaiion   in eye,anddysgeusia(6)
  PAZEO   is a rna,i u,11sl,bili,er inuicdltuiur itie irealrnemurui;ularilchinya,:;uddittl wiih
  allerl_icconjunctivitis (1,)                                                                        ToreportSUSPECTED  ADVERSE  REACTIONS,
                                                                                                                                          contactAlconLaboratories,
                                                                                                                                                                 Inc.
  ---------------------- ------UOSAGI:ANUAUll'II        NISlRAllON------------------------- ·· ----   at 1 800 757·9195or FOAat H!OOFDk1008 or www.fda.gov/m8dwatch.
  Therecommended        doseis onedropin eachaffectedeyeoncea day f2i
  -------··--·----·--···-DOSAGE         FORMS AND STRENGTHS-------------------------                  See 17 fur PATIENT
                                                                                                                       COUNSELING
                                                                                                                               INFORMATION
                                                                                                                                         anclFDAappruvecl
                                                                                                                                                       patientlabeling.
  Ophthalmicsolution:
                    7 76 mgof olopatadine
                                        hydrochloride
                                                    in oneml of soltrtion(0.7%)in a
  fourml bottle.(3)
                                                                                                                                                                                   Revised:1/2015

  FULLPRESCRIBING
               INFORMATION:
                        CONTENTS*                                                                     11     DESCRIPTION
                                                                                                      12     CLINICALPHARMACOLOGY
  1     INDICATIONS
                 ANOUSAGE
                                                                                                                            urAcLiuri
                                                                                                             12 1 Mtlci1~11i~r11
  2     DOSAGE
             ANOADMINISTRATION
                                                                                                             12.3 Pharmacokinetics
  3     DOSAGE
             FORMSANDsmENGTHS
                                                                                                      13     NONCLINICAL
                                                                                                                      TOXICOLOGY
  4     CONTRAINDICATIONS
                                                                                                              13.1 Carcinogenesis,
                                                                                                                               MutJgenesis,
                                                                                                                                         Impairment
                                                                                                                                                 of Fertility
  5     WARNINGS
               ANDPRECAUTIONS
                                                                                                      14     CLINICAL
                                                                                                                    STUDIES
  6     AOVERSE
              RF.ACTIONS
                                                                                                      16 HOWSUPPLIED/STORAGE
                                                                                                                          ANDHANDLING
  8     USEINSPECIFIC  POPULATIONS
                                                                                                      17     PATIENT
                                                                                                                   COUNSEi
                                                                                                                        INGINFORMATION
        8.1 Preyrldrll;y
        8.3 NursingMothers
        8.4 PediatricUse                                                                                  ·sec'.ionsor subsections
                                                                                                                                 omittedfromthefull prescribing
                                                                                                                                                              information
        8.5 Geriatric
                    Use                                                                                     ~rnnotli~'~rl


   FULLPRESCRIBING
                INFORMATION                                                                           8       USEIN SPECIFIC
                                                                                                                           POPULATIONS
      INDICATIONS   ANDUSAGE                                                                          8.1     Pregnancy
   PAZEO
       is indicatedfor thetreatmentof ocularitchingassociaied
                                                            withallergicconjrnctivitis                RiskSummary
  2     DOSAGE
             ANOAUMINISIRATION                                                                        Therearenoadequate   or well-controlled
                                                                                                                                            studieswntlPAZEU~oluuonin p1egnam       women.
  Therecommended
              dosageof PAZEO
                           is to instillonedropin eachaffectedeyeoncea day                            Olopatadine causedmaternaltoxicityandembryofetal   toxicityin ratsa1levels1,080to 14,400
  3     DOSAGE
             FORMSANDSTRENGTHS                                                                        timesthemaximum    recommended   humanophthalmic    dose(MRHOD).   Therewasnotoxicityin
   Ophthalmic
            solution:7.76mgof olopatadine
                                        hydrochloride
                                                    in oneml solution(0.7%iin a 4 ml                  ral offspringat exposures
                                                                                                                              estimated tobe 45 to 150 1imesthat at MRHOD.   Olopatadine should
   bottle                                                                                             be usedduringpregnancy  onlyrt the poten11al
                                                                                                                                                 benetrtJUstltresthepotentralriskto theteb.J.5.
   4     CONTRAINDICATIONS                                                                            Animal Dam
   None                                                                                               In a rabbitembryofetal
                                                                                                                          stu1y,rabbitstreatedorallyat 400 m\¥'kg/day
                                                                                                                                                                    during
                                                                                                      organogenesisshoweda decrease in live1e:usesThisdoseis 11,100times!he MRHOD,
   5     WARNINGS ANUF'Hf:CAUIIONS
                                                                                                      ona mg/m'basis
   5.1 Contamination  ofTip andSolution
   Aswithanyeyedrop,careshouldbetakennotto touchthe eyelidsor surrounding  areaswith                  Anoraldoseo, 600 rng/Kg,aay    01opatad1ne   t lo ,auotrmesthe I\IIRHODJ wasshownto be
   thedroppertip ot thebottleto preventcontaminating
                                                  thetip andsolutionKeepbottletightly                 maternally toxicin rats,producing  deathandretiJcedmaternalbodyweightgain.When
   closedwhennotin use                                                                                administered  to ratsthroughout organogenesis,     olopatadineproduced  cle!lpalateat 60 mg/
                                                                                                      kg/day(1080 timestheMRHOO)        anddecreased     embryofetalviabilityandreducedfetalweight
   5.2 ContactLensUse
                                                                                                      in ratsat 600 mg/kg/day. Whenadministe,ed       to ratsduringlategestation  andthroughout
          shouldnotweara contactlensif theireyeis red
   Patients
                                                                                                      thelactationperiod,olopatadine   produced   decreased   neonatalsurvivalat 60 mgikg/dayand
   Thepreservative in PAZEO  solution,benzalkoniumchloride.maybe absorbedby softconiac'               reducedbodyweightgainin offspringat 4 mg/kg/day.        A doseof 2 mg/kg/day    olopatadine
   lensesPatientswhowearsoftcontactlensesandwhoseeyesaren01red,shouldbe                               produced  notoxicityin rat otrsp,ina Anoraldoseof 1. mi;i/kgolopatadine    in ratsresulted
                                                     PAZEO
   instructedto waitat leastfiveminutesafterins1illrng     beforetheyinserttheircontact               in a rangeof systemicplasmaareaunderthecur;e (AUG)          levels1hatwere45 to 150 times
   lenses                                                                                             hioh<erthan the ohsnverl h11man   e.,pnsirm [Q.7no·hrimlJ fnllowinaarlmini.stration nf the
   6    ADVERSE
              REACTIONS                                                                               recommended    humanophthalmic     dose
   6.1 ClinicalTrialsEllparience                                                                      8.3     Hursi119
                                                                                                                     Molhers
   Because clinicaltrialsarecoodocted    underwidelyvaryingconditions. adversereactionrates           Olopatddine  hasbeenrdentifledrnthemilk of nur.5ing     ra1sfollowingoraladministration.
                                                                                                                                                                                             Oral
   ul!servellin UreGliniG&I
                          i1ialsul a ll1uyGannuitrntlireGilywmµ~relllu miesin Ille GliniGal
                                                                                          iridls      aurrrinisiratiun
                                                                                                                     ui ulupalatline uustl!i;;i Dr;;[Juve4 rnyikyiuoyl11rnuyiluui
                                                                                                                                                                                UrelaGlaliun
                                                                                                                                                                                           µt11iull
   of anotherdrugandmaynotreflectthe ratesobserved       in practice.                                 produced  decreased  bodyweighigainin rat offspring;a doseof 2 mg/kg/day      olopatadine
   In a randomized, douDle-masKed,    vehicle-controlled
                                                       tnal,patientsa1nsKtor developrng allergic      produced  notox,crty.Anoraldoseof 1 mg/kg01opa:adlne        rnratsresulted1na rangeot
   conjuncLivitisreceivedonedropof eitherPAZEO     (N=330)or vehicle(tv~169)in botheyes1or6           systemicplasmaareaunderthecurve(AUCJ            levelsthatwere45 to 150timeshigherthan
   weeks.Themeanageof thepopulalonwas32years(range2 to 74 years).Thirty-fivepercent                   theobserved   hLJTI
                                                                                                                        anexposure    [9.7 ngfa/mLJfollowingadministration   of th~recommended
   weremaleFitty-three   percenthadbrowniris colorand23% hadblueiris color.Themost                    hur:ianophthalmic   dose.tt is notknownwhethertopicalocularadministration      couldresult
   commonly   reportedadverse  reacuons   occurredin 2-5% 01patientstreatedwith eitherPAZEO           in sufficientsystemicab.%rption   tr,producedetectable             inthehumanbreastmilk.
                                                                                                                                                                quantitres
   or vehicle.Theseeventswereblurredvision,drywe, superficialpunctatekeratitis,dvsqeu5ia              Nevertheless, cautionshouldbeexercised        whenPAZEO   is administered
                                                                                                                                                                              to a nursingmother.
   andabnormal    sensationin eye
01-28-2016Case:
           21:301:16-cv-04539
                     BROADCASTDocument
                               LIST    #: 40
                                      To:    Filed:
                                           8862     11/21/16
                                                (1795) From: Page 41 of 41 PageID #:316
                                                              CPAZEONonCallOn)                                                                                                                                                         ['l 4/4



  8.4 Pediatric  Use                                                                                       ocularitchingseverityscoresafterocuar administration     of a specificantigenusingthe CAC
  Thesafetyandeffectiveness   of PAZEO   havebeenestablished in pediatricpatientstwo yearsof               modelin Studies1 and2, respectively.   A oneunit di~erencecompared     to vehicleis considered
  ageandolder.Useof PAZEO     in ihesepediatricpatientsis supportedby evidencefromadequate                 a cli~callyrneaningtulchangein theoctfaritchingseverityscore.
  andwell-controlledstudiesof PAZEO    in adultsandan adequateandwell con:rolledstudy                      PAZEO  demonstrated  statisticallysignificantlyimprovedreliefof ocularitchingcompared   to
  evaluatirqthe safei'fof PAZEO  in pediatricandadultpatients                                              vehiclea; 30-34minutes.1, 6 hours.and24 hoursafterstudytreatment.PAZEO         oomonsirated
  8.5 Geriatric  Use                                                                                       staisticallysignificanflyimprovedreliefof ocularitchingcomparedto PATf,DAY     at 24 hours
  Nooveralldifferences  in safetyandeftec\ivenes~ ha·;ebeen:Jbser,edbetweenelderly                         al1p,r~tudytrn8tmsnthut nni at 30-34 m'rnutAs    afrArstmlytrnatmAnt
  andyoungerpatients                                                                                            Table1. ItchingScoresbyTreatment
                                                                                                                                              GroupandTreatment
                                                                                                                                                              Difference•
                                                                                                                                                                       in MeanItching
                                                                                                                                                                          -                                     -                    ---------,
  11   UE:.SCRIPHON                                                                      :                                 i       lime •       PAZE:O      i     PAIADAY      !                                                 Vehicle                 !
  PAZEO is a srerileophthalmicsolutioncomainingolopatadine,
                                                         whichis a mastcellstabilirer.   !                                 i                          0.7%) i (Olopatadine,
                                                                                                                                   Point i (Olopaiadine,                 0 2%) i                                                                         i
  tortopicaladm1nistrat1on
                         to the eyes 01opa1adinehydrochloride
                                                            is a white,crystallinewater-
  solublepowderwitha molecularweightof 373.88anda molecular/l)(mulaof c.,,H.,.,NO.,•HCI. \                           _.\~~?L -L--
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                                                                                                                                                                                                                    Mean )
                                                                                                                                                                                                             Cl)_ ...... !
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                                                                                                                                                                                                                            --~N...::'            ~
                                                                                                                                                                                                                                        Difference i
                                                                                                                                                                                                                                        (~5%Cl) _ !
  Thechemicalstru::tureis presentedbelow                                                                   \ Onset l 3 mins                                                                          ~ -~.02                                             !
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                                                         0                                                 !      i                              i!      i (-oss.o.o?)          i,-1.79,-1.1s)!                      1           /


  Chemical Name.11-[(Z)-3(dimethylam·ino)  prc,pylidooc]-G-11 dihydrodibeni[b,e] oxepin-2·
                                                                                                           r--·-1 7 mirr,:--r- 0 75 -r-:0-98·-~2:i ___G";·3i___-1 38 ··1
  aceticacid,hydrochloride                                                                                 I      i                              i!      i(-0.54,008)/        i(-1.69,-1.0?Ji
  Ea~l1ml uf PAZEO  :sulu'tiun
                             w11".ain:,
                                     a11d~liv~i11yrt:tlit:11l
                                                          [7.76 rrryui ulupa'tatlint:
                                                                                   lrytlrn~lrlur
                                                                                              itlt:
                                                                                                           r·24h 'i 311,irr~r-·-o"cn          -\   1 .11 1~~018-;:2·5~        ! ~--;
  ( 7 mg olopatadre)]and:he followinginac;iveingredientspovidone:      hydroxypropyl-gamma-                :       '             ····----- ..            i 1,-0.
                                                                                                                                                              76,-Q~_2v)!     i (-1.88 -1 .33) i
  cyclodextrin;pOlyethylene glycol400: hyctroxypropyl
                                                    methylcellulose;   ooricacid;mannrtol:                 \:.__-_-.---!.
                                                                                                                     5rr:in:~-~-      1.10         1 5? l      ··0.-1:? i 2.8? (-18·'1·.s_,1·
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  benzalkoniurn chlorideO015%(prese1vaiive);
  pH);andpunhedwater.
                                               hydrochloric  acid/sodiumhydroxide    (toadjust             i ·-h~1i~;-:-                                      ··--,-.oa·            l 1.50      t-       0.41___    :..._!250
                                                                                                                                                                                                                           !               1 41          \

  PAZEO  solutionhasa pHof approximately  7.2 andan osmolalityof approximately      300mOsml
                                                                                                           L _____i __
                                                                                                                     __L_ __________i                                                         __
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  kg
  12. ClINICAI.
             PHARMACOI.OGY
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  12.1 Mechanism       ofAction                                                                            j Onset / 3 mir1s ,
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  Oluµoldui11t,i:, a rna,l t,t:II:,li:!bilit.t:r
  inhibitionof eosinophil
                                              anua lri,l,rniint:H1 arridyur1i,l.
                            aciivationhasalsobeendemonstrated
                                                                              Dt:ciedoellclre111ol,v;i:,
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  12.3 Pharmacokinetics                                                                                                    f?rnins--1                           --065-               . 0.61 i            i1--82[ -117 i
                                                                                                                                                                                                       C.04
  In healthysubjects,topicaloculardosingof 1 dropof PAZEO  oncedailyfl)( 7 daysintoboth                    I                   I                  i                                             i             i (-145 -0901;
                                                                                                                                                                                                    r-01a 02e1 :,
  eyesresultedin mean± SD(range)steadystateplasmaolopatadine       Cm.,andAIJC,_,,  of 1 6                 I        24h!           3mins              !        _1F_____                  1.33   ; --~6.-~~6 i ---~1.-~-i
  ± o9 nglml ro6 io 4.5 nwml) and9.7 ± 44 ng*h/ml (3.7to 21 2 ng*h/ml).respectively                        :>---------~--,---
                                                                                                                         i                            ·                                         \' (-0 57 -0 061 l      i (-1 50 -C:971-1!
  Theolopatadine  C,,,.,andAUG"·"afterthe frrstdoseweresimilarto thosemeasuredonday
                                                                                                                                                              ·--------                                ----------r--;-;----+-------
                                                                                                           i                   I   5mins                           1   .22               1.48   i       -0.26        , 2.37      I        -115            ,

                                                                                                           ,---r?·~~-:.
                                                                                                                                                      i
  7 in thP.SP.
            s11hjP.r.ts,
                      suggf!Sting                                      n•nlop:it8rlinA
                                th8i themw8snn svstmnir:8r.r.11m11l8tirln                                  I                   1                      1
                                                                                                                                                                                                /   t-n:11 -nn1\     i           1     (-1 4F,,-n.R41 1
                                                                                                                                                                                                                                                      .
  afterrepeatedtopicaloculardosingwith PAZEO.
  nlr~1818r1inA
             r.onr.Bntrntionq
                                                 Themedian(range)timeto achievepeak
                                  W8S2 n hours(O2~ tn 4 hours)ThBmAan+ SD(r8r~A)
                             (T.,,~l                                                                               ,:~5-··:_:,                                                           1.41__i.   (-n_4~;12-~4                 [~~J~;_1:
                                   was3.4 ± 1.2 hours(2 to 8 hours).N-oxideolopa:adine
  eliminationhalf-lifeof olopatadine
                                                                                                               • Meanscoree,11mates,
                                                                                                                                  /,eatrrwntd1flerenci:s
                                                                                                                                                       andcorresponding!b% w11iJdence
                                                                                                                                                                                   wterva/s
  (M3)wasdetectedduringthe f~st 1 hoursafterbibteraltopicaloculardo.~ing    of P,i\ZEOin
                                                                                                                (Cls)werebasedonanalysisof repeatedmeasures   usinga mixedmodelwithitchingscores
  approximaiely halfof ihe subjectsandin lessthan10%of the totalplasmasamplescollected,
                                                                                                                fromeacheye~eftor ri,ghljas thedependentvari?.b!e
                                                                                                                                                                andfixedeffecttermsformves/J,gator,
  nt concentrations not exceeding O121ngtml on day- ,md0.174ng/ml on day7. Noneot the
                                                                                                                treatment,
                                                                                                                         eye-type(leftor righti,time.andtreatment-by-time
                                                                                                                                                                        interaction;
                                                                                                                                                                                   771e
                                                                                                                                                                                      ocularitching
  plasmasamplesfromthesesubjectshadmono-desmethyl        olopatadire(M1)concentrations
                                                                                                                scorerangeis 0-4, whereois noneand4 is incapacitatingitch.
  thatwereabovethe lowerlimit of quantitation  (0 OGng/ml) of tt1ePKassay.
  13 NONCLINICAL  TOXICOLOGY                                                                                   16       HOWSUPPLIED/STORAGE
                                                                                                                                        ANDHANDLING
                                                                                                               PAZEO(uluµa',dt.li1re
                                                                                                                                 t1ytlrucliluriue
                                                                                                                                                uµlrllldll!lit,,,fa.'ru11)0.7%'r, i.uµv!ietli11a ·111r'r'le,
                                                                                                                                                                                                       uvol,
  13.1 Carcinogenesis,
                   Mutagenesis,
                             Impairment
                                      of Fertility
                                                                                                               low oonsitypolyethylene
                                                                                                                                     DROP-TAINER*   dispenserwith a naturallow densitypolyethylene
  Carcinogenicity                                                                                              d1spensinypluganda whrtepolypropylene  cap.Ta111pe1evidenceis prov11Jedwith a shrink
  Olopatadine
            administered
                       orallywasnotcarcinogenic
                                              in miceandratsin dosesup to 500m!}"                              bandaround,he closureandneckareaof the package.PAZEO     is suppliedin a 4 ml bottle
  kg/dayand200 rng/kgiday,
                        respectively.
                                   Oasooon a 3S µL drop sizeanda GOkg person,these                             matr.omains2.5 ml ot olopatadine hydrochloride
                                                                                                                                                            ophthalmicsolution[7.76 mg or olopatadine
  dosesareapproximately
                      4.500and3,600timesthe MRHOD,   on a mgtm' basis                                          hydrochloridein oneml of solution(0.7%)]
  Mutagenesis                                                                                                  NDC0065-4273-25
  Nomutagenicpotentialwasobservedwhenolopatadine  wastestedin an in vitrobacterial                                          at 2°c tn 25°C(36°Ftn 77°F\ Keephnt!letightlyr.lnserlwhennoi in 11SP.
                                                                                                               Storage:StnrP.
  reversemutation(Ames)test..anin vitromammalian
                                               chromosome aberrationassayr,r an in
                                                                                                17 PATIENT     COUNSELING  INFORMATION
  vivomousemicmnucleus  test
                                                                                                   • flisk of ContaminationAdvisepalientsto nottouchdroppertip to eyelid,or 3Urrouncl'rng
  lmpairmentotfertility                                                                              areas,asthis maycontaminate    !hedroppertip andophthalmicsolution
  OlnpR+RrfinA              Bl Rnnrnlnr.~P.
               BrlministP.rerl               nf 400 mg/kg/rlRy(RpprnximBtflly
                                                                            7,2notimP.sthP.        • Cunwr,1i@ri  U~ttui Gvnl;;11;i
                                                                                                                                 L~o~~~: Atlvi,t: poiien,s11ul
                                                                                                                                                             lv wedrcc,nlaLI lt:rr,es'rf~reir
  MRHOD)   producedtoxicityin maleanclfemalerats,andresultedin a decreasein the fertility            eyesarered Advisepatientsthat PAZEO     shouldnotbe usedtotreatcontactlens-related
  indexandreducedimplantation      rate.Noeffectson reprodur.tive functionwereobservedat 50          1rnlalion.      patientsto removecontactlensespnorto inst111,rnon
                                                                                                               Actvrse                                                    ot PAZtlJ.
  mg/kg/day(approximately    900timesthe MRHOD)                                                      Thepreservative  in PAZEO solution,benzalkonium    chloride,maybeabsorbed        by sofi
  14 CLINICAL      STUDIES                                                                           contactlenses.Lensesmaybe reinserted5 minutestallowingactmmrstration            ot PALEO.
  Theefficacyof PAZEO    wasestablished   in t,norandomized, double-masked, placebo-controlled, Patents: 8.791.154
  con1unct1va1 allergenchallenge((;At;)clinicalstudiesrnpatientswith a h1s:oryot a11ergic
  conjunctivitis(Studies1 and2).
  In Study1,patienlswererandomized       to receiveoneof the followingstudytreatments.PAZEO,                                                                                                                                  Alcorf
                                                                                                                                                                   ALCON  IABORATORIES,       INC.
  PATADAY,  or vehicleophthalmic   solutions.In Study2, patientswererandoriizedto 1eceiveone
                                                                                                                                                                   Fu1l WLAU,,T;-',Xcl~i'B134 USA
  ol thefollowingstudytreatments:    PAZEO,  PATADAY, PATANOL,  or vehicleophthalmicsolutions. 9011443-0115-PROMO
                                                                                                                                                                              © 2015Novarlis.
  Patientswereevaluated    with an ocularitchingseveritvscorerangingfromO(noitching)to 4
  (incapacitating itch)at severaltime poinisaf\erCACadministration.  Table1 dsplaysthe mean     © 2015Novartis  2/15 PAZl5026PI                                      'Trademark       of Novartis
